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 Updated: 24 August 2020

                              CURRICULUM VITAE
                               Michael John Ellenbecker

 Home Address

       125 Centre Street
       Concord, NH 03301
       603.224.1856

 Current Position

       Professor Emeritus of Occupational and Environmental Hygiene
       Department of Public Health

       Co-Director, September 2019 - present
       Director, October 2003 – September 2019
       Deputy Director, October 1999 - October 2003
       Acting Director, July 1998 - September 1999
       Associate Director, September 1991 - June 1998
       Toxics Use Reduction Institute

       University of Massachusetts Lowell
       One University Avenue
       Lowell, Massachusetts 01854
       (978) 934-3272
       ellenbec@turi.org

 Education
        Institution              Degree         Year       Field

       Harvard University        Sc.D.          1979      Environmental
                                                          Health Sciences

       Harvard University        M.S.           1976      Environmental
                                                          Health Sciences

       The University of         M.S.           1969      Electrical
       Wisconsin                                          Engineering

       The University of         B.E.E.         1967      Electrical
       Minnesota                                          Engineering


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                                     24242
 Professional Certification


 Certified in the Comprehensive Practice of Industrial Hygiene, American Board of
 Industrial Hygiene, 1982 (No. 2212); recertified through December 1, 2026.


 Professional Experience


 1986-2014   Professor Emeritus (Sep 2014 – present)
             Professor of Occupational and Environmental Hygiene (1989-2014)
             Associate Professor of Industrial Hygiene (1986-1989)
             Graduate Coordinator (1987-2000)
             Department of Work Environment
             (name changed to Department of Public Health, 2016)
             University of Massachusetts Lowell
             Lowell, MA.

             Co-Director, September 2019 - present
             Director, October 2003-September 2019
             Deputy Director (September 1999-October 2003)
             Acting Director (July 1998-August 1999)
             Associate Director for Research (1989-1999)
             Toxics Use Reduction Institute
             University of Massachusetts Lowell

             Research Activities:

                    Development of techniques to reduce the use of toxic chemicals;
                    Nanoparticle exposure evaluation and control;
                    Development of software-based health and safety tools;
                    Evaluation of exposures of former DOE workers;
                    Evaluation of the asbestos exposure of school custodians;
                    Design and evaluation of industrial ventilation systems;
                    Development of sampling protocols for thermal emissions from
                    plastics processing operations;
                    Evaluation of respirator performance against asbestos aerosols;
                    Health effects of trash-to-energy facilities.


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             Courses Taught:

                    Aerosol Science;
                    Industrial Ventilation;
                    Engineering Controls and Personal Protective Equipment;
                    Control of Physical Agents;
                    Industrial Hygiene;
                    Noise and Vibration Control;
                    Toxics Use Reduction and Pollution Prevention;
                    Introduction to the Work Environment.



 1978-       Consultant: industrial hygiene, air pollution, indoor air quality.

 1980-       Lecturer (1986 - present)
             Associate Professor (1986)
             Assistant Professor (1980-1986)
             Harvard University School of Public Health
             Boston, MA.

             Director, Industrial Hygiene Program
             Harvard Educational Resource Center

             Research Activities:

                    Design and evaluation of industrial ventilation systems;
                    Evaluation of respirator performance against asbestos aerosols;
                    Fundamental principles of fabric filtration;
                    Characterization and control of indoor air pollution sources;
                    Characterization of emissions from residential coal and wood
                    stoves;
                    Health hazard evaluations of several industries, including chemical
                    plants, woodworkers, a chlor-alkali plant, and chemistry laboratories.

             Courses taught:



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                     Ventilation;
                     Aerosol Technology;
                     Noise and Vibration Control;
                     Principles of Industrial Hygiene;
                     Air and Gas Cleaning;
                     Tutorials and Directed Research in Industrial Hygiene and Air
                     Pollution Control.



 1978-1980    Senior Research Engineer; Harvard School of Public Health; Boston, MA.

              Research Activities:

                     Performance of pulse-jet fabric filters;
                     High velocity fibrous filtration.



 1973-1975    System Program Manager; U.S. Air Force, Electronics Systems Division;
              Hanscom AFB, MA.


 1969-1973    System Survivability Analyst; U.S. Air Force, Air Force Weapons
              Laboratory; Kirtland AFB, NM.


 1967         Engineer; Northwestern Bell Telephone Company, St. Paul, MN.



 Professional Activities

 UMass Lowell Service Activities:

        Graduate Coordinator, Dept. of Work Environment, 1987-2004.
        Member, Faculty Senate, 1995-1999, 2012-2013.
        Member, University Indoor Environmental Quality Committee, 1995-present
        Member, Graduate School Dean Search Committee, 1992.



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                                     24245
 Leader, Second Field Study and Exchange Delegation to the Peoples' Republic of
 China, June-July, 1983.

 Member, Board of Directors, American Lung Association of Massachusetts, 1982-1988.

       Chairman - Environmental Quality Committee, 1983-1988.

 Member, Commonwealth of Massachusetts Special Commission on Indoor Air Pollution,
 1987-1989. Appointed by the Governor.

 Member, National Institutes of Health Safety and Occupational Health Study Section,
 1990-1993.

 Editor, Engineering Section, and Editorial Board member, New Solutions, 1991-1998.

 Peer Reviewer, Applied Occupational and Evironmental Hygiene, American Industrial
 Hygiene Association Journal, Aerosol Science and Technology, The Annals of
 Occupational Hygiene, Journal of Nanoparticle Research, Journal of Cleaner Production.

 Visiting Lecturer on Industrial Hygiene, Exposure Assessment Engineering Program,
 Harvard School of Public Health, 1993-present.

 Member, KomTek Corporation Occupational Illness Prevention Advisory Board, 1994-
 present.

 Visiting Scientist, Occupational Studies Section, National Cancer Institute, January-May,
 1995.

 Member, Minimization Working Group, Commonwealth of Massachusetts Low-Level
 Radioactive Waste Management Board, 1997-2003.

 Member, National Institutes of Health Safety and Occupational Health Special Emphasis
 Panel, 2001.

 Member, National Institutes of Health Safety and Occupational Health Special Emphasis
 Panel, 2002.

 Chair, National Institutes of Health Safety and Occupational Health Training Grant Initial
 Review Panel, 2003.

 Member, National Institutes of Health Safety and Occupational Health Special Emphasis
 Panel, 2006.




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                                     24246
 Member, National Institutes of Health Safety and Occupational Health Special Emphasis
 Panel, 2007.

 Co-Chair, 5th International Symposium on Nanotechnology, Environmental and
 Occupational Health, Boston, MA, 2011.

 Associate Editor, Journal of Nanoparticle Research, 2012 – 2015.

 Member, Board of Directors, American Conference of Governmental Industrial
 Hygienists, 2017 – 2022.
       Chair, 2019


 Honors

 Recipient, AIHA Henry F. Smyth, Jr., Award, 2015.

 Sigma Xi, a scientific research society.

 Mellon Fellow (1981-1983, Harvard School of Public Health).

 Graduated with Distinction, University of Minnesota.

 Selected as Outstanding Faculty Member, Work Environment Student Association,
 University of Massachusetts Lowell, 1993.

 1997 Best Paper Award (with Thomas W. Rimmer), Applied Occupational &
 Environmental Hygiene Journal, awarded by the Michigan Industrial Hygiene Society at
 the American Industrial Hygiene Conference & Exposition.

 Massachusetts Toxics Use Reduction Program selected as one of the top ten
 Innovations in American Government by the Ford Foundation, Harvard University’s
 Kennedy School of Government, and the Council for Excellence in Government, 1999.

 Winner (with Su-Jung Tsai), 2008 Best Paper Award by the AIHA Lab Health and Safety
 Committee for the paper entitled "Characterization of Fume Hood Performance while
 Handling Nanoparticles," presented at the American Industrial Hygiene Conference and
 Exposition, Minneapolis. July 2008.


 Grants, Contracts, and Awards

 "Pulse-Jet Fabric Filter Performance"; EPA; 9/1/80 - 2/28/84, co-principal investigator;
 3/1/84 - 9/30/84, principal investigator; $526,348.

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                                     24247
 "Health Effects of Residential Coal and Wood Burning"; New England States for
 Coordinated Air Use Management; 11/14/80 - 6/12/81; principal investigator; $23,499.

 Mellon Foundation Faculty Development Program Grant; 7/1/81 - 6/30/83; $38,111.

 "Assessment of Public Total Exposure to Selected Emission Species Contributed in Part
 by Indoor Sources"; Gas Research Institute; 7/83 - 6/84; co-principal investigator;
 $420,000.

 "Asbestos Fiber Collection by NIOSH-Approved Respirators"; National Institute for
 Occupational Safety and Health; 1/86 - 6/87; principal investigator; $122,986.

 "Assist in the Evaluation of a Proposed Refuse-to-Energy Facility"; City of Lowell; 3/87 -
 3/88; investigator; $39,200.

 "Ventilation System Evaluation and Design"; Pneumatic Scale Corporation; 3/89 - 7/89;
 principal investigator; $7,605.

 "Development of Sampling Protocols for Thermal Emissions of Plastics"; Society of the
 Plastics Industry, Inc.; 8/1/89 - 1/31/91; investigator; $167,414.

 "Epidemiologic Methods for Estimating Airborne Exposures"; National Institute for
 Occupational Safety and Health; 7/90 - 6/93; investigator; $223,769.

 "Case-Control Study of Brain and Larynx Cancer at GM/UAW Plants"; General Motors -
 United Auto Workers National Joint Committee on Health and Safety; 11/89 - 1/91;
 investigator; $400,000.

 "Industrial Hygiene Graduate Training"; National Institute for Occupational Safety and
 Health; 1/91 - 6/94; Program Director; $655,076.

 "Assessment of the Building-Related Asbestos Exposure of Public School Custodians";
 Health Effects Institute - Asbestos Research; 5/93 - 2/94; principal investigator;
 $116,000.

 "Evaluation of Alternative Surface Cleaning Materials"; Environmental Protection
 Agency; 10/93 - 9/96; principal investigator; $292,386.

 "Emission and Property Studies of Postconsumer High Density Polyethylene Waste";
 Commonwealth of Massachusetts; 7/93 - 6/94; investigator; $52,000.

 "A New Hearing Protector Attenuation Measurement Method"; National Institute for
 Occupational Safety and Health; 9/1/94 - 8/31/95; principal investigator; $26,362.

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                                     24248
 "Measuring State-Wide Progress in Pollution Prevention"; Environmental Protection
 Agency; 10/1/94 - 9/30/95; principal investigator; $49,996.

 "Technology Transfer to Promote Alternative Chemical Technologies"; Environmental
 Protection Agency; 9/1/94 - 8/31/95; investigator; $119,824.

 "Occupational Health and Safety Training Grant"; National Institute for Occupational
 Safety and Health; 7/95 - 6/2000; Program Director; $1,763,779.

 “Department of Energy Former Workers’ Medical Surveillance”; Oil, Chemical and
 Atomic Workers’ Union; 10/96 - 9/97; principal investigator; $117,996.

 “Medical Surveillance for Former Idaho Falls, Idaho, Workers”; Oil, Chemical and Atomic
 Workers’ Union; 9/97 - 9/98; principal investigator; $82,537.

 “Department of Energy Former Workers’ Medical Surveillance, Phase II”; Oil, Chemical
 and Atomic Workers’ Union; 7/98 - 6/02; principal investigator; $298,828.

 “Intervention Effectiveness of Process Change Techniques”; National Institute for
 Occupational Safety and Health; 9/00 - 8/02; project supervisor; $76,208.

 "Occupational Health and Safety Training Grant"; National Institute for Occupational
 Safety and Health;7/00 - 6/05; Principal Investigator; $1,812,251.

 “Small Business Safety Officer”; subcontract to Mission Research Corporation, funded by
 National Institute for Occupational Safety and Health; 9/00 - 6/01; Principal Investigator;
 $10,000.

 “Small Business Safety Officer”; subcontract to Mission Research Corporation, funded by
 National Institute for Occupational Safety and Health; 9/02 - 8/04; Principal Investigator;
 $150,000.

 “TCE Use by Smaller Businesses in Massachusetts”; EPA Region I; Principal
 Investigator; $125,000.

 “Nanoscale Science and Engineering Center,” awarded to UMass Lowell, Northeastern
 University, & University of New Hampshire; NSF; 9/04 - 8/14; investigator; $30,000,000.

 “Five Chemicals Alternatives Assessment”; Commonwealth of Massachusetts; 7/05 -
 6/06; Principal Investigator; $250,000.

 "Occupational Health and Safety Training Grant"; National Institute for Occupational
 Safety and Health;7/05 - 6/10; Principal Investigator; $1,900,000.

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                                     24249
 “Reducing Trichloroethylene in Rhode island Through On-site Assistance for Solvent
 Substitution,” EPA Region I; 9/07-12/08; Principle Investigator; $21,500.

 Contract to prepare a guidance document titled “Safe Practices for Working with
 Engineered Nanomaterials in Research Laboratories”; National Institute for Occupational
 Safety and Health; 9/08 - 9/09; Principal Investigator; $25,000.

 Contract to evaluate nanoparticle exposures and recommend best practices for handling
 nanoparticles; Specialty Materials, Inc.; 10/08; Principal Investigator; $10,000.

  Contract to evaluate exposures to quantum dots; CLF Ventures, Inc.; 2/09 – 12/09;
  Principal Investigator; $17,200.

  Contract to evaluate the performance of a powder handling enclosure, A1-Safetech,
  Principal Investigator; $2,990.

  Contract to evaluate the performance of a powder handling enclosure, Labconco,
  Principal Investigator; $5,000.

  Contract to provide nanoparticle       exposure    assessment,    Nanocomp,     Principal
  Investigator: $16,000 per year.

 “Preliminary Global Outlook for Chemicals and Waste”; United Nations Environment
 Programme; 3/09 – 10/09; Principal Investigator; $52,751.

 Support for the Fifth International Symposium on Nanotechnology, Occupational and
 Environmental Health; National Science Foundation; 6/11 – 7/12; Principal Investigator;
 $36,391.

 Support for the Fifth International Symposium on Nanotechnology, Occupational and
 Environmental Health; National Institute for Occupational Safety and Health; 6/11 – 7/12;
 Principal Investigator; $19,500.

 Contract to conduct field evaluations of nanotechnology manufacturing facilities; National
 Institute for Occupational Safety and Health; 10/11 – 9/13; Principal Investigator;
 $45,000.

 “Assisting Auto Body and Repair Shops with Alternatives to Solvents,” EPA Region I,
 10/12 – 9/14, Principal Investigator, $198,077.

 “Particle Characterization Study of Carbon Black Manufacturing Work Environments,”
 subcontract to Purdue University, 8/13 – 7/15, Principal Investigator, $25,000.



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                                     24250
 “Toxics Use Reduction Institute"; Commonwealth of Massachusetts; 2003 – present;
 Director;1989 - 2003; Associate/Deputy Director (Acting Director, FY 1999); $432,000 in
 FY 1991, $1,000,000 in FY 1992, $1,466,000 in FY 1993, $1,466,000 in FY 1994,
 $1,466,000 in FY 1995, $1,766,000 in FY 1996, $1,766,000 in FY 1997, $1,766,000 in
 FY 1998, $1,766,000 in FY 1999; $1,766,000 in FY 2000; $1,766,000 in FY 2001;
 $1,717,000 in FY 2002; $1,717,000 in FY 2003; $1,632,000 in FY 2004; $1,100,00 in FY
 2005; $1,200,00 in FY 2006; $1,324,000 in FY 2007; $1,667,000 in FY 2008;
 $1,667,000 in FY 2009; $1,333,000 in FY 2010; $1,667,000 in FY 2011; $1,667,000 in
 FY 2012; $1,667,000 in FY 2013; $1,667,000 in FY 2014; $1,667,000 in FY 2015;
 $1,667,000 in FY 2016; $1,667,000 in FY 2017; $1,667,000 in FY 2018; $1,667,000 in
 FY 2019 (Total: $47 million over 28 years).

 Publications

 Journal Articles:

 1. Cooper, D.W., D.W. Underhill, and M.J. Ellenbecker, "A Critique of the U. S.
 Standard for Industrial Exposure to Sodium Hydroxide Aerosols," Am. Ind. Hyg. Assoc. J.
 40(5):365 (1979).

 2. Rudnick, S.N., and M.J. Ellenbecker, "The Role of Viscosity in Fabric Filtration," J.
 Air Poll. Control Assoc. 29(11):1161 (1979).

 3. Ellenbecker, M.J., and D. Leith, "Theory for Dust Deposit Retention in a Pulse-Jet
 Fabric Filter," Filtr. Sep. 16(6):624 (1979).

 4. Ellenbecker, M.J., and D. Leith, "Dust Deposit Profiles in a High Velocity Pulse-Jet
 Fabric Filter," J. Air Poll. Control Assoc. 29(12):1236 (1979).

 5. Ellenbecker, M.J., and D. Leith, "The Effect of Dust Retention on Pressure Drop in a
 High Velocity Pulse-Jet Fabric Filter," Powder Technology 25(2):147 (1980).bb

 6. Leith, D., and M.J. Ellenbecker, "Theory for Pressure Drop in a Pulse-Jet Cleaned
 Fabric Filter," Atmospheric Environment 14:845 (1980).

 7. Leith, D., and M.J. Ellenbecker, "Theory for Penetration in a Pulse-Jet Cleaned
 Fabric Filter," J. Air Poll. Control Assoc. 30(8):877 (1980).

 8. Ellenbecker, M.J., D. Leith and J. Price, "Impaction and Particle Bounce at High
 Stokes Numbers," J. Air Poll. Control Assoc. 30(11):1224 (1980).

 9. Ellenbecker, M.J., and D. Leith, "Dust Removal from Non-Woven Fabrics," Filtr. Sep.
 18(4):316 (1981).



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                                     24251
 10. Butcher, S.S., and M.J. Ellenbecker, "Particulate Emission Factors for Small Wood
 and Coal Stoves," J. Air Poll. Control Assoc. 32(4):380 (1982).

 11. Leith, D., and M.J. Ellenbecker, "Effect of Dust Size Distribution on the Collection
 Efficiency of Pulse-Jet Fabric Filters," J. Air Poll. Control Assoc. 32(7):740 (1982).

 12. Leith, D., and M.J. Ellenbecker, "Dust Emission Characteristics of Pulse-Jet
 Cleaned Fabric Filters," Aerosol Sci. Technol. 1(4):401 (1982).

 13. Leith, D, and M.J. Ellenbecker, "Dust Emissions from a Pulse-Jet Fabric Filter,"
 Filtr. Sep. 20(4):311 (1983).

 14. Ellenbecker, M.J., and D. Leith, "Dust Removal Characteristics of Fabrics Used in
 Pulse-Jet Filters," Powder Technology 36:13 (1983).

 15. Ellenbecker, M.J., R.F. Gempel, and W.A. Burgess, "Capture Efficiency of Local
 Exhaust Ventilation Systems," Am. Ind. Hyg. Assoc. J. 44(10):752 (1983).

 16. Ellenbecker, M.J., "Evaluation of Total Airborne Emissions from Industrial
 Processes," J. Air Poll. Control Assoc. 33(9):884 (1983).

 17. Flynn, M.R., and M.J. Ellenbecker, "The Potential Flow Solution for Air Flow into a
 Flanged Circular Hood," Am. Ind. Hyg. Assoc. J. 46(7):318 (1984).

 18. Flynn, M.R., and M.J. Ellenbecker, "Capture Efficiency of Flanged Circular Local
 Exhaust Hoods," Annal. Occ. Hyg. 30(4):497-513 (1986).

 19. Hammond, S.K., T.J. Smith, and M.J. Ellenbecker, "Determination of Occupational
 Exposure to Fabric Brightener Chemicals by HPLC," Am. Ind. Hyg. Assoc. J. 48(2):117-
 121 (1987).

 20. Flynn, M.R., and M.J. Ellenbecker, "Empirical Validation of Theoretical Velocity
 Fields into Flanged Circular Hoods," Am. Ind. Hyg. Assoc. J. 48(4):380-389 (1987).

 21. Herrick, R.F., T.J. Smith, and M.J. Ellenbecker, "Development of a Sampling and
 Analytical Method for Epoxy-Containing Aerosols: II. Application of the Method to
 Epoxy-Containing Aerosols," Am. Ind. Hyg. Assoc. J. 48(9):773-779 (1987).

 22. Herrick, R.F., M.J. Ellenbecker, and T.J. Smith, "Measurement of the Epoxy
 Content of Paint Spray Aerosol: Three Case Studies," Appl. Ind. Hyg. 3(4):123-128
 (1988).

 23. Conroy, L.M., M.J. Ellenbecker, and M.R. Flynn, "Prediction and Measurement of
 Velocity into Flanged Slot Hoods," Am. Ind. Hyg. Assoc. J. 49(5):226-234 (1988).

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                                     24252
 24. Ellenbecker, M.J., "Control of Worker Exposure," J. Public Health Policy 9(3):339-
 341 (1988).

 25. Conroy, L.M., and M.J. Ellenbecker, "Capture Efficiency of Flanged Slot Hoods
 under the Influence of a Uniform Crossdraft: Model Development and Validation," Appl.
 Ind. Hyg. 4(6):135-142 (1989).

 26. Brosseau, L.M., J.S. Evans, M.J. Ellenbecker, and M.L. Feldstein, "Collection
 Efficiency of Respirator Filters Challenged with Monodisperse Latex Particles," Am. Ind.
 Hyg. Assoc. J. 50(10):544-549 (1989).

 27. Quinn, M.M., D.H. Wegman, I.A. Greaves, T.J. Lambert, S.K. Hammond, M.J.
 Ellenbecker, and R.F. Spark, "Male Sexual Dysfunction in a Group of Chemical Workers
 Manufacturing Stilbene Derivatives," Am. J. Ind. Med. 18(1):55-68 (1990).

 28. Brosseau, L.M., M.J. Ellenbecker, and J.S. Evans, "Collection of Silica and
 Asbestos by Respirators at Steady and Cyclic Flow," Am. Ind. Hyg. Assoc. J. 51(8):420-
 26 (1990).

 29. Rossi, M., M.J. Ellenbecker, and K. Geiser, "Techniques in Toxics Use Reduction:
 From Concept to Action," New Solutions 2(2):25-32 (1991).

 30. Irwig, H.G., L.C. Oliver, T. Page, D.H. Wegman, and M.J. Ellenbecker, "Asbestos in
 Place: A Building Management Perspective," Ann. N. Y. Acad. Sciences 643:589-96
 (1991).

 31. Ellenbecker, M.J., "Engineering Controls for Clean Air in the Office Environment,"
 Chap. 2 in "Occupational Lung Diseases," G.R. Epler, ed., Clinics in Chest Medicine,
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 8. Naderi, S., “Integrated Ozone Index (IOI): A Statistical Criterion for Effects, Trends
 and Attainment,” University of Massachusetts Lowell, 1998.

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 Production using Non-Chlorinated Cleaning Alternatives in Electroplating Job Shops,”
 University of Massachusetts Lowell, 1999.

 10. Veleva, V.R., “Developing Indicators of Sustainable Production,” University of
 Massachusetts Lowell, 2001.

 11. Roelofs, C.R., “Losing Controls: The Case for a Preventive Industrial Hygiene,”
 University of Massachusetts Lowell, 2001.

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 2003.

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 Velocities in Industrial Ventilation,” 2004.

 14. McKernan, J., “Development and Evaluation of Proposed Equations for Improved
 Exothermic Process Control,” 2006.

 15. Tsai, S., “Exposure Assessment for Handling and Processing Nanoparticles in
 University Laboratories,” 2008.



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                                     24275
 16. Morose, G., “Electronics Assembly, Rework, and Reliability Evaluation Using Lead-
 free Soldering Materials, Halogen-free Laminate Materials, and Surface Finishes with
 Nanomaterials,” 2008.




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                                     24276
 Consulting Activities
 Selected Clients:
    Hunter Environmental Sciences
    The Polaroid Corporation
    Bolt, Beranek and Newman
    The Congressional Office of Technology Assessment
    Norfolk County Hospital
    Digital Equipment Corporation
    Energy Resources Corporation
    W. L. Gore
    Portsmouth Naval Shipyard
    Channing L. Bete
    Environmental Protection Agency
    Rutgers University
    BGI Incorporated
    Metcalf & Eddy
    Boston University
    Epidemiology Resources Inc.
    New England Electric
    Wheelabrator-Frye
    U. S. Department of Labor
    Federal Trade Commission
    General Electric Co.
    Bewick Associates
    GTE Sylvania
    Beacon Management
    Energy Systems Research Group, Inc.

 Activities:

 Ventilation system design and evaluation.

 Comprehensive industrial hygiene surveys, including sampling for many air contaminants
 (e.g., asbestos, respirable dust, organic vapors, welding fumes).

 Evaluation of possible asbestos and other hazardous exposures and control measures
 for pending litigation cases.




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                             Depositions Given - 1994-2020

                        Michael J. Ellenbecker, Sc.D., CIH

     Date                          Case                         My Client
    10/14/20   Bridgewater case                         Maune, Raichle
    10/2/20    Phalen case                              Satterley & Kelley
    9/29/20    Sarkis case                              Shepard Law
    9/23/20    Kozlow case                              Maune, Raichle
    9/22/20    Reyes case                               Kazan
    9/15/20,   Maust case                               Maune, Raichle
    10/29/20
    9/3/20     Dena case                                Maune, Raichle
    9/1/20     Lewis deposition                         Maune, Raichle
    7/22/20    Fenstermacher case                       Maune, Raichle
    7/16/20    Maki case                                Satterley & Kelley
    6/23/20    Cox case                                 Maune, Raichle
    3/30/20    Wilgenbusch case                         Maune, Raichle
    3/10/20    Myers case                               Satterley & Kelley
    2/20/20    Daily case                               Maune, Raichle
    2/17/20    Grubelic case                            Maune, Raichle
    1/27/20    Brazil case                              Maune, Raichle
    1/21/20    Connaughton case                         Maune, Raichle
    12/30/19   Roy case                                 Maune, Raichle
    12/17/19   Levesque case                            Maune, Raichle
    11/4/19    Lara case                                Maune, Raichle
    10/1/19    Corrigan case                            Shepard Law
    9/25-26,   Wiman case                               Satterley & Kelley
    10/28/19
    9/11/19    Johnson case                             Thornton Law Firm
    8/13/19    Lewis case                               Motley Rice
    7/23/19    McLauchlen case                          Maune, Raichle




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                                     24278
    6/19/19    Cornelius case                         Bern Cappelli
    6/14/19    Hinkle case                            Bern, Cappelli
    5/15/19    Richardson case                        Bern, Cappelli
    4/25/19    Maguire case                           Eichen Crutchlow
    4/1/19     Solomon case                           Shepard Law
    3/18/19    Hogue case                             Maune, Raichle
    3/11/19    Mason case                             Bern, Cappelli
    3/8/19     Collyer case                           Satterley & Kelley
    3/5/19     Auen case                              Kazan, McClain
    11/12/18   Mitchell case                          Bern, Cappelli
    11/6/18    Beach case                             Maune, Raichle
    10/22/18   Crossland and Holland cases            Murphy, Falcon & Murphy
    10/9/18    Butchko case                           Maune, Raichle
    9/28/18    Collins case                           Bern Cappelli
    9/27/18    York case                              Bern Cappelli
    9/26/18    DeForge case                           Bern Cappelli
    9/24/18    Watts case                             Maune, Raichle
    9/21/18    Reyes case                             Kazan, McClain
    8/29/18    Martin case                            Shepard Law Firm
    8/24/18    Barr case                              Maune, Raichle
    8/23/18    Young case                             Kazan, McClain
    8/13/18    Long case                              Maune, Raichle
    7/12/18    Summerlin case                         Shepard Law Firm
    4/23/18    Granger case                           Sinas, Dramis
    4/9/18     Derrah case                            Shepard Law Firm
    4/6/18     Sontag case                            Maune, Raichle
    4/2/18     Jones case                             Maune, Raichle
    3/23/18    Cleghorn case                          Thornton Law Firm
    3/19/18    MacIntyre case                         Thornton Law Firm
    2/2/18     Bolin case                             Satterley & Kelley




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                                     24279
    1/29/18    Dennis case                            Maune, Raichle
    12/11/17   Moore case                             Satterley & Kelley
    12//5/17   Logan case                             Kazan, McClain
    11/28/17   Sherwin case                           Thornton Law Firm
    11/14/17   Rudolph case                           Kazan, McClain
    10/17/17   Williams case                          Satterley & Kelley
    9/18/17    Serrano case                           Maune, Raichle
    8/21/17    Booker case                            Kazan, McClain
    5/9/17     Steven Sheets case                     Satterley & Kelley
    4/25/17    Shaw case                              Maune, Raichle
    4/11/17    Esposito case                          Eichen Crutchlow
    3/30/17    Sylvestre case                         Thornton Firm
    3/17/17    Foster case                            Maune, Raichle
    3/10/17,   Moore case                             Satterley & Kelley
    12/11/17
    3/8/17,    Marshall case                          Kazan, McClain
    3/14/17
    3/6/17     Ballard case                           Maune, Raichle
    3/23/17    Zampa case                             Kazan, McClain
    2/21/17    Lennon case                            Maune, Raichle
    2/14/17    Lindell case                           Thornton Firm
    2/10/17    Collins v. 3M                          Friedman & Rubin
    2/2/17     Herbert Sheets case                    Satterley & Kelley
    1/20/17    Clark case                             Maune, Raichle
    12/27/16   Parbury case                           Maune, Raichle
    12/22/16   Champagne case                         Maune, Raichle
    12/6/16    Espinosa case                          Kazan, McClain
    12/4/16    Beal case                              Maune, Raichle
    10/20/16   Auen case                              Kazan, McClain
    10/18/16   Olson case                             Kazan, McClain
    10/14/16   Horton case                            Maune, Raichle



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                                     24280
    10/8/16    Moody case                             Maune, Raichle
    8/9/16     Soto case                              Maune, Raichle
    5/31/16    Page case                              Thornton Law Firm
    3/11/16    Mead case                              Maune, Raichle
    3/9/16     Tyler case                             Kazan, McClain
    2/19/16    Webber case                            Kazan, McClain
    2/8/16     Shea case                              Kazan, McClain
    1/28/16    Dickerson case                         Maune, Raichle
    1/21/16    Lemberger case                         Maune, Raichle
    1/7/16     Mitchem case                           Maune, Raichle
    12/23/15   Vega case                              Maune, Raichle
    11/17/15   Ortwein case                           Kazan, McClain
    8/27/15    Grimsley case                          Maune, Raichle
    8/21/15    Emerson case                           Kazan, McClain
    8/20/15    Trejo case                             Kazan, McClain
    8/6/15     White case                             Satterley & Kelley
    6/2/15     Solarzano case                         Kazan, McClain
    5/27/15    Gilvin case                            Levy, Konigsburg
    2/11/15    Boyd case                              Kazan, McClain
    11/12/14   Perez case                             Kazan, McClain
    10/16/14   Collins case                           Kazan, McClain
    6/12/14    Clark and Sheller cases                Motley, Rice
    6/6/14     Koepke case                            Kazan, McClain
    4/18/14    Neff case                              Motley, Rice
    4/10/14    Strouse case                           Kazan, McClain
    4/9/14     Newman case                            Maune, Raichle
    3/21/14    Parga case                             Kazan, McClain
    2/28/14    Mirto case                             Michael Serling
    1/27/14    Kucich case                            Kazan, McClain
    9/30/13    Rosenberger and Arnett cases           Motley, Rice




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                                     24281
    7/25/13     Bland case                            Kazan, McClain
    7/8/13      Nelson case                           Kazan, McClain
    5/15/13     Farrell case                          Jacobs & Crumplar
    3/8/13      Alley case                            Robert Peirce &
                                                      Associates
    3/1/13      Grigg case                            Kazan, McClain
    9/27/12     Manser case                           Thornton & Naumes
    9/4/12      CSX v. Peirce Associates              DeForest, Koselnik
    6/5/12      West Virginia asbestos cases          Goldberg, Persky
                                                      Motley, Rice
    5/18/12     Square D cases                        Jacobs & Crumplar
    4/5/12      Dye case                              Porter & Malouf
    2/2/12      West Virginia asbestos cases          Goldberg, Persky
                                                      Motley, Rice
    11/18/11    Bezanson case                         Thornton & Naumes
    11/17/11    Diane Taylor case                     Motley, Rice
    10/13/11    West Virginia asbestos cases          Goldberg, Persky
                                                      Motley, Rice
    9/30/11     McGuire case                          George & Sipes
    7/27/11     Various Delaware asbestos cases       Jacobs & Crumplar
    7/7/11      Wade case                             Motley, Rice

    6/20,7/5/   Stillman case                         Sales, Tillman, Wallbaum,
    11                                                Catlett & Satterley
    5/27/11     West Virginia asbestos cases          Goldberg, Persky
                                                      Motley, Rice
    1/27-       West Virginia asbestos cases          Goldberg, Persky
    28/11                                             Motley, Rice
                                                      Hartley & O’Brien
    11/5/10     MacDonald case                        Motley, Rice
    11/5/10     Beard & Oaks cases                    Porter & Malouf
    10/15/10    West Virginia asbestos cases          Goldberg, Persky
                                                      Motley, Rice
    10/12/10    Bankhead v. Ford Motor Co. et al.     Sales, Tillman, Wallbaum,
                                                      Catlett & Satterley



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                                     24282
    9/13/10     Nevamar cases                             Rosenthal & Levy
    9/9/10      Cohan & Wirwicz cases                     Thornton & Naumes
    7/9/10      Jelks v. Florida East Coast RR            Cook, Hall and Lampros
    6/11/10     Armbister & Sammons v. Norfolk Southern   Motley, Rice
    6/1/10      Huelsman v. CSX                           Sales, Tillman, Wallbaum,
                                                          Catlett & Satterley
    6/1/10      McCauley v. Louiseville Gas & Electric    Sales, Tillman, Wallbaum,
                                                          Catlett & Satterley
    5/20/10,    West Virginia asbestos cases              Goldberg, Persky
    5/21/10                                               Motley, Rice
    2/28/10     Conrad Rock case                          Thornton & Naumes
    1/28/10     West Virginia asbestos cases              Goldberg, Persky
                                                          Motley, Rice
    1/18/10     Quillen v. Safety Kleen                   Sales, Tillman, Wallbaum,
                                                          Catlett & Satterley
    1/15/10     Various Delaware asbestos cases           Jacobs & Crumplar
    1/12/10     Farmer v. Illinois Central RR             Gavin
    12/23/09,   Jacksonville FAA cases                    Pajcic & Pajcic
    4/30/10
    10/8/09     West Virginia asbestos cases              Goldberg, Persky
                                                          Motley, Rice
    9/3/09      Chapman v. CSX                            Goldberg, Persky
    9/3/09      Lone v, CSX                               Sales, Tillman, Wallbaum,
                                                          Catlett & Satterley
    8/17/09     Various Delaware asbestos cases           Jacobs & Crumplar
    7/13/09,    Rehm case                                 Sales, Tillman, Wallbaum,
    7/21/09                                               Catlett & Satterley
    5/29/09     West Virginia asbestos cases              Goldberg, Persky
                                                          Motley, Rice
    5/21/09     Various Delaware asbestos cases           Jacobs & Crumplar
    5/8/09      CSX v. Peirce & Associates                DeForest Koscelnik Yokitis
                                                          Kaplan & Berardinelli
    12/17/08    Frank v. Illinois Central RR              Gavin
    12/15/08    Galbreath v. Norfolk Southern             Robert Peirce &
                                                          Associates



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                                     24283
    10/10/08   Howell case                            George & Sipes
    10/1/08    West Virginia asbestos cases           Goldberg, Persky
                                                      Motley, Rice
    9/17/08    Cofer v. Abex Corp. et al.             Motley, Rice
    7/29/08    DeRobertis v. New Jersey Transit       George Kachmar
    7/10/08    Lee v. CSX                             Law Offices of William S.
                                                      Guy
    4/18/08    West Virginia asbestos cases           Goldberg, Persky
                                                      Motley, Rice
    3/27/08    Rome v. Abex                           Gavin Law Firm
    3/21/08    Long v. CSX                            Sales, Tillman, Wallbaum
                                                      & Satterley
    2/19/08    Loudermilk v. CSX                      Motley, Rice
    1/4/08     West Virginia asbestos cases           Goldberg, Persky
                                                      Motley, Rice
    12/20/07   White v. CSX                           Sales, Tillman, Wallbaum
                                                      & Satterley
    10/19/07   Delaware asbestos cases                Jacobs & Crumplar
    10/12/07   Elbrink v. Alcoa, et al.               George & Sipes
    9/25/07    Blackburn v. Illinois Central          Gavin Law Firm
    9/13/07    Postlewaite v. CSX                     Sales, Tillman, Wallbaum
                                                      & Satterley
    9/12/07    West Virginia asbestos cases           Goldberg, Persky
                                                      Motley, Rice
    8/2/07     Ross v. BNSF                           Lee, Smart, Cook, Martin &
                                                      Patterson
    7/17/07    Thomas v. CSX & Blocker v. CSX         Sales, Tillman, Wallbaum
                                                      & Satterley
    6/21/07    Demers case                            Thornton & Naumes
    6/19/07    Kennedy v. Illinois Central            Law Offices of William S.
                                                      Guy
    5/7/07     West Virginia asbestos cases           Goldberg, Persky
                                                      Motley, Rice
    4/26/07    Hadley v. Union Pacific                Robert Peirce &
                                                      Associates



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                                     24284
    4/17/07    Holmes v. American Standard               Environmental Attorneys
                                                         Group
    3/29/07    Various Delaware asbestos cases           Jacobs & Crumplar
    1/25/07    West v. BNSF                              Richard Dinsmore
    12/21/06   Riggs & Thompson v. CSX                   Sales, Tillman, Wallbaum
                                                         & Satterley
    9/21/06    Stigliano & Walker Delaware asbestos cases Jacobs & Crumplar

    8/29/06    West Virginia asbestos cases              Goldberg, Persky
                                                         Motley, Rice
    8/21/06    Farnsworth v. CSX                         Robert Peirce &
                                                         Associates
    8/11/06    Galloway v. Union Pacific                 Schlichter, Bogard &
                                                         Denton
    8/1/06     Black v. C&O RR                           Motley, Rice
    7/18/06    Terry Williams v. CSX                     Sales, Tillman, Wallbaum
                                                         & Satterley
    7/13/06    Blackburn v. Illinois Central             Gavin Law Firm
    5/17/06    West Virginia asbestos cases              Goldberg, Persky
                                                         Motley, Rice
    5/9/06     Hyatt et al. v. Illinois Central          Gavin Law Firm
    4/4/06     Robinson v. Conrail                       Peirce, Raimond & Coulter
    3/23/06    Various Delaware asbestos cases           Jacobs & Crumplar
    2/27/06    Various Delaware asbestos cases           Jacobs & Crumplar
    1/20/06    West Virginia asbestos cases              Goldberg, Persky
                                                         Motley, Rice
    1/9/06     Carney, et ux v. Anchor Packing, et al.   Hulsey Litigation Group
    1/5/06     Blackburn, et al. v. Illinois Central     Gavin Law Firm
    12/15/05   Hensley v. CSX                            Sales, Tillman, Wallbaum
                                                         & Satterley
    12/4/05    Hayes v. CSX                              Sales, Tillman, Wallbaum
                                                         & Satterley
    12/1/05    Curry v. Amtrak                           Sales, Tillman, Wallbaum
                                                         & Satterley




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                                     24285
    11/28/05   Cohen v. Hampden Automotive Sales      Thornton & Naumes
    10/27/05   Black v. CSX                           Mark Coulter
    10/13/05   Johnson v. CSX                         Sales, Tillman, Wallbaum
                                                      & Satterley
    9/7/05     West Virginia asbestos cases           Goldberg, Persky
                                                      Motley, Rice
    8/2/05     Pagano v. Anheuser-Bush, et al.        Motley, Rice
    7/21/05    Picker & Hogan v. CSX                  Gavin Law Firm
    5/19/05    Various Mobil cases                    Reaud, Morgan & Quinn
    5/10/05    West Virginia asbestos cases           Goldberg, Persky
                                                      Motley, Rice
    4/28/05    Various Delaware asbestos cases        Jacobs & Crumplar
    4/26/05    Pagano                                 Motley, Rice
    4/22/05    State of Indiana asbestos cases        Motley, Rice
    4/21/05    Dummitt, Kibbey & Jenkins v. CSX       Sales, Tillman & Wallbaum
    3/11/05    Guy v. CSX                             Sales, Tillman & Wallbaum
    3/29/05    Bramlett & King                        Motley, Rice
    2/1/05     Durham                                 Motley, Rice
    1/6/05     West Virginia asbestos cases           Goldberg, Persky
    12/7/04    Tanner v. Garlock, et al.              Motley, Rice
    10/26/04   King v. BNSF                           Richard Dinsmore
    9/23/04    Potts v. AcandS, et al.                Motley, Rice
    8/26/04,   Adams v. AW Chesterton, et al.         Motley, Rice
    9/30/04
    6/17/04    Lone v. CSX                            C. Marshall Friedman
    5/18/04    Brown v. AcandS, et al.                Motley, Rice
    4/29/04    State of Indiana asbestos cases        Motley, Rice
    4/22/04    Curta v. Mcdonald Supply, et al.       Motley, Rice
    4/15/04    Burton v. CSX                          Sales, Tillman & Wallbaum
    2/26/04    West Virginia asbestos cases           Motley, Rice
    2/13/04    O’Bannon v. CSX                        Sales, Tillman & Wallbaum
    1/20/04    Schiller v. AC & S                     Motley, Rice



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                                     24286
    12/8/03    Morrison v. CSX                              Mark Coulter
    11/26/03   Robinson v. NVF & Electric Hose & Rubber     Jacobs & Crumplar
    11/4/03    West Virginia asbestos cases                 Motley, Rice
    10/27/03   West Virginia asbestos cases                 Motley, Rice
    10/3/03    Shutters et al. v. Brush Wellman             Andrew Lipton
    10/2/03    Kennedy v. Norfolk & Western RR              John Roven
    9/12/03    Yeager v. Marathon Oil, et al.               Motley, Rice
    10/2/03    Kennedy v. Norfolk & Western RR              John Roven
    8/26/03    High v. CSX                                  Mark Coulter
    7/19/03    Weininger v. United Gilsonite Laboratories   Bernstein, Shur, Sawyer &
                                                            Nelson
    5/9/03     Bowers and Weiss                             Motley, Rice
    2/28/03    Andrews v. Burlington Norther Santa Fe RR    Schlichter, Bogard &
                                                            Denton
    1/14/03    Donzella v. New Jersey Transit               George Katchmar
    12/10/02   Emmi                                         Jacobs & Crumplar
    10/2/02    Seaford v. Norfolk Southern RR               Kevin McDermott
    9/19/02    West Virginia asbestos cases                 Ness, Motley
    5/8/02     Ferrell, et al. V. CSX                       Mark Coulter
    3/12/02    Roberts & Denny v. AC&S                      Ness Motley
    1/9/02     Gregory v. Norfolk & Western RR              Mark Coulter
    1/02/02    West Virginia asbestos cases                 Ness, Motley
    12/28/01   Tuck v. Maremont Corp.                       Ness, Motley
    12/13/01   Asbaucher v. AcandS, Inc., et al.            Ness, Motley
    8/9/01     Shesler, et al., v. Conrail                  Doran & Murphy
    8/7/01     Ernest Thompson v. CSX Transportation        William Gavin
    8/3/01     Glenn Abe v. CSX Transportation              Mark Coulter
    7/31/01    Daniels, et al., v. CSX Transportation       Mark Coulter
    7/3/01     Chapman v. CSX Transportation                Mark Coulter
    6/22/01    David Bryant v. Armstron World, et al.       Ness, Motley
    6/7/01     Byrd, et al., v. Illinois Central Gulf RR    Thomas Brock



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    5/3/01      Ashworth, et al., v. CSX Transportation       The Sutter Law Firm
    5/1/01 &    Edward Ayers v. Shipley Co.                   Thornton & Naumes
    7/16/01
    4/6/01      Puckett, et al., v. N&W RR                    James F. Humphries
    3/9/01      Minnix v. N&W RR                              James F. Humphries
    3/9/01      Boxx, et al., v. Illinois Central Gulf RR     Thomas Brock
    1/10/01     John Wilson, et al., v. Brush Wellman, Inc.   Andrew Lipton
    12/21/00    Cobb v. CSX Transportation                    Glasser & Glasser
    10/5/00     York v. CSX Transportation                    Sutter & Enslein
    9/28/00     Thompson v. Anchor Packing, et al.            A. Russell Smith
    5/5/00      Goff v. N&W RR                                James F. Humphries
    7/10/00     Earl Curry v. Union Pacific RR                Glasser & Glasser
    5/31/00     Various v. Illinois Central RR                T. Brock
    2/18/00     Washington v. BOC Group                       W. Lewis
    2/4/00      Amason v. Allied Signal                       W. Lewis
    1/18/00     Alverson v. Beasley, Callahan v, LAQ          W. Lewis
    12/8/99     Underwood v. Norfolk Southern                 W. Lewis
    12/6/99     Boren v. B.N.S.F                              C. Cortez
    11/19/99    Wallace v. Burlington Southern                W. Lewis
    11/18/99    Watson v. Exxon                               M. Gertler
    11/17/99    Smith v. General Electric & Boston Edison     Terry Dangel
    10/29/99    Adams v. Conrail                              Mark Coulter
    1/20/99     Birtwell v. 28 State Street Limited           Terry Dangel
                Partnership
    11/9/98     Rhodes et al. v. Allied Chemical et al.       Peyton, Parenti &
                                                              Whittington
    10/22/98,   Catherine Breen et al. v. W. A Berry et al.   Albert Zabin
    11/9/98,
    4/9/99
    9/17/98     Hodges v. Norfolk & Western Railway Co.       James F. Humphries
    4/16/98,    Magness v. KC Wall Products & US Gypsum Mark Furney
    6/2/98




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                                     24288
    2/19/98    Carter v. Glidden                             Kehoe, Doyle, Playter &
                                                             Novick
    2/16/98    Lacey v. Metro North                          Collins, Collins & Kantor
    6/12/97    Melvin v. Norfolk Southern                    Miller & Bondurant
    7/10/97    Barron, et al., v. CNA Insurance, et al.,     Ness, Motley
               Jefferson County, AL
    9/4/97     Abshire, et al. v. Anchor Packing, et al.,    James F. Humphreys
               Roanoke, VA
    12/17/97   Trujillo v. AT&SF, Albuquerque, NM            John Roven
    11/26/97   Patricia Arnold v. Dow Chemical Co., New      Baron & Budd
               York
    11/25/97   Wicker, et al., v. CONRAIL, Altoona, PA       Stevens & Johnson
    12/9/97&   Harry Reynolds v. Ford Motor Co., Boston,     Allen Rodman
    12/30/97   MA
    7/16/97    William Bailey v. Southern Pacific, Denver,   Yaeger, Jungbauer
               CO
    5/2/97     Robert T. Ayers v. CSX Transportation         Miller & Bondurant
               Nashville, TN
    4/18/97    Hallie Quick v. CSX Transportation
    2/18/97    Kabonic v. Kansas City Southern RR Co         Jones & Granger
               Kansas City, Kansas
    2/6/97     Reed v. Union Pacific, etc.                   Kujawski & Faerber
    5/15/97    Little Rock, Arkansas
    11/3/95    Vernon Boyd v. Illinois Central RR            Thomas W. Brock
               Mississippi
    2/12/96    John Marcisz v. Norfolk & Western Railway     Brown & Gavin
               Belleville, Illinois
    4/13/96    Abernathy et al. v. AC&S, et al.              Ness, Motley
               Location unknown
    4/23/96    Price v. N&W Railway Co., Gillespie v. N&W    Ness, Motley
               Railway Co.
               West Virginia
    5/14/96    J. Bruggeling v. Conrail & New Jersey         Horn, Schechtman &
               Transit, Lang v. Metro North Commuter RR      Hirsch
               Jersey City, New Jersey




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    2/7/95     Michael Moran v. ConRail                        Horn, Schechtman &
               Jersey City, New Jersey                         Hirsch
    9/23/94,   Cardoza v.Metro North                           Horn, Schechtman &
    10/11/94   Jersey City, New Jersey                         Hirsch
    10/7/94    J. Nolan v. BP Chemicals, et al.                Chandler Loupe
               Baton Rouge, Louisiana
    9/13/94    Johnnie May Hamilton v. Illinois Central Gulf   S. Mark Wann
               Railroad
               Unknown
    1/14/94,   Commonwealth of Massachusetts v. Owens          Dangel & Fine
    2/2/94,    Corning Fiberglas, et al.
    2/4/94     Boston, Massachusetts
    2/4/94     Cottrell v. Alton & Southern Railway Co.        Kujawski & Faerber
               East St. Louis, Illinois




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  11/4/2020
                             Trial Testimony - 1994-2020

                        Michael J. Ellenbecker, Sc.D., CIH

      Date                        Case                         My Client
    8/18/20 & Wilgenbusch case                         Maune, Raichle
    8/20/20
    2/4/20     Smith case                              Bern Cappelli
    10/21/19   Lewis case                              Motley Rice
    3/27/19    Davis case                              Bern Cappelli
    10/30/18   Grathen case                            Bern Cappelli
    9/18/18 & Summerlin case                           Shepard Law
    9/20/18
    2/6/18     Zalinski case                           Bern Cappelli
    1/31/18    Evans case                              Bern Cappelli
    9/12/17    Sylvestre case                          Thornton Law Firm
    1/6/17     Espinosa case                           Kazan, McClain
    3/10/16    Vega case                               Maune, Raichle
    2/4/16     White case                              Satterley & Kelley
    9/17/15    Trejo case                              Kazan, McClain
    6/19/15    Solarzano case                          Kazan, McClain
    6/10/15    Gilvin case                             Levy, Konigsburg
    9/23/13    Nelson case                             Kazan, McClain
    4/23/13    Grigg case                              Kazan, McClain
    12/17/12   CSX v. Peirce Associates                DeForest, Koselnik
    2/7/12     Dye case                                Porter & Malouf
    9/7/11     Stillman case                           Sales, Tillman, Wallbaum,
                                                       Catlett & Satterley
    2/8/11     Oakes case                              Porter & Malouf
    11/8/10    Bankhead v. Ford Motor Co. et al.       Sales, Tillman, Wallbaum,
                                                       Catlett & Satterley
    2/19/10    Montgomery v. CSX                       Sales, Tillman, Walbaum,
                                                       Catlett & Satterley



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    10/2/09    Lone v. CSX                            Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
    2/19/09    White v. CSX                           Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
     8/27/08   Kennedy v. Illinois Central            Law Offices of William S.
                                                      Guy
    7/17/08    Hudson v. CSX                          Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
    3/14/08    Montgomery v. CSX                      Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
    3/3/08     Whisnant v. DuPont                     Reaud, Morgan & Quinn
    1/28/08    Lone v. CSX                            Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
     5/30/07   Vucelich v. Norfolk Southern           Motley Rice
     5/15/07   Kibby & Dummitt v. CSX                 Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
    5/8/07     Claxon v. CSX                          Motley, Rice
    4/18/07    Lone v. CSX                            Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
     11/1/06   Hayes v. CSX                           Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
     9/14/06   Hensley v. CSX                         Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
     8/31/06   Williams v. CSX                        Sales, Tillman, Walbaum,
                                                      Catlett & Satterley
    5/18/06    Hyatt et al. v. Illinois Central       Gavin Law Firm
    4/21/06    Aquirre et al. v. LIRR                 Horn Schechtman
    3/24/06    Denk et al. vs. CSX                    Gavin Law Firm
    11/8/05    Black v. CSX                           Mark Coulter
    7/19/05    Various plaintiffs vs. Weil McClain    Jacobs & Crumplar
    6/14/05    Kibby, Jenkins, & Dummitt v. CSX       Sales, Tillman & Walbaum
    2/4/05     O’Bannon v. CSX                        Sales, Tillman & Walbaum
    2/25/05    Dahlheimer                             Sieben, Polk
    1/5/05     Tanner v. Garlock, et al.              Motley, Rice




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    11/18/04    Adams v. AW Chesterton, et al.           Motley, Rice
    11/9/04     Combs v. Norfolk Southern                Porter & Malouf
    9/13/04     Yeager v. Marathon Oil, et al.           Motley, Rice
    6/14/04     Zabilansky                               McRoberts & Roberts
    6/29/04     Burton v. CSX                            Sales, Tillman & Wallbaum
    11/10/03    Cuomo v. Long Island RR                  Wilentz Goldman & Spitzer
    9/3/03      Moody v. CSX                             Sales, Tillman & Wallbaum
    6/26/03     Satava et al. v. CSX                     Doran & Murphy
    5/29/03     Bowers                                   Motley, Rice
    3/7/03      Wilson case (video testimony)            Peter Angelos
    3/6/03      Nevith v. Conrail & New Jersey Transit   Wilentz Goldman & Spitzer
                (video testimony)
    12/11/02    Emmi                                     Jacobs & Crumplar
    10/18/02    Seaford v. Norfolk Southern RR           Kevin McDermott
    10/7/02     Kilbane v. Conrail                       Doran & Murphy
    4/9,10/02   Indianapolis mass asbestos trial         Ness, Motley
    4/8/02      Daniels, et al., v. CSX Transportation   Mark Coulter
    1/30/02     Chapman v. CSX                           Mark Coulter
    4/30/01     Michael E. Warren v. Conrail             Gene Horn
    10/10/00    Adams v. Conrail                         Mark Coulter
    6/9/00      Various v. Long Island RR                Gene Horn
    4/4/00      Boren v. Burlington Northern RR          R. Dinsmore
    12/17/99    Birtwell v. 28 State Street Associates   Terry Dangel
    12/14/99    Underwood v. Norfolk Southern RR         William Lewis
    9/21/99     Aguirre, et al. v. Long Island RR        Gene Horn
                Brooklyn, NY
    8/13/99     Carter v. Glidden                        Rob Doyle
                Montpelier, VT
    4/4/97      Peterson v. Owens Corning Fiberglas      Ness, Motley
                Wichita, KS
    1/24/97     Crouch v. CSX                            Miller & Bondurant
    1/28/97     Portsmouth, VA




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    10/23/95   Lipari v. Conrail (?)                        Horn, Schechtman &
               Jersey City, New Jersey                      Hirsch
    2/2/96     Cross v. New Jersey Transit                  Horn, Schechtman &
               Jersey City, New Jersey                      Hirsch
    6/13/96    Kapsis v. PATH                               Horn, Schechtman &
               Jersey City, New Jersey                      Hirsch
    6/6/96     Price v. N&W Railway Co., Gillespie v. N&W   Ness, Motley
               Railway Co.
               West Virginia
    6/5/96     The Estate of Thomas Sullivan, et al., v.    Ashcraft & Gerel
               AC&S, Inc., et al.
               Boston, Massachusetts
    2/8/95     Michael Moran v. ConRail                     Horn, Schechtman &
               Jersey City, New Jersey                      Hirsch
    10/13/94   Cottrell v. Alton & Southern Railway Co.     Kujawski & Faerber
               Belleville, Illinois
    10/11/94   Murphy v. PATH                               Horn, Schechtman &
               Jersey City, New Jersey                      Hirsch
    4/22/94    Commonwealth of Massachusetts v. Owens       Dangel & Fine
               Corning Fiberglas, et al.
               Boston, Massachusetts
    2/25/94    Modesto Webb, et al., v. Sohio Chemical      Chandler Loupe
               Co., et al.
               Baton Rouge, Louisiana
    2/15/94    Broadhacker v. Southwestern Railway          Brown & Gavin
               Belleville, Illinois




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                 EXHIBIT B



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                                     24295
  Materials Reviewed and Relied Upon:

  For purposes of this report, I have relied upon my education, training, clinical experience, my
  own research, knowledge of the pertinent medical and scientific literature, and review of the
  following material:

  Deposition Transcripts:
  September 29, 2020 Deposition of Kirk Morris
  October 29, 2020 Deposition of John Price
  August 12, 2016 Deposition of Tom Bock
  August 4, 2016 Deposition of Steven Cherry
  July 27, 2017 Deposition of Christopher Eich
  July 25, 2017 Deposition of Sean Healey
  August 24, 2017 Deposition of Stephen McCracken

  Phase I Trial Transcripts:
  2018-10-16 Adkisson v. Jacobs - Trial Transcript (Vol. I)
  2018-10-17 Adkisson v. Jacobs - Trial Transcript (Vol. II)
  2018-10-18 Adkisson v. Jacobs - Trial Transcript (Vol. III)
  2018-10-19 Adkisson v. Jacobs - Trial Transcript (Vol. IV)
  2018-10-22 Adkisson v. Jacobs - Trial Transcript (Vol. V)
  2018-10-23 Adkisson v. Jacobs - Trial Transcript (Vol. VI)
  2018-10-24 Adkisson v. Jacobs - Trial Transcript (Vol. VII)
  2018-10-25 Adkisson v. Jacobs - Trial Transcript (Vol. VIII)
  2018-10-29 Adkisson v. Jacobs - Trial Transcript (Vol. IX)
  2018-10-30 Adkisson v. Jacobs - Trial Transcript (Vol. X)
  2018-10-31 Adkisson v. Jacobs - Trial Transcript (Vol. XI)
  2018-11-01 Adkisson v. Jacobs - Trial Transcript (Vol. XII)
  2018-11-02 Adkisson v. Jacobs - Trial Transcript (Vol. XIII)
  2018-11-06 Adkisson v. Jacobs - Trial Transcript (Vol. XIV)
  2018-11-07 Adkisson v. Jacobs - Trial Transcript (Vol. XV)

  Phase I Trial Exhibits, including but not limited to:
  Exhibit 1 – Site Wide Safety and Health Plan (Revision 1)
  Exhibit 2 – Site Wide Safety and Health Plan (Revision 2)
  Exhibit 3 – Site Wide Safety and Health Plan (Revision 3)
  Exhibit 4 – Site Wide Safety and Health Plan (Revision 4)
  Exhibit 5 – Site Wide Safety and Health Plan (Revision 5)
  Including but not limited to Appendix K, Industrial Hygiene Monitoring Plan
  Exhibit 6 – Site Wide Safety and Health Plan (Revision 6)
  Including but not limited to HSE-07 Industrial Hygiene Personal Air Monitoring Procedure and
  Appendix K, Industrial Hygiene Monitoring Plan
  Exhibit 7 – Site Wide Safety and Health Plan (Revision 7)
  Including but not limited to Appendix I, Industrial Hygiene Monitoring Plan
  Exhibit 61 – 2014-12-05 Industrial Hygiene Monitoring Plan Final Report




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  Exhibit 66 – 2013-02-20 KRP HSE-07 Industrial Hygiene Personal Air Monitoring Procedure
  (Rev 0)
  Exhibit 67 – 2013-12-11 KRP HSE-07 Industrial Hygiene Personal Air Monitoring Procedure
  (Revision 1)
  Exhibit 71 – April 3, 2009, Shaw Group Letter to Tommy Lucas re. radium sampling
  Exhibit 79 – 2009-09-17 Eberline Analytical Report of Analysis
  Exhibit 80 – 2009-10-0 Eberline Analytical Report of Analysis
  Exhibit 85 – 2009 Calendar of sample events rain
  Exhibit 86 – 2009 Calendar of sample events
  Exhibit 87 – 2010 Calendar of sample events rain
  Exhibit 89 – 2011 Calendar of sample events rain
  Exhibit 90 – 2011 Calendar of sample events
  Exhibit 91 – 2012 Calendar of sample events rain
  Exhibit 94 – 2013 Calendar of sample events
  Exhibit 96 – 2010_07 Monthly Industrial Hygiene Monitory Summary
  Exhibit 99 – 2010 to 2012 Monthly IH Summary Reports to TVA
  Exhibit 100 – 2009-08-04 TVA Site Dust Control and Air Monitoring Plan
  Exhibit 101 – 2009-08-14 TVA Site Dust Control and Air Monitoring Plan
  Exhibit 103 – 2011-09-26 TVA Site Dust Control and Air Monitoring Plan
  Exhibit 104 – 2012-10-31 TVA Site Dust Control and Air Monitoring Plan
  Exhibit 167 – 2013-06-13 Emails re. IH Sample Results Labs
  Exhibit 175 – 2013-06-21 Bock Summary of IH Monitoring re lawsuits
  Exhibit 309 – Knoxville Sentinel Photo Cloud of Coal Ash Above Cleanup Site
  Exhibit 328_2009-08-26 Photo of Dust Cloud
  Exhibit 329_2009-08-26 Photo of Dust in Air
  Exhibit 330_2009-08-26 Photo of Dust in Dusk
  Exhibit 332_2009-08-26 Photo of Dust in Sky
  Exhibit 333_2009-08-26 Photo of Dust on Site
  Exhibit 334_2009-08-26 Photo of Dust Over Site
  Exhibit 341_2009-10-01 Photo of Dust Covering Smokestack
  Exhibit 342_Photo of ash movement
  Exhibit 343_2009-11-14 Photo of Dust on Truck
  Exhibit 352_Photo of worker break area (2)
  Exhibit 358_2010-02-12 Photo of Dust Cloud Above Excavator
  Exhibit 359_2010-03-13 Photo of Dust Around Working Trucks
  Exhibit 360_Photo of ash excavation and loading with dust
  Exhibit 361_Photo of ash excavation and loading with dust (2)
  Exhibit 362_Photo of ash excavation and loading with dust (3)
  Exhibit 363_Photo of dust on filter in HVAC for trailer
  Exhibit 365_2010-03-19 Photo of Inside Office
  Exhibit 369_2011-10-12 Photo of Dust in Port-a-potty
  Exhibit 371_Photo of Outdoor Break Area
  Exhibit 372_2009-12-12 Photo of Coal Ash on Worker Face
  Exhibit 373_2009-12-12 Photo of Workers in Coal Ash
  Exhibit 399 – Gibson – Dust Collection Video




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                                     24297
  Photographs:
  Various photos of the site that can be produced upon request, including but not limited to:
  GCPLA000001-GCPLA000023.

  Air Monitoring Documents Produced by EnSafe and Jacobs, including:
  2009, 2010 - 1578 separate documents produced by EnSafe
  2010 – JEGS 0071481 – IH 2010
  2011 – JEGS 0072096 – IH 2011 Part 1
  2011 – JEGS 0073043 – IH 2011 Part 2
  2012 – JEGS 0074196 – IH 2012
  2013 – JEGS 0075523 – IH 2013
  2014 – JEGS 0076423 – IH 2014

  Expert Reports:
  Elizabeth Ward, PhD
  Joseph Graziano, PhD
  Michael Ellenbecker, PhD
  Norman Kleiman, PhD

  Addenda:
  In addition to the materials listed above, I have also reviewed all of the materials listed in the
  individualized exposure assessments, which are attached as Addenda to this report.




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                 EXHIBIT C



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                                                                         Revision   06




             SIITE WIIDE    SAFETY AND HEALTH PLAN

                                  FOR THE

                 TVA     KIINGSTON FOSSIIL PLANT

                     ASH RELEASE RESPONSE




                                 Prepared for



                       Tennessee Valley Authority



                                 Prepared    by
                                    Jacobs
                              125 Broadway Ave
                             Oak Ridge TN 37830



                                January 2013




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  Kingston      Ash Release   Response     Project                                       January   2013

  Site   Wide   Safety   Health   Plan   for the   Tennessee   Valley Authority           Revision   06




                                                                  APPENDIX K

                                  INDUSTRIAL                   HYGIENE MONITORING PLAN




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                                 APPENDIX K

                INDUSTRIAL     HYGIENE MONITORING PLAN
                                R1 April 2012




                    SITE   WIDE SAFETY AND HEALTH PLAN



                                    For the




                           TVA KINGSTON FOSSIL PLANT

                            ASH RELEASE RESPONSE




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 Table    21    Similar Exposure Groups Identified                        at Kingston   Ash Recovery   Project   Site

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 Table    62    Quality Assurance            Project Plan     CrossWalk                                                       K6 4

                                                         ATTACHMENTS

 Attachment      1    Sample       Health     Hazard Evaluation              by Exposure Group    Form 124
 Attachment      2    Kingston      Ash Recovery        Site Industrial Hygiene            Monitoring White Paper




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                                                            1.0           INTRODUCTION

 1.1        BACKGROUND

 This Industrial Hygiene                  Monitoring         Plan        IHMP         has been developed                 as Appendix           K   to the      TVA
 Kingston        Fossil Plant           KIF     Site    Wide      Safety and Health            Plan      SWSHP              The       intent   of this     IHMP
 is to fully     develop discuss and apply the monitoring strategy associated                                                   with relevant         sections

 of the    SWSHP               In the event the           SWSHP          is    updated    this   IHMP      will    be reviewed and updated as
 necessary


 The    preliminary         IHMP        entitled “ Kingston             Fossil Plant Coal           Ash Recovery            Site Industrial           Hygiene
 Monitoring        Plan”        was prepared by EnSafe Inc and was                               submitted          on January           21 2009           as an
 amendment           to the         Ash Recovery           Site Safety          Plan The purpose                of the    preliminary          IHMP was           to

            the EnSafe                                                                                   This plan revises and updates




 today
 outline                            air monitoring activities             during the project                                                                   the

 preliminary        IHMP and any subsequent                            plans submitted in draft or final form by                        EnSafe        Portions

 of the    EnSafe IHMP have been referenced                                and    utilized within        this    document


 Industrial        hygiene           IH    activities       began         on      December          30    2008       with       air     monitoring         being
 performed         for   fly    ash and        its   constituents             Standard    methods         commonly employed by TVA and
 EnSafe      for    evaluating           exposures          to   fly    ash constituents         during         fossil    boiler      outages       or    day
         production            or    maintenance           activities          were    implemented during the                        early   phase        of   the

 project



 1.2        GENERAL                 INDUSTRIAL            HYGIENE OBJECTIVES

 Evaluation        and control            of   health     related        exposures       on the Kingston                 Ash Recovery              Project site

 are key to ensuring                 and maintaining             the health of the site work force                       particularly        as the project
 duration      creates         the potential          for chronic       exposures        to   become      relevant


 In addition       to worker          protection         a properly developed                 and executed          Industrial          Hygiene       Program
 will   provide     a    repository of historical information for future                         use

 The    principal        objectives       of the plan are              as follows


 •      Identify    specific          responsibilities for              site   Health     Safety       and Environment                   HSE         staff     and
        operations        management                 with regard to Industrial Hygiene                   Program support

 •      Identify    the various Similar Exposure Groups                                SEG     to   be monitored onsite with the                         intent   of

        drawing group               level conclusions            with regard to health exposures                    and     controls

 •      Specify      the        target     stressors             chemical          physical         biological           that    will    require          routine
        monitoring for each               SEG
 •      Identify    specific         action      levels     to   trigger mitigation or              programmatic development                         activities

        These may          include        field controls          work techniques training medical monitoring or                                     utilization

        of personal        protective          equipment

 •      Document          the       monitoring protocols                for the   site including         frequency          specific         analytes        to be

        monitored for and the sample methods to be employed

 •      Establish a        means          to create       and     distribute proper            IH documentation                 to   TVA management
        operational        management TVA                   contractors           and    individual      workers




                                                                                K1 1
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 1.3        KEY INDUSTRIAL                        HYGIENE PERSONNEL                         AND        RESPONSIBILITIES

 General       site safety          and      health           responsibilities are          established        under       Job Descriptions          of the

 Kingston       Ash Recovery                 Project           Management           Plan        This    section    is   included     as   it   specifically

 relates to executing              the onsite IH               Program


 1.3.1      Jacobs          Site    HSE Manager

 The HSE Manager                     will    be        the     key   liaison    between          TVA        Jacobs        Engineering          Group   Inc
  Jacobs management                     and those technical                  specialists performing IH activities                    onsite The        HSE
 Manager’s         responsibilities                include          providing       summary and            transmittal reports as              necessary
 provides       recommendations                        for   control     strategies as related to occupational                      health     exposures
 development          of     sitewide             guidance           issuance        of   sample        notification      letters    ensuring        proper
 training   and     skill    sets are present                  in site   IH personnel and reporting                 in relation to      IH findings


 1.3.2      Jacobs          Site Industrial Hygiene                       Lead Technologist


 The IH Lead         Technologist                will    be    responsible      for


 •      Executing      the general monitoring strategy                              outlined     in this plan      with guidance          from the     HSE
        Manager
 •      Keep    the Jacobs           Site        HSE         Manager apprised of findings on a                    daily   basis

 •      Consulting          with     Jacobs’             Certified        Industrial       Hygienist         CIH        staff    when     difficulties     or

        anomalous findings are identified

 •      Maintaining         and    calibrating               IH equipment       per manufacturer’s             requirements

 •      Proper handling            of   samples including chain of custody                              CoC
 •      Completing exposure monitoring paperwork                                     on a   daily      basis

 •      Observing      workers being monitored and documenting                                         relevant   information




 1.3.3      Jacobs          Industrial Hygiene                   Manager

 The IH Manager                is     responsible for                  assisting     in    the    development           of   this   IHMP       general     IH
 monitoring        strategies           evaluation              of     exposures          and    providing        recommendations              for   control
 strategies       when necessary


 1.3.4      Data Management and Quality Assurance                                           Team

 The     onsite   Data Management                            Team    and Quality Assurance                  QA     Team         assist the IH Program
 with    respect     to laboratory coordination                          laboratory data          management data                 validation     QA      and
 data storage        in     EQuIS           in   accordance            with Section 6.3 of this plan




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                             2.0            INDUSTRIAL              HYGIENE PROCESS OVERVIEW

 2.1         IDENTIFY SIMILAR                     EXPOSURE GROUPS

 The      collaboration        of   TVA      Safety and IH           staff      EnSafe and Jacobs have                established           SEGs      for

 differing     categories           of   employees with              potentially       or    expected     similar     exposures from work
 conducted        at   the     Kingston           Ash Recovery           Project       site      Segregation     into   SEGs         is    a function
 primarily of equipment specific                       positional assignments or site                   responsibilities        As sampling            is

 performed         task      assignments               will    be noted         on sample notes           and    recorded       in    the     sample
 records database              used         but    may        also be    dependent          on    activities     In   the    event        results     are

 elevated task         level    controls will be implemented for that task



 Table      21   contains       a    listing      of   SEGs      presently      identified    for the   Kingston      Ash Recovery            Project
 operations         As    activities        change        or are    added        to the site additional          exposure       groups        may     be
 added as necessary


                                                                        Table      21
             Similar      Exposure Groups                      Identified       at Kingston       Ash    Recovery Project Site
                                                              with activity task subsets


 Site Wide Staff Support                                OnWater          Operator                        Teamster
 Field Staff                                            Boat Operator                                       Dump Truck Operator
                                                                                                         Artic

 Mgmt        Admin      Office Staff                    Dredge Boat Operator                             Dump Truck Operator
 Misc                                                   Dredge Shore Operator                            Fuel Truck         Driver

 Sample Technician                                      Tugboat Operator                                 Vacuum Truck Operator
 Security                                               Vacuum Barge Operator                            Water Truck Operator


 OnLand          Operator                               OnWater          Laborer                         Railcar      Loadout Laborer
 Amphib Excavator Operator                              Boat Laborer                                     Loadout Laborer             Railcar

 Booster      Pump     Operator                         Deck Hand                                        Polymer
 Buggy Operator                                         Dredge Laborer                                   Railcar      Loading        Closer

 Clam Bucket Operator                                   Fuel Boat       Crew                             Railcar      Loading        Liner

 Crane Operator
 Dozer Operator                                         Mechanic                                         Railcar      Loadout Operator
 Excavator       Operator                               Heavy Equipment Mechanic                         Railcar Loading             Dozer
 Forklift    Operator                                   Equipment        Mechnanic Heavy                 Railcar Loading             Excavator

 Fuel Truck Operator                                    Equipment        Mechanic
 Grader Operator                                                                                         OnLand         Laborer
 Lime Application Mixing                                Filter    Press Operations                       Decon Laborer
 Pump       Operator                                    Filter   Press                                   Decon Laborer           vacuum
 Scraper Pan Operator                                   Filter   Press Foreman                           Equipment Decon Detail
 Shoreline       Operator           river   ops         Filter   Press Operator                          Flagger

 Track      Dump    Operator                                                                             General Laborers
                                                        Perimeter Wall Crew                              Rail Maintenance            Laborer
 Drill    Crew                                            BP        Operator
                                                                 Forklift                                River   Ops        Shore Laborer
                                                          BP Gen Laborer                                 Water Truck Laborer

 Hydroseed Crew                                           BP Mixing Operator
                                                          SW Dozer Ops
 Southern Shores                                          SW      Excavator

                                                          SW Gen Laborer

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 2.2         EVALUATE

 Periodic         monitoring              and sampling schedules                             will     be based on the severity                             of potential          exposures
 to   recognized               health        hazards              and possibly other factors such as number of personnel exposed
 and     frequency                  of    task        performances                etc             This      will      be     periodically               reviewed             and          sample
 priorities       updated as warranted


 The     Site IH          Lead Technologist                         in collaboration        with TVA and Jacobs CIH staff will conduct a
 Health       Hazard                Analysis           of    existing           and     new SEGs identified on the site using Form 124
                           1 Sample                                                                                                                                     22




                                                                                                                                                                                 will
  Attachment                                          Health        Hazard Evaluation                    by Exposure Group                               Table                           be used




                                                                                                                                                        will
 to   initially     evaluate              the     potential         for    exposures                to exist           Existing data                            be used       to evaluate

 exposures based                         on      SEGs              Where         existing              data      is    not      available              an objective                     exposure
 determination will                      be made which                    may     include             the use of calculations                             direct          read monitoring
 and integrated                 monitoring               This process              will    continue           for     each      SEG       and each recognized                               health
 hazard      until       adequate               exposure characterization                              has been completed


 The     qualitative                exposure           assessment               captured            by Table           22    includes           an evaluation                 of potential
 chemical           exposures                   via    inhalation           ingestion                 and     dermal contact                    and or                absorption                  The
 assessments also include                                the       potential       exposures                to     noise        and      radiation               and other               potential

 physical         hazards                  The predominant                      exposure determinants and                                 events                 such as frequency
 magnitude               and         variability         of exposure               and tasks route                      of      exposure                potentials           for         acute      or

 chronic      exposures or frequently repeated                                           tasks         and exposures along                             with         the    adequacy               and
 potential         for failure             of    engineering              and work              practice         controls        are considered                         as a part           of     the
 qualitative           exposure assessment


 As new processes                         and tasks are                  identified        on the Kingston                      site     the potential                    hazards          will    be
 included         in the associated                    work package                and job safety analysis                         The new processes will                                      either
 be captured               within         the     monitoring plan                 for      existing           SEGs         or   new SEGs will be created                                          The
 Jacobs           IH     staff        will      determine            new         strategies              as        appropriate             to          evaluate            new           potential

 exposures                If   the qualitative               exposure assessment indicates                                   a minor or no                       risk of     exposure no
 further action                is   required


 2.3         DOCUMENT CONTROL REPORTING AND                                                                   NOTIFICATION
                                                                                                                                                will




 Independent                   of        routine        reporting               electronic              and        paper         files                         be     kept    for          project
 documentation                      purposes                 This    information                will    be properly controlled                                 and      handled            via     the

 project     Document                    Control process                  and     includes             CoCs           raw and interpreted                           lab   data exposure
 calculations              copies          of distributed reports copy of field notes                                           copies        of calibration                 records              and
 other     information relevant                         to the       onsite       IIH      Program                 All records           must be maintained                               by     TVA
 and associated                     employers           for       a minimum           of   30 years


 Various          reports and notification                          activities        will      occur as a             result of         IH   activities                at the          site      The
 following         is   a summary of the reports and                                  their       frequency


 2.3.1       Worker                 Notification


 Employees               will       be     notified          of    the    results       of      all    sampling regardless                        of           levels     recorded                For
 personal           exposure                 monitoring                  this    will      generally               consist        of     specific                   notification           letters

 Employee               notification            letters       for    TVA        staff      will       be provided            by Jacobs                 for distribution                   by     TVA
 Safety      staff             Jacobs           will   distribute           letters        to     the    employer of subcontracted                                      personnel                 The




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                       will
 employer                      distribute to the              subcontracted                      personnel            A   signed       copy    of the      notification          letter

 will   be   returned              to   document            control by the employer



 2.3.2       Site Wide Notification


 In the      event            results dictate               the    need         to    notify        SEGs        or the entire site Jacobs                  will       develop         the
 notification           announcement                        and    distribute                via    email postings                and       other    announcements                    as
 necessary


 2.3.3       Daily Reporting


 Relevant           IH information                   will    be verbally                shared          during        the Health         and Safety             daily     meeting
 Included        will         be general discussion                   of IH activities                  and any notable observations


 2.3.4       Monthly Reports


 Formal monthly                     reports of IH activities                         performed onsite                  include         interpreted results               summary
 general        conclusions                   about exposure                   levels          ELs         any   identified       areas       of    concern           and actions
 required        or taken to resolve these concerns


 This    report         will       be generated by                  the        Jacobs            Site   HSE Manager                   or their designee                and     will   be
 reviewed           by the Jacobs                    IH Manager                 prior to           distribution           Due    to    the lag time in receiving                      lab
 results the report will                       be issued no                    later    than the end                 of the     following      month       for the        previous

 month       barring any unexpected                               delays such as data validation                               eg       end   of July for            June results


 2.4         VERIFY UPPER CONFIDENCE                                                 LIMITS          AND MANAGE FURTHER MONITORING

 When        integrated                 monitoring is performed                              a     statistically       significant       sample       of     workers           will   be
 selected           for       exposure              monitoring        per            the      direction         of    the      Site    IH   Manager             recommended
 National           Institute           of    Occupational                Safety             and      Health          NIOSH      sample methods and other
 recognized            industry standards                          Nearby areas or employees                                may be monitored   is suspectedif   it



 there    is    a dispersed impact                          of the    contaminants                      of   concern however                  these    personnel             will     not

 count toward the statistical                              significance           of the task            workers          monitored


 An     evaluation              of      all   exposure groups                        will     be performed                to   determine exposure                     potential       for

 recognized             stressors              If   data gaps exist additional                                 monitoring       will    be performed             until   all   SEGs
 have     been             adequately               characterized                    Once an exposure group is adequately characterized
 ELs     will    be        statistically            evaluated             If    data    sets are large enough parametric statistics will be

 utilized       using          the 95th        percentile          Upper Confidence                          Limit     UCL         For small data sets Bayesian
 statistics         will      be    utilized to        determine with                   95           confidence           which exposure bands                        per Table        2
 2 the       associated                 levels      fall    into    Applicable                 ELs      will    be those        listed   in Section        4 and Table                42
 of the      SWSHP                 or the      most recent            version               of applicable            Federal State or Occupational                             Safety

 and     Health               Administration                 OSHA              regulations              or     the    most recent            edition    of       the     American
 Conference                of   Governmental                 Industrial Hygienists                         ACGIH          Threshold         Limit   Values booklet




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                                                                      Table        22
                                             Summary of Exposure                   Monitoring Actions


                If   the   UCL      is                    The Exposure            is   Deemed            Further Monitoring                 consists of

                                                                                                      Verifying the process                and exposure
                10         of the    EL                            Insignificant
                                                                                                      potential   remain unchanged

          10 and 50                 of the   EL                      Marginal                         Quarterly integrated


         50 and 100                 of the    EL                    Significant                       Monthly     integrated


                                                                                                      Routinely       until   controls      have
                       100                                         Unacceptable
                                                                                                      adequately        lowered exposures



 If   an Action Level         in Section           4   of the   SWSHP        is    exceeded           notification      will    be made verbally              in

 the daily Health           and      Safety        meeting      A preliminary review and validation                            will   be conducted            by
 the Site    HSE Manager                 or the Jacobs          CIH The activities equipment and                               conditions       of the    day
 of   sampling are evaluated                  to   determine potential             contributing        factor     s    to the     exposure with the
 goal of preventing            similar situations or identifying                  controls      to   reduce exposures                 to   below     criterion

 levels



 Depending           on the    results of the           preliminary review             and    validation     additional          sampling or review
 may be     necessary or action items recommended                                      for   review     Exceedances              indicating         the need
 for upgrading         respiratory protection               will   be immediately brought                  to the      attention       of the      TVA and
 Jacobs Program Managers




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                                     3.0            IDENTIFICATION                        OF MONITORING NEEDS

 The need to include personnel                             or areas in IH monitoring programs                                will    be based on a number                 of

 factors however they will be                              primarily      based           on assessing the                  potential    exposures            of routine

 field activities



 3.1           EXISTING             PROCESS

 Currently the recognized                       processes          onsite include                ash removal            from land based release areas
 ash         removal          from       existing          storage         areas            ash       stacking          site        maintenance              equipment
 maintenance                drilling       field    supervision           perimeter wall construction                            and   office   activities         These
 processes            may          occur     within        a    number          of    different          scenarios          or   with    different       contractors

 however            the       relative      occupational                exposures and                 stressors         are         expected      to    be     relatively

 consistent



 3.2           NEW PROCESS

 In the       event      new       activities       are    added an evaluation will be conducted to determine                                           if   new SEGs
 are       created       from those           activities         new SEGs are added they will be included
                                                                   If                                                                                        for   routine

 monitoring along with other                         SEGs         Monitoring            priority      will    be based on potential               for   exposure


 3.3           WORKER COMPLAINTS

 Worker         complaints are to be taken                              seriously         and     will    be given          immediate attention                for   initial


 evaluation              Initial    evaluation           includes       direct       observation             of the   related tasks reviews of existing

 data        for    similar         sampling             utilization       of    direct          read        instruments             and when            appropriate
 discussion         with the individuals involved



 If   it   appears       that      worker complaints present                         valid    or real potential              exposures          those complaints

 will      be addressed by             conducting              integrated        monitoring as soon as practical



 3.4           MANAGEMENT                    REQUEST

 Management                requests          will    also be given              priority      for     initial   evaluation           which      will   include       direct

 observation             of    the     related           tasks    reviews            of    existing          data     for    similar     sampling            and     when
 possible utilization                of direct read instruments



 If   after    initial    evaluation          no conclusions               can be drawn                  about        actual     ELs     integrated          monitoring
 will      be conducted as soon as                       practical




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                                    4.0         CHEMICAL HAZARD MONITORING METHODS

 4.1               STRESSORS                OF POTENTIAL               CONCERN

 Table            41      lists   the potential          chemical     hazards        currently     identified           for the     site    and          the applicable

 NIOSH methods associated with the particular contaminate sampling and analytical methods
 The NIOSH methods will be applied in conjunction     with best management IH practices
 acknowledged   by the American Board of Industrial Hygiene     ABIH American Industrial
 Hygiene Association AIHA ACGIH and recommendations by AIHA certified laboratories

                                                                             Table       41
                                                Recognized Sample Methods to be                                 Utilized



       Method Number                                         Stressors of Potential              Concern                                    Sampling Media

      NIOSH 0500                           Particulates      Total                                                                            37mm MWMCE2
      NIOSH 0600                           Particulates      Respirable                                                                           37mm PVC3
                                           Aluminum Antimony Arsenic Barium Beryllium
                                           Cadmium Calcium Chromium Cobalt Copper
      NIOSH 7300                           Iron Oxide Lead Magnesium Manganese Molybdenum                                                     37mm MWMCE
                                           Nickel Potassium Selenium                    Sodium Thallium
                                           Vanadium Zinc Oxide

                                           Silica   Amorphous         Silica      Quartz    Silica       Cristobalite
      NIOSH 7500                                                                                                                                  37mm PVC
                                           Silica Tridymite


                                           Radium226 Radium228 Thorium 228 Thorium 230
      Per CHP1                             Thorium 232 Thorium 234 Uranium 234 Uranium 235                                                    37mm MWMCE
                                           Uranium 238

      NA                                   Misc     indoor   air   quality concerns         Office Trailers                                              Varies

 Notes
 1
  Per CHP – as coordinated by TVA Certified Health                    Physicist

 2MWMCE – matched weight mixed cellulose ester
 3PVC –polyvinyl             chloride




 4.2               EVALUATION                METHODS TO BE USED

 Potential               inhalation      hazards         to those    Stressors of Potential                Concern              SOPC          listed      in   Table       41
      will




             be   evaluated         through        proper sampling techniques                    and review


 To          initially     determine         potential       exposures            the    Site Industrial             Hygienist         will      first    review          prior

 documented                   data collected         by    TVA and EnSafe An                  evaluation             will   be performed             to    determine         if



 adequate                characterization           has been achieved              for   each     SEG      or   if    data gaps exist


 If     data       gaps       appear       to   exist an objective             evaluation         will    be done              utilizing    when          possible         the

 following               sequence


             1     Calculations           or exposure        modeling
             2     Direct reading           evaluations

             3     Integrated           monitoring techniques



 If    methods             1 or 2 provide information that with conservative                                 assumptions                   can    verify       or   “ prove”


 no exposures                     the    evaluation        will    be properly          documented          and         will    stop   at that           point       If    this




                                                                                  K4 1
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 cannot be achieved integrated                                     monitoring            will    be performed and data collected                              until   adequate
 conclusions              can be drawn


 All integrated                monitoring            will   be performed                using recognized             industry         methods            primarily        NIOSH
 Sample         and            Analytical          Methods                as    guidelines              As a      general        rule       area        or    environmental
 samples           will        not    be used               to    evaluate            worker       exposures as            significant            variability         may     exist

 between           the         stationary            monitor              and    the        mobile       worker      and        their    breathing                 zone       Area
 monitoring           may            be used           to    evaluate            the    general         effectiveness           of    controls          samples and              the
 potential      impact of downwind                               offsite       receptors


 Field quality control                       QC      will    require a           minimum           of   one   field blank       for   every 10 primary personal




                                                                                                                                         will
 or area samples submitted for laboratory analysis                                                      Field blank        media                 be selected          randomly
 from the same                   lot       as primary sample media Field blanks                                        will     accompany               primary samples

 onsite      and     during shipment to                          and from        the laboratory



 4.3          FREQUENCY                       OF EXPOSURE                        MONITORING

                                                     SEGs


 reevaluated
 Personnel           identified               by                    will      be repeatedly monitored as                         needed            to    ensure        potential

 inhalation         hazards             are controlled                   below Action Levels                   Not   all   SEGs will be sampled with                             the
 same frequency dependant                                   on determining                  site factors       but   all   SEGs should be periodically
                    to     verify          work      activities           have        remained unchanged                   and data previously                      collected     is

 still    representative                of current           exposures                This should be done               semi annually                  for   all   active   SEGs
 and documented                       in     the monthly IH report                          The     actual     sampling strategy                  for    a    specific      day   is

 determined           or approved                  by the Site             HSE Manager                  project   CIH      or designee



 Initially     frequency                of    exposure            monitoring           will     be based upon          the exposure risk rating identified
 for      a given         SEG              Once        an        SEG          has been adequately                  characterized                 additional         verification

 monitoring will be based on Table                                       22
 4.4          EXPOSURE                     LIMITS


 4.4.1        Sequential                Analysis


 A       sequential            analysis        approach                 may     be    utilized for        sample analysis strategy                       with       the primary

 goals        being            optimizing            data         collection           and       increasing       efficiency            The        following          option      is

 provided          as an example only                              if    other    analytes          or chemicals           of   concern           are identified              other

 sequences           may         be employed                     for    sample strategy


 Total      particulate               and metals samples                              Samples are collected                   and     initially         analyzed        for   total

 particulate              If    total      particulate            concentrations                 are at or above           0.5 milligrams per cubic                         meter
 additional         analysis            is    conducted                 for arsenic         and cadmium           provided        they          have    adequate          sample
 volume        to record             concentrations                     low   enough        to   be meaningful


 If   a lag   in results is             unacceptable                    due    to project         needs       the sequential          analysis          can be bypassed
 to allow      analysis of              all   chemicals                 of concern          simultaneously


 4.4.2        Action Levels


 Action       Levels            for    the     site are            typically          not    regulatory        levels      however               several       SOPCs have
 specific      OSHA defined                     Action            Levels         If    an   OSHA         Action    Level        does not exist                TVA generally




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 uses     one half          of the       time adjusted              Permissible Exposure                    Level     PEL       Brief     and Scala        Method
 Applicable           action levels will be those listed in Section                                      4 and Table 4.2       of the     SWSHP

 TVA     is   a   Federal       entity     and     is therefore                 governed        by Federal       OSHA      PEL’s        In addition        there are

 several       contracting              partners       onsite that are required                      to follow the      Tennessee           TN OSHA          PEL’s
 The PEL’s             that    will      be mandated                    for     compliance          will    be most     conservative          of    either    TN     or

 Federal       OSHA

 The Threshold               Limit       Valuesfound               in   ACGIH and or                the    Recommended          Exposure          Limits found in
 NIOSH         will    be   typically       used as a lower                      level       indicator     to provide     an early warning              of potential

 exposure             risks    These         indications                 will    provide         an opportunity         for    initiating     further      reviews
 performing an                evaluation          and implementing subsequent                                  controls    that    will    aid    in    maintaining
 exposures as low                   as reasonably                   achievable               and    maintain    them      to   less than         the    established

 Action       Levels required by law under both                                  TN and         Federal     OSHA

 4.4.3        Exceedances


 If   an Action Level              is   exceeded a                preliminary review                will   be conducted        by the Site       HSE Manager
 if   this individual         is not available               it   will    be conducted              by the project      CIH TVA            or Site Safety staff
 The     activities         equipment              and conditions                    of   the day of sampling are                 evaluated         to   determine
 potential         contributing           factors       to     the       exposure            with   the goal     of   preventing          similar      situations    or

 identifying controls               to    reduce exposures                      to   below      criterion    levels


 Depending             on the           results of the              preliminary review                     additional     sampling or review                may      be
 necessary             or action          items        recommended                     for    review        Exceedances           indicating        the    need      for

 upgrading            respiratory protection                 will       be brought           to the attention       of the     TVA   Site    Manager




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                                                       5.0             PHYSICAL               HAZARD MONITORING

 5.1          NOISE

 There       is    a potential                   for      personnel           to   be exposed               to    noise          levels          above       the   OSHA       allowable

 maximum            8 hour             Time Weighted                        Average         during normal field                     operations                 The    Site Industrial
 Hygienist         will     first       review             TVA          and EnSafe             documentation                     to determine the                  severity       of   each
 existing         noise exposure data prior to conducting                                             sound          level       measurements and personal                             noise

 dosimetry          on individuals                         in        each     SEG          Based            upon        this      review              and assessment priority
 measuring           will         be conducted                        for   those      SEGs           having         the        greatest              need  Not all SEGs will
 require      the    same              level         of support               or   measurement however                             all    SEGs            should have or           will   be
 evaluated


 All    noise      sampling instruments                                 and    field      calibrators         will      be maintained within the most current
 calibration        cycles


 5.2          THERMAL STRESS

 Heat stress monitoring equipment                                           will   typically        consist       of    area sampling devices                        capable       of   Wet
 Bulb Globe Temperature                                   measurements                     Environmental                   heat measurements should                           be made
 as close as possible                           to the specific               work area where the worker                            is   exposed               Please note        that for

 some        operations                 eg          heavy             equipment           operations              this     may      require              sampling inside the cab




                                                                                                                                          will
 of     applicable        equipment                         Equipment              with    air conditioned                  cabs                  generally not         be sampled
 Heat        stress              measurement                          equipment            must            have           been       serviced                per     manufacturer’s
 specifications



 5.3          INDUSTRIAL                         ERGONOMICS

 Numerous           activities                  onsite       present          ergonomic             stress and strain and the potential                                for personnel

 to suffer acute                 and       chronic               soft tissue injuries   An initial                        evaluation              will    be done     of the various
                                                             fall




 SEGs        to   determine                if    they                within    low medium or high                       potential         for         ergonomic      injury



 Formal       industrial               ergonomic evaluations                           will    be done            for     all    those     SEGs deemed                 to    be   at high

 risk for     ergonomic problems                                     Controls      will   be implemented as necessary                                     to minimize the          related

 stressors           Once              controls             are implemented                    a follow up evaluation                             will    be performed         to      verify

 they adequately                      address the issues identified


 Those SEGs               falling           into       medium            or   low risk        categories           will    be evaluated                  on an as needed basis
 primarily based on worker                                 complaints or             management request


 5.4          OFFICE              ERGONOMICS

 Those        personnel                    who            predominantly                   work        in     an      office         environment                    project    controls

 administrative                  personnel                   IT       support          communications                      personnel                  data     management               etc
 should       perform                 an        initial     self       assessment              of    their        work          station          to   verify    proper       ergonomic
 configuration                   If    issues are identified                        or require input                 of     an     industrial hygienist                  work      station
                          will




 evaluations                      be performed                         In either       case         all    self   evaluations             and ergonomic                consultations
 will   be   recorded                 and maintained within the IH project                                    files




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 5.5        FREQUENCY                  OF EXPOSURE                     MONITORING

 Noise and ergonomic                   stressors will be evaluated                           until   proper    exposure characterization                   for   each
 SEG      can be established                    Additional monitoring will                           be performed       if    the process            is   known       to

 have changed              in   a manner that would increase the potential                                    for   exposure


 Thermal      stress        will      be evaluated             daily       during       periods of time where                 it   is likely     to create          heat

 related     conditions            onsite     and       will    remain consistent                    with the   process         outlined       in   Sections         5.3

 and 5.4     of the     SWSHP

 5.6        EXPOSURE                  LIMITS        RECOGNIZED

 Exposure          limits       and sources           of limits        vary       significantly         for   associated           physical      hazards            The
 following       breaks out recognized                       limits   for likely        physical hazards to be encountered                          onsite


 5.6.1      Noise
                                                      will




 All    exposure      limits       for noise                 be based on 29                  CFR     1910.95 – Occupational                  Noise Exposure
 These      limits    are currently           90 dBA           for    an   8 hour        exposure          with an Action           Level    of 85 dBA for an

 8 hour exposure                   With extended               work     shifts frequently              encountered           onsite        PELs for noise will
 be adjusted         using a          5 dB    doubling          rate and Table               G16      of   29 CFR 1910.95


 5.6.2      Heat Stress


 Limits     for    heat         stress are          established            in    the     SWSHP             Section     5.3         and    follow     TVA Safety
 Procedure           806        for   heat     stress          control           It     is   generally        recognized           that    the      ACGIH limits
 established         for    heat stress are too conservative                                 for acclimatized        workers and on which                    will    not

 be used      to   base work            rest    cycles


 5.6.3      Ergonomics

 Numerous standards                     exist       for      ergonomic           control         however        none    are         considered        regulatory

 When      ergonomic evaluations                        are     conducted               results will       be compared              to    recognized        industry

 standards         including          NIOSH     and the          ACGIH




                                                                                      K5 2
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                                 6.0              QUALITY                    CONTROL                      QUALITY ASSURANCE

 6.1          EQUIPMENT CALIBRATION

 Sampling and               calibration                 of       pumps and               dosimeters               will     be conducted                in    accordance               with
 equipment           manufacturer                 recommendations                          or    as stipulated             in the applicable                OSHA         or     NIOSH




                                                                              will
 Method            Personal             sampling pumps                               be flow rate              calibration        checked         before          and    after    each
 day’s sampling per Site Guidance                                      Document            HSE 07              Industrial        Hygiene         Personal          Air Monitoring
 Procedure           Appendix              A to      the         SWSHP

 6.2          LABORATORY                        QUALITY                 CONTROL

 All    samples submitted                       for laboratory analysis                        will     be analyzed              by   a   lab accredited               by the AIHA
 or participate         in the           National            Voluntary Lab Accreditation                               Program The use                      of   non accredited
 labs    may be necessary                        for        unusual          analytes           e g NORM                    in    this    case        approval          of    a CIH      is

 required          prior    to     submittal                     Laboratories            will          be required to adhere                     to    the       contractual          QC
 requirements           and        will    be subjected                 to audits by the                  QA Team

 6.3          DATA VALIDATION
                                 will




 Data     validation                     be performed on data from personal                                              integrated         monitoring            samples             The
 laboratory         QC     samples              to   be reviewed                will   include           blanks duplicates lab control standards and
 calibration         verification               standards               Sample completeness                              and     field    blank   field      duplicate          results

 will   also be evaluated                  if   available



 The purpose               of the         validation              is    to   ensure        that          the    reported          data      is   usable          for   its    intended

 purposes             Samples              that        are        not    within        the acceptable                    criteria     for    parameters                representing
 sample collection                      handling            and analysis              criteria         will   be identified from which assessments can
                                                                                                will




 be     made       of data       usefulness                      These       criteria                  be developed              in conjunction             with       the selected

 laboratory using guidance                           from the laboratory accreditation                                   body

 The     laboratory         will        deliver      sample data packages                               in parallel to both               the project IH Program and

 the project Data               Management                       TeamQA Team                           For the IH        Program            the following          information is

 required


 •      Summary data package                                in   PDF    form

 •      An   Electronic          Data Deliverable                       EDD

 Upon        receipt       of    the      analytical              laboratory           data            the     Site   HSE Manager                 or designee                compiles
 individual        reports and assesses measured values                                                  against       OSHA         and     other      applicable            exposure
 limits       Calculations               of the        dataset          may be performed through                               an IH database spreadsheet or
 other    methods           to      facilitate              documentation               of the          review           The     Site     HSE Manager                  or designee

 also reviews          measured values                            for reasonability against                           known       field     conditions           associated           with
 the    sample measurements taken elsewhere                                                    the       same day              or historical          measurements                for    a
 particular        work     activity
                                                     will




 The     QA Team            and TVA                          receive         an      EDD   and a Level IV data package                                 Upon        receipt       of the

 analytical         laboratory data                     the       QA Team              validates              the data      and       the    Data Management                     Team
 stores       the    data        in      EQuIS               in   accordance               with          the    Quality        Assurance              Project          Plan     for     the

 Tennessee            Valley            Authority             Kingston               Ash Recovery                Project          TVA KIF QAPP                     and       the Data




                                                                                           K6 1
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 KIFDMP
 Site




 If



 made
        Wide Safety
 Appendix



 Management
                K




           001 2009

      questions

              via
                     Industrial
                                Health    Plan

                                     Hygiene



                           Plan for the Tennessee




                        arise during data

                    email between
                                                 for




                                                 the
                                                       the Tennessee

                                                     Monitoring




                                                         IH
                                                                   Plan R1




                                                            validation

                                                               Team and
                                                                               Valley

                                                                                   April




                                                                         Valley Authority




                                                                                        the
                                                                                             Authority

                                                                                             2012



                                                                                                         Kingston




                                                                                   by either party immediate communication
                                                                                                  QA
                                                                                                                          Ash Recovery




                                                                                                        and Data Management
                                                                                                                                                    Project




                                                                                                                                                   Teams
                                                                                                                                                              January 2013




                                                                                                                                                              in
                                                                                                                                                                 Revision




                                                                                                                                                                 TVA


                                                                                                                                                                   must be
                                                                                                                                                                   order
                                                                                                                                                                             06




                                                                                                                                                                             to

 ensure         appropriate              and    parallel      re assessment                   of data         is    performed from a               QA   perspective          If



 data are required                  to   be    resubmitted         by the laboratory                     revised data           will    be sent     in parallel     to both

 the    IH Program and the project Data Management                                                      TeamQA Team                     All   discrepancies          will   be
 reconciled          prior to either dataset                   being considered                     final       Once      both datasets            are consistent           the

 data are considered                     final



 6.4             DATA           QUALITY          OBJECTIVES

 The Data            Quality           Objective          DQO            process             is   a     logical       series of        seven       steps    that     guides

 investigators             to   a   plan       for   IH data         The process                   is   both        flexible   and repetitive           and applies          to

 both      decision making                    eg       compliance             non compliance                    with    a    standard         and estimation            The
 DQO       process establishes performance                                 and acceptance                      criteria     that     drive    the plan     for collecting

 data      of    sufficient         quality          and quantity             to    support           the     goals     of     the     IH    study ies         The     DQO
 process         leads to           efficient         and     effective            expenditures                of    resources          consensus          on the      type
 quality        and     quantity          of    data needed              to   meet           project        goals and          full    documentation           of actions

 taken during project maturity


 The    steps in the             DQO       process are as follows


  1        State the problem

  2        Identify        the goal        s    of the study

  3        Identify        information inputs

  4        Define       the study          boundaries
  5        Develop the analytic approach
  6        Specify         performance               or acceptance             criteria

  7        Develop the plan                   for data      acceptance


 6.4.1          Problem Statement

 On December 22 2008 a                               coal ash release occurred                           at the      KIF     allowing        a large amount of coal
 ash     to     escape          into     the    adjacent          waters           of   the       Emory        River      and surrounding               land releasing
 about 5.4          million cubic             yards and covering                   about 300 acres


 The    coal        ash byproduct of a coal fired power plant originates from coal burned in boilers
                           a                                                                                                                                                for

 power        production at the KIF The coal in its natural state contains various metals that can                                                                          be
 retained        with      the ash after burning                     The ash             itself       is primarily        composed            of   fine silica     particles

 very      similar         to    sand          but     trace      amounts               of    arsenic           selenium             cadmium          boron        thallium
 beryllium and                  other      metals which              occur          naturally            in    the    coal     remain         in   the ash     after    coal

 combustion These metals are                              typically       bound           to the        ash

 In   an   effort     to   move          the coal ash to           its   original location                    requires      much heavy equipment capable
 of   moving the ash                     This    equipment           includes            such items as excavators                   dump trucks dredges
 scraper        pans etc                 Therefore        the activities                require         drivers operators               and support         laborers or

 personnel          that    have the            potential      for   exposures                    Due    to the potential             inhalation      hazards and the
 CERCLA             designation               Hazardous           Waste Operations and Emergency Response                                                controls      have
 been placed on the site




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 6.4.2        Project        Goals

 The    primary objectives                  for   IH monitoring are to


 •      Provide       continuing            confirmation            that   KIF related           constituents        have        not    negatively           affected
        the   Kingston            Ash Recovery               Project       site personnel’s              health    by either acute                   or    single or

        chronic       or repeated               exposures

 •      Provide        respiratory           exposure            data      sufficient       to     substantiate         efforts        to    minimize          risk    of

        adverse exposures are                      in place       and   effective      for   all   individuals spanning                all    SEGs
 •      Evaluate           the    effectiveness             of   best      management              practices       eg          dust     control           respiratory

        protection          etc        in preventing         or mitigating respiratory occupational                           exposures


 6.4.3        Information              Inputs


 The    information necessary                      to    achieve the objectives              includes         the following



 •      Reoccurring              and scheduled IH                personal     air    monitoring

 •      Analytical         results of air monitoring for                   ash related           constituents



 6.4.4        Study Boundaries

 Personal           industrial         hygienic         air monitoring        will    be conducted on             all   SEGs

 •      Identified         as having a potential                 respiratory exposure               to coal     ash constituents

 •      Supervisory              requests       of personnel          having        been evaluated             by IH     staff    and        verified      as having
        potential      exposures


 6.4.5        Analytic           Approach

 Coal ash contains                     numerous constituents                  that     have        been linked          to    adverse         health        effects    in

 human receptors Specific constituents of interest include silica arsenic selenium                                                                          beryllium
 among others Analysis should be conducted by laboratories operating in accordance                                                                           with     the

 standards           set forth         by AIHA             Analysis should also                  be conducted           based         upon the associated
 methods        identified         by    NIOSH

 6.4.6        Performance                or Acceptance               Criteria


 The    null hypothesis                for personal         IH   air monitoring         is The percentage                    of coal   ash constituents               do
 not     result       in    occupational                respiratory        health      hazards           to   personnel          working            onsite          The
 alternative          hypothesis            is      The      percentage          of    coal        ash    constituents           result        in    occupational

 respiratory health hazards                       to personnel          working onsite


 The     null       hypothesis for dust                   control    is Best          Management              Practices          BMPs          are completely

 adequate           for    controlling          occupational            exposures         of     ash related       contaminants                during        removal
 operations               The     alternative           hypothesis is          BMPs         are not       completely adequate                       for    controlling

 occupational              exposures         of    ash related        contaminants             during removal           operations


 6.4.7        Data Acceptance


 Data acceptance                  is   based on          criteria   established         in Section        6.3




                                                                                K6 3
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 6.5          QUALITY            ASSURANCE              QUALITY            CONTROL AND                  QUALITY             ASSURANCE
              PROJECT PLAN                  QAPP CROSS WALK TABLES

 Jacobs        uses the          NIOSH      Analytical        and Sampling Methods                      outlined       in    the      NIOSH        Manual        of

 Analytical        Methods          NMAM           in conjunction         with      best     management IH                 practices        acknowledged
 by     the   ABIH AIHA ACGIH and                      recommendations                 by AIHA         certified      laboratories to perform the

 air    sampling conducted               on the Kingston               Ash Recovery              Project      site         NMAM        is   a    collection      of

 methods           for   sampling and              analysis     of     contaminants             in    workplace            air   of   workers        who        are

 occupationally            exposed          These      methods          have        been developed             or adapted              by    NIOSH       or     its


 partners          and     have      been         evaluated       according           to     established        experimental                protocols         and
 performance             criteria     NMAM         also includes         chapters          on   QA sampling            portable         instrumentation

 etc           The        methods           used      as      described             below        in     Table         61         can        be     found        at
 http www cdc gov niosh docs 2003 154

                                                                         Table      61
         OSHA NIOSH                  Analytical       and Sampling Methods and                           Site      Guidance Documents


        Method WI                                                                Method Document              Title

         Number

        NIOSH 0500                  Particulates     not otherwise         regulated         total   0500

        NIOSH 0600                  Particulates     not otherwise         regulated respirable 0600

        NIOSH 7300                  Elements by ICP           nitric   perchloric      acid ashing          7300

        NIOSH 7500                  Silica crystalline       by   XRD      filter   re deposition 7500

          HSE 07                    Industrial     Hygiene    Personal          Air Monitoring        Procedure




                                                                         Table      62
                                         Quality       Assurance Project Plan CrossWalk


          QAPP       Element                                            Location       in    SWSHP                                          Location       in

                                                                                                                                        NIOSH Methods

 Data Quality Objectives                      Appendix        K   Section 6.4 Data Quality Objectives

 IH Program Design                            Appendix        K   Section 2.0 Industrial Hygiene Process
                                              Overview

 Sampling Methods                             Appendix        K   Section 4.0 Chemical Hazard                                          Applicable     NIOSH
                                              Monitoring       Method           Section 2.1 Identification            of               Methods       eg
                                              Similar Exposure            Groups Table           21 Similar                            0500 0600 7300
                                              Exposure        Groups       Identified      at the Kingston         Ash                 7500 etc
                                              Recovery        Project     Site


 Sample       Collection                      HSE 07         Industrial    Hygiene Personal Air Monitoring
                                              Procedure

 Data Review and Validation                   Appendix        K   Section 6.3 Data Validation
  QAPP        Section 21.0 22.0

 Assessments and                              Appendix        K   Section 2.4 Verify Upper Confidence
 Response          Actions       QAPP         Limits    and Manage          Further Monitoring              and Section
                                              2.3 Document             Control Reporting and Notification




                                                                            K6 4
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         Sample Health Hazard   Evaluation   by Exposure Group   Form 124




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                                                           HEALTH HAZARD EVALUATION                                   BY EXPOSURE GROUP
 Work Area

 Exposure        Group

 Task    s
                                                                                                                                         Month   Year    Applicable   EL     Control
  Contaminant             or      Exposure                  Health Effect               Uncertainty                                      to Monitor or   and Range of        Strategy
         Agent                   Probability                       Rating                    Rating                Risk Rating            Monitored         Results        Implemented




Notes
This table to   be completed   using   the   standard   approach   outlined   in   Jacobs   HSEP   12.1   Health   Hazard   Evaluation

EL   Exposure     Level




                                                                                                                                                                                         KIF Form 124



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      Kingston Ash Recovery Site Industrial Hygiene Monitoring White Paper




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           Kingston Ash Recovery Site Industrial Hygiene Monitoring Whitepaper


                                                                January        24 2013

 1       Introduction


 Since July 2010 exposure monitoring has been performed                                      at   TVA’s Kingston           Ash Recovery
 Project site by          Jacobs        The   objective     of this monitoring        was         to evaluate       potential      exposures
 associated         with ongoing         work   activities      during       clean up and      recovery          operations        The
 monitoring         was    initiated at the onset         of the       clean up response by EnSafe Inc                       EnSafe
 performed          industrial    hygiene support           activities       until the    responsibility for the monitoring                   was
 passed        to   Jacobs    in July     2010

 In   keeping with recognized               industrial     hygiene practices              similar   exposure groups                SEGs        were
 established         by Jacobs and were monitored                      for   contaminants         that    could   exist in the      work
 environments             given   the type of tasks being performing                       Jacobs also reviewed the existing
 EnSafe data and when possible incorporated                                  their   information into the appropriate Jacobs                        SEG
 data set The overall objective                    of establishing           SEGs was       to characterize            the exposure       for     each
 potential      workplace         air   contaminant       they    may       encounter       Each SEG was assigned 1                     of    4
 contaminant          specific     exposure characterization                  bands based on             statistical    analysis of their data
 set using a        95 confidence             limit



 The    following      bands were used             for   exposure characterization                 for   each contaminant           within        each
 SEG

       Band     1          10      of the     exposure      limit

       Band     2         ≥ 10     and      50     of the    exposure          limit


       Band     3         ≥ 50     and      100       of the    exposure         limit

       Band     4         ≥ 100     of the     exposure        limit




 Per the Site Wide Safety and Health Plan                           for the     TVA      Kingston    Fossil Plant        Ash Release
 Response           there were several criteria established for cessation                            or reduction         of air   monitoring
 These included


       Achieve       adequate           exposure      group characterization generally                     to the      95    confidence           level

       An exposure group may be considered                             characterized         when        this   confidence      level    is   reached
       with the data set          and     is not   dependent           on   the results being below the associated                      permissible
       exposure       level       PEL
       Change        in   process occurs or engineering                      controls    implemented which              effectively      decreases
       monitoring levels           to less    than    25       of the associated           PEL
       Completion or cessation of the associated                             task or removal        of the associated           exposure          group
       from the exposure environment


 2       Evaluation


 Currently there are 8             SEGs       active at the site



       Drill   Crew

       Hydroseed           Crew




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       Mechanic

       On Land    Laborer

       On Land    Operator


       Perimeter Wall       Crew

       Sitewide Support              Staff


       Teamster


 Under the current sampling approach weekly monitoring                                              is being   performed with        at least      two
 SEGs      being monitored each               week       However as the attached data summary sheet
 demonstrates with the exception                   of    Mechanic and Perimeter Wall Crew SEGs the                                       probabilities

 for the   remaining      six   SEGs         indicate   exposure levels represented                            by Band 2 as noted above
  less than     50   of the      exposure limit


 With the case      of the      Mechanic        and Perimeter Wall Crew                             SEGs   the data indicates           a well
 characterized     exposure             Although        exposure levels are somewhat                            higher the exposures               for

 these two      SEGs     fall   in   Band 3     of the table           and    are   still    less than the exposure             limit    In   both       of

 these instances         a reduction         of monitoring frequency                   to quarterly is          warranted         In the   first


 instance the data strongly demonstrates                          that       exposures are inconsequential                     and are well
 characterized       In the second instance                    the exposure                 groups are adequately             characterized          and
 appropriate     controls are in place to minimize exposure                                    to   personnel      The   quarterly sampling               will


 be used to     verify   these conclusions              are    still    valid


 3      Conclusion


 Recommend         changing the current sampling frequency                                     to quarterly for    all   active    SEGs       onsite
 The   intent   of the quarterly         sampling        is   to verify that         no      significant       change    in   process or operation
 has occurred      and that current data assumptions are                               still    valid




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                                                                                    Probability of Exposure Against the Average Shift Adjusted               OEL

                                    Sample data                                                                          10      and         50        and          100     of   Average    Shift

             SEG                    Timeframe                   Potential       Exposure           10     of the   EL   50 of    the   EL   100   of the     EL     the   EL     Adjusted   OEL
                                    To    9 27 12              Respirable       Particulate               0.5              99.5                                                   3.59   mg m3
          Drill   Crew
                                    To    9 27 12              Silica   LOD as LOD                                         95.4                   4.6                            0.036   mgm3
                                    To    9 27 12              Respirable       Particulate               98                 2                                                    4.86   mg m3
      Hydroseed       Crew
                                    To    9 27 12              Silica   LOD as LOD                                          99                     1                             0.047   mgm3
                                    To    9 27 12              Respirable       Particulate               84.8             15.2                                                   3.26   mg m3
          Mechanic
                                    To    9 27 12              Silica   LOD as LOD                                         92.3                   7.6                 0.1        0.034   mgm3
                                    To    9 27 12              Respirable       Particulate               100                                                                     3.68   mg m3
      On Land      Laborer
                                    To    9 27 12              Silica   LOD as LOD                                         99.9                   0.1                            0.036   mgm3
                                    To    9 27 12              Respirable       Particulate               100                                                                     3.45   mg m3
      On Land      Operator
                                    To    9 27 12              Silica   LOD as LOD                                         99.7                   0.3                            0.034   mgm3
                                    To    9 27 12              Respirable       Particulate                                  8                    92                              2.6 mgm3
  Perimeter Wall Crew
                                    To    9 27 12              Silica   LOD as LOD                                                                100                            0.026 mg m3


       Sitewide Staff               To    9 27 12              Respirable       Particulate               99.8              0.2                                                   3.59   mg m3
           Support                  To    9 27 12              Silica   LOD as LOD                                         99.8                   0.2                            0.033   mgm3
                                    To    9 27 12              Respirable       Particulate               99.9              0.1                                                   3.4 mgm3
          Teamster
                                    To    9 27 12              Silica   LOD as LOD                                         99.7                   0.3                            0.035 mg m3

                                                                Sample Frequency                 Verify   no change      Quarterly            Monthly              Routinely

Notes
 Data included        from July 2010        until   date noted
LOD      Limit of Detection          Method Detection          Limit    A     statistical   estimate of method mediainstrument sensitivity
EL Exposure Limit
OEL Occupational            Exposure       limit

All   Metals screening          results   were     less than   10 of    the    EL


Program
IHDataAnalyst         V1.27
Respirable        particulate    samples run        with Default    CDA method
Substitution       with   LOD 2    when      LOD      lab result



Silica   was run     with Default     CDA     method
No    Substitution        Use LOD when             LOD   lab result




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                EXHIBIT D



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  ADDENDUM 1: Individualized Exposure Assessment of Greg Adkisson

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Greg Adkisson at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Adkisson, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Greg Adkisson’s Responses to Interrogatories;

                Employment Records for Greg Adkisson;

                Personal Air Monitoring Data;

                October 6, 2020 Deposition of Donna Adkisson; and

                July 26, 2017 Deposition of Greg Adkisson.

  Greg Adkisson’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Adkisson worked for GUBMK from December 2008 until

  March 2012. Mr. Adkisson estimates that he worked on the Kingston site from December 22, 2008

  to March 2012. Mr. Adkisson work as an equipment operator, operating a track hoe and water

  pumps on the Kingston site during that period. He also “refueld the light plants” on the site. Mr.

  Adkisson was promoted to a foreman, which required him to drive and walk on and around the

  Kingston site to supervise workers throughout the site. Mr. Adkisson estimates that he regularly


                                                   1

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  worked up to seven days a week for approximately 12 hours per day, or more due to overtime,

  during the period from December 2008 to mid-February 2009, when he worked as an equipment

  operator. Mr. Adkisson estimates that he regularly worked thirteen days on, with two days off, for

  approximately twelve hours per day during the period from mid-February 2009 to March 2012,

  when he worked as a foreman.

  Sampling and Testing Relevant to Greg Adkisson’s Work:

         Mr. Adkisson testified that he worked as an “equipment operator;” since there was no such

  SEG, it is likely that he worked in the following SEGs: Dozer Operator, Excavator Operator,

  Grader Operator, Scraper Pan Operator. He also worked as a Fuel Truck Operator. He worked as

  a foreman, adding the SEG Management/Administration. Finally, his work as a foreman required

  him to travel around the entire site, so the other site-wide support staff SEGs, i.e., Field Staff and

  Sample Technician, likely are relevant to his exposures. The highest measured concentrations in

  each of these SEGs are summarized in the table below.

   SEG and year                      Total Dust (µg/m3)       Resp. PM (µg/m3)        Silica (µg/m3)
   Excavator Operator
     2009                                    210                      69
     2010                                   1400
     2011                                                             690                   18
     2012                                                             520
     2013                                                            1100                    7
   Dozer Operator
    2009                                    1300                     210                    18
     2010                                    930                      58
     2011                                                            200                    26
     2012                                                             77
     2013                                                             61
   Fuel Truck Operator
     2011                                                            320                    24
   Field Staff
     2010                                                            <44
     2011                                                            220                    14
     2012                                                             27
     2013                                                             77

                                                    2

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    2014                                   180                     47
   Management/Admin
    2009                                   290                     67
   Sample Technician
    2010                                   <190                   <134
    2011                                                           560                  19
    2012                                                           920                  23


          These measurements indicate very high exposures to these SEGs, in particular for

  Excavator Operator, Dozer Operator, and Sample Technician – which represent the range of

  different working conditions for Mr. Adkisson. The TPM measurements represent very high

  exposures to total particle mass, and the RPM measurements for the Excavators in 2011-2013 and

  Sample Technician in 2011-2012 are very high, approximately 50 – 100 times higher than the

  prevailing background PM2.5 concentration, indicating a substantial exposure to airborne fly ash.

  The highest measured concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of

  25 µg/m3. The measurements indicate that Mr. Adkisson received substantial exposures across all

  of his SEGs.

          The fact that Mr. Adkisson worked significant overtime makes his substantial exposures

  even more serious; if, for example, he worked 80 hours per week rather than 40 it would have

  doubled his total dose from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5

  µg/m3, and then 7 out of 8 of the silica measurements in the above table would have exceeded the

  TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Greg Adkisson’s Exposure:

          Mr. Adkisson has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that there was so much coal ash at the

                                                  3

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                                  #: 24330
  Kingston site that it caused his work truck, which was white, to look grey. He recalled that despite

  regular cleaning, the “inside of [his] truck was filthy . . . because there was also so much ash dust

  flying around in the air.” He recalled that the coal ash was “constantly everywhere in the cab and

  on the dashboard,” that he “always had to wipe off the dash with [his] hand so that [he] could see

  the gauges.”

         Mr. Adkisson explained that “[t]he air and the ground at Kingston and everything that came

  on to the site was always covered in coal ash.” He stated that he could “smell” the coal ash,

  describing it as “musky.” He stated, “The majority of the time, when the wind blew, I could not

  see 200 feet in front of me because so much ash was in the air. It was like a big cloud of ash was

  on top of the site.” Mr. Adkisson explained that he could “see the [coal ash] particles in the air

  really well in the beams of light” at night. He recalled that the coal ash regularly covered his boots

  and came up to his ankles, or up to his knees at times when it rained. As he explained, when he

  was required to walk around the site as a foreman, “the ash covered [him] even more.”

         Mr. Adkisson stated that the “ash got all over [his] skin but also inside [his] ears, nose,

  mouth, and eyes.” He recalled being able to “taste the ash,” describing it as “gritty in [his] teeth.”

  He recalled, “Whenever [he] blew [his] nose, a grey or black mucus came out. The same things

  happened when [he] coughed. [He] tried to clean out [his] nose every night, but it was too filled

  with ash. It actually took at least 4 cotton swabs in each nostril to clean my nose so that I could

  breathe out of it again.” He further explained that, even though he wore safety glasses while

  working on the Kingston site, the coal ash “was so fine that it got in [his] eyes” and burned them

  and would require him to rinse them out regularly. He further recalled the coal ash being “all over”

  the workers’ break rooms, and that the coal ash would get onto his food, even though he placed

  them in containers.



                                                    4

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                                  #: 24331
         Mr. Adkisson explained that the coal ash “covered [his] clothes so bad that if [he] slapped

  them, [he] could see the dust fly off.” He stated that if he wore short sleeves, he “could see the ash

  all over [his] arms.” He recalled the coal ash getting under his fingernails as well. As he stated,

  “There was too much ash everywhere to be able to keep it off me.” He recalled that there were

  boot washing stations on the site but that they were ineffective, leaving the workers with no means

  of cleaning the coal ash off their bodies and clothing.

         When he returned home each day from working at the Kingston site, Mr. Adkisson would

  immediately take a shower “because [he] was so covered in ash.” He recalled, “The black ashy

  water ran off [his] skin and hair every day in the shower. [He] could see the black water fill up the

  bathtub. It actually stained the bottom of [his] tub.” He explained that his wife washed his dirty

  work clothes and that “[s]he often had to run them through two cycles” and had to run the empty

  washing machine between loads “to try to clean out the ash in the washer.” During her deposition,

  Mr. Adkisson’s wife, Donna Adkisson, explained that the coal ash would get into the washing

  machine. He recalled that they had to replace their washing machine because of the coal ash.

         During his deposition, Mr. Adkisson testified that Tom Bock, a Jacobs Engineering Group,

  Inc. employee, stated that “you could eat a cup [of coal ash] a day and it wouldn’t bother you.”

  Mr. Adkisson testified that he personally asked “about every day” for a mask to wear on the

  Kingston site and was told that dust masks were not “allowed to [be] give[n] . . . out.” He explained

  that masks were not allowed to be worn by workers at the Kingston site because “it throwed a red

  flag to the community” about the dangers of coal ash. He further testified that he was told: “[If

  e]verybody out there [was] wearing dust masks, it’d throw a red flag to the community and

  [management] didn’t want that.”




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                                  #: 24332
         Based on the foregoing, it is my scientific opinion that Greg Adkisson, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24333
  ADDENDUM 2: Individualized Exposure Assessment of Tim Bandy

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Tim Bandy at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Bandy, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Tim Bandy’s Responses to Interrogatories;

                Employment Records for Tim Bandy;

                Personal Air Monitoring Data; and

                August 12, 2020 Deposition of Tim Bandy.

  Tim Bandy’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Bandy was employed by GUBMK from June 2011 through

  October 2011; by Environmental Barrier Co. LLC. from February 2012 through September 2013

  and then again from November 2013 through December 2013; by GUBMK from September 2014

  to October 2014; and by GEO Solutions from January 2014 through February 2014. Mr. Bandy

  estimates that he worked on the Kingston site from June 2011 to October 2011 and then again from

  February 2012 to February 2014. Mr. Bandy worked as a laborer, which required him to work on




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                                  #: 24334
  the Kingston site during that period. Mr. Bandy estimates that he worked six days a week for

  approximately fifty per week, or more due to overtime, during this period.

  Sampling and Testing Relevant to Tim Bandy’s Work:

         Based on his work history, Mr. Bandy worked in the General Laborer and BP_General

  Laborer SEGs, included below. The highest measured concentrations in each year in this SEG are

  shown in the following table.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)        Silica (µg/m3)
   General Laborer
    2009                                    2000                    570                   49
    2010                                    2500                    440                   <9
    2011                                                            190                   21
    2012                                                             96
    2013                                                            120                   16
    2014                                    480
   BP_General Laborer
    2011                                                           2200                   32
    2012                                                            810                   67
    2013                                                            890


         These sample results indicate a repeated, substantial exposure to workers in Mr. Bandy’s

  SEG. First consider the General laborer SEG. The TPM measurements in 2009 and 2010 are

  among the highest measurement in the entire data set and represent levels that are very difficult to

  create and maintain in an outdoor environment, since they are approximately 100 times higher than

  the ambient background TPM levels. The highest measured RPM concentration, 570 µg/m3, is

  approximately fifty times higher than the likely ambient background PM2.5 concentration,

  indicating a substantial exposure to airborne fly ash. The highest measured exposure to silica, a

  human carcinogen, 49 µg/m3, is twice the ACGIH TLV® of 25 µg/m3.




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                                  #: 24335
         For the BP_General Laborer SEG, the RPM and silica measurements here represent

  consistent exposures over several years that are among the highest in the entire data set. Workers

  in this SEG were regularly exposed to the highest levels of airborne contaminants seen on site.

         The fact that Mr. Bandy worked significant overtime makes his substantial exposures even

  more serious; if, for example, he worked 80 hours per week rather than 40 it would have doubled

  his total dose from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3,

  and then 5 of the 6 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Tim Bandy’s Exposure:

         Mr. Bandy has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that he was “directly involved” with the

  coal ash cleanup at the Kingston site. He further explained that he “walked all in the ash” and “was

  in the ash all day.” He noted that he “backed out trucks and put walls in the ground.” He described

  how the coal ash “got all over [him].” Despite this, Mr. Bandy did not wear a mask while working

  on the Kingston site.

         Mr. Bandy testified that he worked in close proximity to the coal ash and that the wind

  would blow the coal ash into the area in which he was working on a regular basis. He explained

  that his personal vehicle was covered in coal ash. He noted that the coal ash covered his clothes.

  Further, when he returned home each day from working at the Kingston site, he would wash his

  clothes. He recalled that his washing machine broke because it washed his clothes that were

  covered in coal ash.




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                                  #: 24336
         Based on the foregoing, it is my scientific opinion that Tim Bandy, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24337
  ADDENDUM 3: Individualized Exposure Assessment of William Harvey Bass, Jr.

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by William Harvey Bass, Jr. at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; Carrie A. Redlich, MD, MPH; and Norman Latov, MD.

  Materials Reviewed:

         With regard to William Bass, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff William H. Bass’s Responses to Interrogatories;

                Employment Records for William H. Bass;

                Personal Air Monitoring Data; and

                October 4, 2017 Deposition of William Harvey Bass, Jr.

  William Bass’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that William Bass was employed by GUBMK from December 26,

  2008 to October 17, 2014. Mr. Bass estimates he worked on the Kingston site from December 28,

  2008 to October 15, 2015. Mr. Bass worked as an operator, operating a bulldozer and other heavy

  equipment, which required him to work on the Kingston site during that period. Mr. Bass estimates

  that he worked up to seven days a week for approximately eight hours per day, or more due to

  overtime, during the early portion of this period.




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                                  #: 24338
  Sampling and Testing Relevant to William Bass’s Work:

         Based on his work history, air sampling done for the SEGs Excavator Operator and Dozer

  Operator are relevant to Mr. Bass’ work at the Kinston site. The highest measured concentrations

  in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                  210                    69
     2010                                 1400
     2011                                                         690                  18
     2012                                                         520
     2013                                                        1100                   7
     2014                                  240
   Dozer Operator
    2009                                  1300                    210                  18
     2010                                  930                     58
     2011                                                         200                  26
     2012                                                          77
     2013                                                          61


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, approximately 50 – 100 times higher than the prevailing background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest measured

  concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of 25 µg/m3. The fact

  that Mr. Bass worked significant overtime makes his substantial exposures even more serious; if,

  for example, he worked 80 hours per week rather than 40 it would have doubled his total dose

  from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3, and then 3 of

  the 4 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.


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                                  #: 24339
  Evidence of William Bass’s Exposure:

         Mr. Bass has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, Mr. Bass stated that “[t]he site was as nasty as it could

  be.” He explained that the coal ash would “get all over [him].” He further explained that it was “so

  dusty” at the Kingston site “that [he] couldn’t see the other machines working at times.” He

  recalled that the coal ash “would get on [his] food.” As Mr. Bass testified during his deposition,

  after voicing concern, Tom Bock, a Jacobs Engineering Group, Inc. employee, reassured him and

  told him the coal ash was safe, even stating that he “can eat this stuff.”

         Mr. Bass recalled that his bulldozer “sank into coal ash” and that the coal ash “went all the

  way up to [his] door.” When he opened the door, the coal ash came inside the bulldozer. When he

  climbed out of the bulldozer, he stated that he “was covered all in the ash.”

         Mr. Bass recalled that he had to sweep coal ash out of his machine when he would first

  arrive at the Kingston site each morning to work. As he testified, his bulldozer “was as nasty as it

  could be from just sitting there all night.” Even though his bulldozer’s cab was mostly enclosed,

  he stated that the inside was nevertheless covered in coal ash. As he testified, when he turned the

  bulldozer on, the “machine would rattle and dust would fly out of it everywhere out of the dash

  and stuff.” He further explained that he “had to wipe the windows all throughout the day or else I

  could not see because the dust was so thick on it.” Mr. Bass recalled that the air filter used to

  service his bulldozer’s cab was changed “once or twice a year maybe,” which was insufficient

  because he “could kick the dash . . . and [the coal ash] would cover you.”

         Mr. Bass stated that when he returned home each day following his work at the Kingston

  site, “[he] was covered in coal ash.” He explained that even though there were boot washing

  stations at the Kingston site, “the water was disgusting” and would not clean the boots, but instead



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                                  #: 24340
  “just smear” the coal ash. He stated that his washing machine had to be replaced, because his

  clothes were regularly covered in coal ash when washed. He also recalled that the “[i]nside and

  outside of [his] case was covered in the ash.” As he described it, even though his car was white,

  “it would look grey.”

         Based on the foregoing, it is my scientific opinion that William Bass, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




                                                     4

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                                  #: 24341
  ADDENDUM 4: Individualized Exposure Assessment of Dustin Berry

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Dustin Berry at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Berry, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Dustin Berry’s Responses to Interrogatories;

                Employment Records for Dustin Berry;

                Personal Air Monitoring Data; and

                January 25, 2017 Deposition of Dustin Berry.

  Dustin Berry’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Berry was employed by GUBMK in November 2009 and

  from February to August in 2010. Union records also indicate that Mr. Berry was employed by

  GUBMK from February 2012 to August 2013. Mr. Berry estimates he worked on the Kingston

  site “on and off” from November 2009 to June 2014. Mr. Berry worked as a truck driver, driving

  an Rtech dump truck during the day shift and a water truck during the night shift on and around

  the Kingston site during that period. Mr. Berry estimates that he regularly worked up to seven days




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                                  #: 24342
  a week for approximately twelve hours per day, due to overtime, during this period from November

  2009 to August 2013.

  Sampling and Testing Relevant to Dustin Berry’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Berry: Articulated Dump Truck Operator, Water Truck Operator. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                   390                    260                  13
    2010                                   350                    <42                  <8
    2011                                                          200                  17
    2012                                                          120                  13
    2013                                                           62
    2014                                   200
   Water Truck Operator
    2009                                   170
    2010                                   380                    109
    2011                                                          320                  24
    2012                                                          150                  10
    2013                                                          280
    2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Berry’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Berry worked significant overtime

  makes his substantial exposures even more serious; if, for example, he worked 80 hours per week

  rather than 40 it would have doubled his total dose from inhalation and ingestion and reduces the

  silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 6 silica measurements in the above table

  would have exceeded the TLV®.

                                                 2

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                                  #: 24343
         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Dustin Berry’s Exposure:

         Mr. Berry has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he was regularly “covered head to toe in coal ash” and

  that “coal ash was always floating around” the Kingston site. According to Mr. Berry, “[t]he ash

  made the [Kingston] site look like it was covered in a dust cloud.” He explained that his job at the

  Kingston site required him to drive through “the dustiest places” and that the coal ash got all over

  his clothes, hair, and skin. He explained that he was required to “spray[] the water beside the air

  monitors while laborers worked in the area . . . to keep the dusty ash from setting off the air

  monitors.”

         Mr. Berry reported that the coal ash regularly got “all over” him at the Kingston site,

  including “all over [his] clothes, hair, and skin” and even “in [his] nose, ears, and mouth.” He

  recalled being able to taste the coal ash in his mouth, and he described it as being “gritty on [his]

  teeth.” He stated that he “often felt like [he] was eating dust when [he] was at Kingston.”

         Mr. Berry explained that his truck on the Kingston site was “covered in coal ash.” He

  described how “[t]he ash settled all on the outside of the truck but also got into the cab through the

  window and air vents.” As he described it, “[a]sh covered the floorboard at least an inch deep.” He

  recalled being unable to remove all the coal ash from inside his truck because “[n]o matter how

  much [he] tried to wipe out the cab, the dusty ash got all over everything in no time.” Mr. Berry

  explained that the coal ash was “all over the steering wheel, seats, dashboard, and windshield,”

  and he would have “to wipe it off often in order to see the gauges on the dashboard and through




                                                    3

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                                  #: 24344
  the windshield.” He further testified during his deposition that there would be so much coal ash

  inside his truck that he “could slap the seat and . . . a cloud of dust would come up.”

         Mr. Berry stated that he “was not able to protect [him]self from the fly ash” while on

  Kingston site because the workers “could not wear masks at Kingston because of public

  perception.” He testified that Kevin Thompson, another worker at the Kingston site, was “laid . . .

  off over [asking for a dust mask].” As he stated, masks were not given to the workers, and “once

  they found [a worker] that was going to come [to the site] and was going to wear one, as soon as

  they found that out he was gone.”

         Although the Kingston site had boot washing stations, Mr. Berry explained that they were

  “not effective after one or two workers used them.” He recalled that “[t]he ash was still all over

  [him] at the end of the work day when [he] got into [his] personal car.” He stated that “[t]he ash

  from my boots and clothes fell off in my personal car.” As a result, he explained that he brought

  his clothing and belongings home covered in ash. Mr. Berry stated that he “was not warned about

  the dangers of coal ash” at any point.

         Based on the foregoing, it is my scientific opinion that Dustin Berry, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24345
  ADDENDUM 5: Individualized Exposure Assessment of Gabriel Shane Billingsley

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Gabriel Shane Billingsley at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Billingsley, I have reviewed the following documents, in addition to

  the documents listed in my attached report:

                Plaintiff Gabriel Billingsley’s Responses to Interrogatories;

                Employment Records for Gabriel Billingsley;

                Personal Air Monitoring Data; and

                August 11, 2017 Deposition of Gabriel Billingsley.

  Gabriel Billingsley’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Billingsley was employed by GUBMK from January 2009

  to August 2009 and from February 2010 to December 2013. Mr. Billingsley estimates he worked

  on the Kingston site “off and on” from August 2009 to December 2013. Mr. Billingsley worked

  as a truck driver, driving water trucks, vacuum trucks, and dump trucks on and around the Kingston

  site during that period. Mr. Billingsley estimates that he regularly worked up to seven days a week

  for approximately twelve hours per day, or more due to overtime, during this period.




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                                  #: 24346
  Sampling and Testing Relevant to Gabriel Billingsley’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Billingsley: Articulated Dump Truck Operator, Dump Truck Operator, Vacuum Truck Operator,

  Water Truck Operator. The highest measured concentrations in each SEG are summarized in the

  table below.

   SEG and year                    Total Dust (µg/m3)    Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
     2009                                 390                   260                   13
     2010                                 350                   <42                   <8
     2011                                                       200                   17
     2012                                                       120                   13
     2013                                                        62
     2014                                 200
   Dump Truck Operator
    2009                                  360                    260                  13
     2010                                                         95
     2011                                                         51
     2012                                                         36
   Vacuum Truck Operator
     2009                                                        110                  30
     2012                                                         52
   Water Truck Operator
     2009                                 170
     2010                                 380                    109
     2011                                                        320                  24
     2012                                                        150                  10
     2013                                                        280
     2014                                                         58


         These sample results indicate a repeated, substantial exposure to workers in Mr.

  Billingsley’s SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty

  times higher than the likely ambient background PM2.5 concentration, indicating a substantial

  exposure to airborne fly ash. The highest measured exposure to silica, a human carcinogen, 30

  µg/m3, exceeds the ACGIH TLV® of 25 µg/m3. The fact that Mr. Billingsley worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours
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                                  #: 24347
  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 6 of the 8 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Mr. Billingsley’s Exposure:

         Mr. Billingsley has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that the Kingston site “was always

  covered” in fly ash, which is also called coal ash. He stated that the dry ash “kicked up into the air

  so much that [he] could see it floating around in the air.” As he put it, “the ash was everywhere

  and covered everything.” He explained that the coal ash got “all over” his clothes, boots, skin, and

  hair. He explained that the coal ash would regularly collect on his face and he “could feel it in [his]

  nose, ears, eyes, and mouth” and would even “get into [his] food and drink.” He stated that he

  “could taste” the coal ash, which he described as having “a metallic taste to it.”

         According to Mr. Billingsley, the ash got “all over the outside and inside of [his] truck.”

  He stated that his truck was “always dirty no matter how much [he] tried to clean it” due to the

  coal ash constantly settling on it. He explained that the inside of his truck also regularly covered

  in ash, because the ash entered “through the window and vents because it was so thick in the air.”

  He stated that the coal ash settled “on the floor, seats, dashboard, and windshield” and he would

  have to “wipe it off in order to see.”

         Mr. Billingsley recalled returning home each day after working at the site, carrying the coal

  ash “with [him] on [his] clothes everywhere when [he] left the [Kingston] site.” He explained that




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                                  #: 24348
  “the ash was all over [him] and it got in [his] personal car.” Mr. Billingsley recalled that he and

  his wife had to replace their washing machine, because they washed his ash-covered clothes in it.

         During his deposition, Mr. Billingsley testified that he was told by management at the

  Kingston site that coal ash was safe to eat. He further testified that “it was understood that the dust

  masks were not welcomed on the [Kingston] site.” He recalled that Kevin Thompson, another

  worker on the Kingston site, was fired because he was “speaking up about his health issues.” Mr.

  Billingsley also recalled another worker, John Cox, being denied the opportunity to wear a mask

  while working at the Kingston site. Mr. Billingsley stated that he never wore a mask while working

  at the Kingston site, because “dust masks would not be welcome on the site.” As he put it, a worker

  “would not have been allowed to get off the bus in a dust mask.”

         Based on the foregoing, it is my scientific opinion that Gabriel Billingsley, more likely

  than not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity

  dose of coal fly ash during his employment at the Kingston site sufficient to result in numerous

  negative health effects as supported by the scientific literature.




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                                  #: 24349
  ADDENDUM 6: Individualized Exposure Assessment of Leonard Ronald Bledsoe

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Leonard Ronald Bledsoe at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; Eugene Shostack, MD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

         With regard to Leonard Bledsoe, I have reviewed the following documents, in addition to

  the documents listed in my attached report:

                Plaintiff Leonard Bledsoe’s Responses to Interrogatories;

                Employment Records for Leonard Bledsoe;

                Personal Air Monitoring Data;

                September 11, 2020 Deposition of Julie Bledsoe; and

                September 25, 2017 Deposition of Leonard Ronald Bledsoe.

  Leonard Bledsoe’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Leonard Bledsoe was employed by GUBMK in December

  2008 to June 2008 and from January 2009 to August 2012. Leonard Bledsoe worked on the

  Kingston site from December 2008 to June 2012. Mr. Bledsoe was originally contacted on the day

  of the coal ash spill. Mr. Bledsoe held various jobs at the Kingston site. Mr. Bledsoe drove a dump

  truck “hauling coal ash out of the ponds.” Mr. Bledsoe also drove a water truck, which required

  him to drive around the Kingston site and “walk[] all over the wet and dry ash” on the site. Mr.


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                                  #: 24350
  Bledsoe also worked on the barges on the Kingston site, which required him to “unload[] the barges

  coming in and out of the lake” and he would typically haul away what was unloaded. Mr. Bledsoe

  estimates that he worked up to seven days a week for approximately eight hours per day, or more

  due to overtime, from December 2008 to “the end of 2010.”

  Sampling and Testing Relevant to Leonard Bledsoe’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Bledsoe: Articulated Dump Truck Operator, Dump Truck Operator, Water Truck Operator. The

  highest measured concentrations in each SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
     2009                                  390                    260                   13
     2010                                  350                    <42                   <8
     2011                                                         200                   17
     2012                                                         120                   13
     2013                                                          62
     2014                                  200
   Dump Truck Operator
    2009                                   360                     260                  13
     2010                                                           95
     2011                                                           51
     2012                                                           36
   Water Truck Operator
     2009                                  170
     2010                                  380                     109
     2011                                                          320                  24
     2012                                                          150                  10
     2013                                                          280
     2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Bledsoe’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just


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                                  #: 24351
  slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Bledsoe worked significant

  overtime makes his substantial exposures even more serious; if for example he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Leonard Bledsoe’s Exposure:

         Mr. Bledsoe has described his exposure to coal ash while working at the Kingston site.

  Further, his spouse, Julie Bledsoe, has also described her observations of Mr. Bledsoe returning

  from work at the Kingston site, which represent additional evidence of his exposure to coal ash.

  For example, in responding to interrogatories, Mr. Bledsoe described his initial impressions of the

  Kingston site as “it looked like a bomb had exploded” because “it was so covered in ash.” He

  recalled that “[i]n the morning, there were very bad dust storms” that would blow ash around the

  Kingston site and into the air.

         Mr. Bledsoe recalled that there was “so much fly ash in the air.” He regularly would eat

  his lunch in his truck, but he recalled that “ash got on [his] food and drinks] regardless. Mr. Bledsoe

  explained that the workers were provided baby wipes to remove the coal ash from their bodies and

  clothing, but he recalled that “they did not work well enough to remove the ash.”

         Mr. Bledsoe recalled that his truck and other trucks on the Kingston site were “covered in

  ash on the outside and inside.” He stated that “[t]he trucks were yellow and white, but they were

  so covered in ash that they looked grey.” He attempted to clean out the trucks throughout the day.




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                                  #: 24352
  Following his shift, he would “swe[ep] the floors and wipe[] the cab down, but the next morning

  there was usually still a film of ash all over the cab.”

         Mr. Bledsoe stated that coal ash got “all over” him, “in [his] hair, nose, mouth, ears and all

  over [his] skin.” He stated that the coal ash would cover his exposed skin so much that it “looked

  like [he] had a ‘farmer’s tan,’ but it was due to the ash.” He recalled cleaning out his ears, removing

  “dark grey” material. Further, when he blew his nose, “[g]rey mucus came out,” which had

  “clumps of grey all in it.” He stated that “[t]he coal ash got all in my fingernails” and “stained my

  cuticles and in the cracks of my fingernails.” He noticed that scrubbing his hands and fingers with

  a brush could not remove the coal ash.

         Mr. Bledsoe explained that stations were created for workers to wash their boots on the

  Kingston site, but that they “did not effectively clean our boots” and the “water was full of the

  ash.” Mr. Bledsoe also recalled that some workers work shiny, yellow jackets, but that “the jackets

  would get so dirty that the yellow was quite faded.” He recalled that Jacobs Engineering Group,

  Inc. provided the workers with these jackets, but refused to provide the workers with masks. In

  fact, Mr. Bledsoe testified in his deposition that early on, he wore a mask at the Kingston site and

  was told, “I wouldn’t be seen with that mask on.” Mr. Bledsoe further explained that he asked

  about wearing a mask and was told, “‘Well, you don’t want to start wearing them masks. They’ll

  fire you.’”

         Mr. Bledsoe stated that when he returned home each evening from working at the Kingston

  site, he “was still covered in a film of ash.” He typically removed his boots before entering the

  house and noted that the ash from the boots “left a mark on the floor.” He further recalled that the

  ash was “so fine that it was like baby pow[d]er and would get into the fibers of [his] clothes.”




                                                     4

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                                  #: 24353
         Mr. Bledsoe’s spouse, Julie Bledsoe, testified that she regularly greeted Mr. Bledsoe when

  he returned home from working at the Kingston site. She noted that she “would kiss him hello at

  the door,” and could taste the coal ash on him, which she characterized as a “weird taste in his

  mouth.” She stated that the coal ash “was in his mouth [and] was in his saliva.” Ms. Bledsoe further

  explained that she noticed coal ash in Mr. Bledsoe’s beard and mustache and “all over his

  clothing.” She recalled that Mr. Bledsoe was never given a mask or respirator while he worked at

  the Kingston site. She stated that “[h]is skin, every day, was covered” in coal ash.

         Based on the foregoing, it is my scientific opinion that Leonard Bledsoe, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24354
  ADDENDUM 7: Individualized Exposure Assessment of Carl Booker

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Carl Booker at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; Eugene Shostak, MD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

         With regard to Mr. Booker, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Carl Booker’s Responses to Interrogatories;

                Personal Air Monitoring Data; and

                July 26, 2017 Deposition of Carl Booker.

  Carl Booker’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Booker estimates that he worked on the Kingston site from September 2009 to 2013.

  Mr. Booker worked as a truck driver, which required him to drive on and around the Kingston site

  during that period. He drove a variety of trucks, including a haul truck, a water truck, an articulated

  dump truck, and a school bus on and around the Kingston site. During this period, he worked both

  on the night shift and the day shift. Mr. Booker estimates that he worked up to seven days a week

  for approximately twelve hours per day, or more due to overtime, during this period from

  September 2009 to 2013.




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                                  #: 24355
  Sampling and Testing Relevant to Carl Booker’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Booker: Articulated Dump Truck Operator, Dump Truck Operator, Water Truck Operator. The

  highest measured concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
     2009                                  390                   260                  13
     2010                                  350                   <42                  <8
     2011                                                        200                  17
     2012                                                        120                  13
     2013                                                         62
     2014                                  200
   Dump Truck Operator
    2009                                   360                   260                   13
     2010                                                         95
     2011                                                         51
     2012                                                         36
   Water Truck Operator
     2009                                  170
     2010                                  380                   109
     2011                                                        320                   24
     2012                                                        150                   10
     2013                                                        280
     2014                                                         58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Booker’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Booker worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and




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                                  #: 24356
  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Carl Booker’s Exposure:

          Mr. Booker has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that coal ash was “always all over [him]”

  at the Kingston site and that he “could not keep it from getting everywhere.” He explained that

  while working at night, the Kingston site “was very sloppy and muddy,” as everything was covered

  in wet ash. He explained that during the day, he “could see the ash in the air” and that it “looked

  like really tiny dust bits.”

          Mr. Booker recalled that “[e]verything was covered in coal ash on the [Kingston] site.” Mr.

  Booker noted that this included in the break rooms, where he and other workers at their meals. He

  stated, “It was so covered in ash inside the break rooms that I had to wipe the table off to be able

  to sit down and eat.” He added that “[t]he ash got on [his] food.”

          Likewise, Mr. Booker explained that the trucks on the Kingston site were “dirty on the

  inside and outside.” He noted that “[t]he dry ash from the air and the wet ash from the ground

  covered the trucks.” He stated that coal ash “got all over the cab including on the dash, seats, and

  floorboards.” He explained during his deposition that during the night shift, a crew would vacuum

  coal ash out of the interiors of the trucks, but coal ash remained in the vehicles.

          Mr. Booker explained that the coal ash “was always all over” him while on the Kingston

  site. He explained that coal ash “got in [his] mouth,” that he could taste the ash on the site because

  it was gritty in [his] mouth,” and that the coal ash “got in [his] ears too.” Mr. Booker stated that



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                                  #: 24357
  when he cleaned his fingers, “black stuff would come out.” He recalled that he “was always

  sneezing and coughing on the site” and when he blew his nose, “[his] mucus was grey.”

         Mr. Booker stated that the coal ash “got all over [his] clothes, skin, and hair.” He explained

  that when he took a shower following his work at the Kingston site, “the water would be murky.”

  He recalled that his wife “had to clean the shower after [he] was done because [he] got it so dirty.”

         Based on the foregoing, it is my scientific opinion that Carl Booker, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24358
  ADDENDUM 8: Individualized Exposure Assessment of Jeffrey Brewer

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Jeffrey Brewer at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Brewer, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Jeffrey Dwight Brewer’s Responses to Interrogatories;

                Employment Records for Jeffrey Brewer;

                Personal Air Monitoring Data Collected; and

                April 11, 2017 Deposition of Jeffrey Dwight Brewer.

  Jeffrey Brewer’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Jeff Brewer was employed by GUBMK from March 2010 to

  August 2014. Mr. Brewer estimates that he worked on the Kingston site from March 2010 to

  August 2014. Mr. Brewer worked as a truck driver, driving an articulated dump truck, a tandem

  dump truck, a flatbed truck, a fuel truck, a water truck, and a “low boy” on and around the Kingston

  site during that period. Mr. Brewer estimates that he regularly worked up to seven days a week for

  approximately twelve hours per day, or more due to overtime, during this period from March 2010

  to August 2014.


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                                  #: 24359
  Sampling and Testing Relevant to Jeffrey Brewer’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Brewer: Articulated Dump Truck Operator, Dump Truck Operator, Fuel Truck Operator, Water

  Truck Operator. Fuel truck operators were only monitored in 2011 and 2012. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
     2009                                  390                    260                   13
     2010                                  350                    <42                   <8
     2011                                                         200                   17
     2012                                                         120                   13
     2013                                                          62
     2014                                  200
   Dump Truck Operator
    2009                                   360                     260                  13
     2010                                                           95
     2011                                                           51
     2012                                                           36
   Fuel Truck Operator
     2011                                                          320                  24
     2012                                                           38
   Water Truck Operator
     2009                                  170
     2010                                  380                     109
     2011                                                          320                  24
     2012                                                          150                  10
     2013                                                          280
     2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Brewer’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, measured for both his work as fuel

  truck and water truck driver, is approximately thirty times higher than the likely ambient

  background PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest

  measured exposure to silica, a human carcinogen, 24 µg/m3, again measured for two of his jobs,
                                                  2

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                                  #: 24360
  is just slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Brewer worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 6 of the 8 silica measurements in the

  above table would have exceeded the TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Jeffrey Brewer’s Exposure:

          Mr. Brewer has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that fly ash, also called coal ash, was “all

  over” him at the Kingston site and that, when stepped on, the coal ash “would puff up like baby

  powder.” He said that “the wind would blow [the coal ash] everywhere” and he “could not even

  see the water truck from the dust blowing in the air.” Mr. Brewer explained that the “ash was

  everywhere” and was even outside the exclusion zone, in designated “clean zones” on the Kingston

  site.

          Mr. Brewer recalled there being “grey ash on the dash and steering wheel” of his truck

  each morning. Despite cleaning off the coal ash, the truck “would get covered again.” He explained

  that “[t]he ash was so fine that it would seep through everything.” Mr. Brewer recalled that, when

  he ate lunch, “the ash would get on [his] food.” He also explained that there was “no place to wash

  [y]our hands” to clean off the coal ash.

          Mr. Brewer explained that he was still covered in coal ash when he returned home each

  day from working at the Kingston site. He stated that he would regularly come home and give his

  daughters and his wife a hug. However, he then noticed that his “wife kept [getting] sinus



                                                   3

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                                  #: 24361
  infections” throughout the time he worked at the Kingston site. After speaking with another

  worker, Billy Gibson, whose wife also was regularly sick, Mr. Brewer noticed “the dust and the

  ash in [his] clothes.” After regularly washing his work clothes at home, he had to replace his

  washing machine twice.

         In his deposition, Mr. Brewer testified that workers at the Kingston site were not allowed

  to wear masks on the site. As he put it, workers “could not wear a dust mask on that job, period.”

  He recalled Tom Bock, a Jacobs Engineering Group, Inc. employee, removed masks from the

  Kingston site that had been stored in a trailer. Mr. Brewer recalled some workers wearing masks

  while weed eating on the site, but they were required to remove their masks. Mr. Brewer recalled

  other workers, Ansol Clark and Mike McCarthy, asking Chris Eich, another Jacobs Engineering

  Group, Inc. employee, if they could wear a dust mask. Mr. Brewer testified that Mr. Eich explicitly

  told them that they could not wear masks. As Mr. Brewer described, workers who wore a mask on

  the Kingston site would get fired.

         Based on the foregoing, it is my scientific opinion that Jeffrey Brewer, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24362
  ADDENDUM 9: Individualized Exposure Assessment of Johnny Church

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Johnny Church at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Church, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Johnny Church’s Responses to Interrogatories;

                Employment Records for Johnny Church;

                Personal Air Monitoring Data; and

                April 19, 2017 Deposition of Johnny Church.

  Johnny Church’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Church was employed by GUBMK from September 25,

  2009 to November 20, 2009 and from January 15, 2010 to April 2, 2012. Mr. Church estimates

  that he worked on the Kingston site from September 2009 to March 2012. Mr. Church worked as

  a laborer, which required him to work on the Kingston site during that period. Mr. Church

  estimates that he regularly worked up to seven days a week for approximately twelve hours per

  day, or more due to overtime during this period from September 2009 through March 2012.




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                                  #: 24363
  Sampling and Testing Relevant to Mr. Church’s Work:

         Based on his work history, Mr. Church worked in the General Laborer SEG. The highest

  measured concentrations in each year in this SEG are shown in the following table.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   General Laborer
    2009                                  2000                    570                  49
    2010                                  2500                    440                  <9
    2011                                                          190                  21
    2012                                                           96
    2013                                                          120                  16
    2014                                   480


         These sample results indicate a repeated, substantial exposure to workers in Mr. Church’s

  SEG. The TPM measurements in 2009 and 2010 are among the highest measurement in the entire

  data set and represent levels that are very difficult to create and maintain in an outdoor

  environment, since they are approximately 100 times higher than the ambient background TPM

  levels. The highest measured RPM concentration, 570 µg/m3, is approximately fifty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 49 µg/m3, is twice

  the ACGIH TLV® of 25 µg/m3. The fact that Mr. Church worked significant overtime makes his

  substantial exposures even more serious; if, for example, he worked 80 hours per week rather than

  40 it would have doubled his total dose from inhalation and ingestion and reduces the silica TLV®

  from 25 to 12.5 µg/m3, and then 3 of the 4 silica measurements in the above table would have

  exceeded the TLV®.

         As discussed below, Mr. Church apparently wore what he referred to as a mask, which

  most likely was a filtering facepiece respirator, on at least some days while working on the

  Kingston site. Based upon his testimony, it does not appear that Mr. Church wore a NIOSH-


                                                 2

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                                  #: 24364
  approved half-mask respirator, as he stated he wore “only a face shield and dust mask.” Mr. Church

  explained, however, that “[t]he face shield and dust mask did not help protect [him] from coal ash”

  and that he “would always have [coal ash] on [his] face and around [his] mouth.” Even if he wore

  a filtering facepiece respirator, it no doubt was not provided to him by Jacobs Engineering Group,

  Inc. as part of a comprehensive respiratory protection program and thus likely only reduced his

  exposure by a factor of 5 to 10. This is explain why he stated that it was ineffective. Given the

  very high laborer exposures documented in the table above, this modest reduction in exposure,

  assuming he was provided a filtering facepiece respirator, would still have left him with exposures

  well above ambient levels.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Mr. Church’s Exposure:

         Mr. Church has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that as a laborer he had to work in multiple

  areas throughout the Kingston site. He noted that although he was permitted to wear a mask as part

  of his work duties, it “did not help protect [him] from coal ash.” He stated that he still “would

  always have [coal ash] on [his] face and around [his] mouth.” Mr. Church further explained that

  he previously had worked “at X10 tearing down an old [coal] ash silo.” Mr. Church recalled that

  at the X10 site, he “never actually smelled ash in the air or had problems with coal ash getting on

  [his] skin or clothes.” He noted, however, that the Kingston site was “completely different”

  because there was much more coal ash in the environment that “coated everything.”

         Mr. Church recalled that he was regularly “covered in coal ash from head to toe” at the

  Kingston site. As he put it, “coal ash would be all over [his] face and hair, and there was nowhere



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                                  #: 24365
  to wash [it] off.” Despite having protective gear, “it never really helped.” Mr. Church recalled that

  the workers were forced to take their breaks and eat their lunches in areas there were “full of ash.”

  He explained that the coal ash would “end[] up in your food and drinking water,” and he recalled

  being able to “taste coal ash.”

         When Mr. Church finished his shift at the Kingston site, he explained that “there was

  nowhere to shower off or change clothes.” As a result, he stated that he “ended up tracking so

  much coal ash into [his] personal truck that it destroyed [his] seats and [his] floorboard.” He

  recalled tracking the coal ash into his home, and he “could see it coming off oh [him] in the

  shower,” which “stained and ruined the tile in [his] bathroom.” As he described it, “You could see

  handprints on anything [he] touched.” He recalled blowing his nose and “black muc[us] would

  come out several hours after” he had finished working and had left the Kingston site.

         Based on the foregoing, it is my scientific opinion that Johnny Church, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24366
  ADDENDUM 10: Individualized Exposure Assessment of Ansol Clark

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Ansol Clark at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

         With regard to Mr. Clark, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Ansol Clark’s Responses to Interrogatories;

                Employment Records for Ansol Clark;

                Personal Air Monitoring Data;

                October 26, 2016 Affidavit of Ansol Clark;

                September 17, 2020 Deposition of Janie Clark; and

                April 17, 2017 Deposition of Ansol Clark.

  Ansol Clark’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Clark was employed by GUBMK in December 2008

  through March 2013. Mr. Clark estimates he worked on the Kingston site from December 2008,

  shortly after the coal ash spill occurred, to March 15, 2013. Mr. Clark worked inside the exclusion

  zone on the Kingston site as a “fuel man,” fueling various vehicles and heavy equipment, which

  drove on and was used on and around the Kingston site. This job required him to work on the


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                                  #: 24367
  Kingston site during that period. Mr. Clark estimates that he regularly worked up to seven days a

  week for approximately fifteen hours per day, due to overtime, during this period from December

  2008 to March 15, 2013. Janie Clark, his spouse, described Mr. Clark’s working hours as “very

  extreme.”

  Sampling and Testing Relevant to Ansol Clark’s Work:

         There are two separate SEGs for fuel truck drivers: Fuel Truck Driver in the Teamster

  group, and Fuel Truck Operator in the On-Land Operation group. The SEG of Fuel Truck Driver

  was not adequately monitored, with only a single air sample collected from 2009 to 2013, on

  August 1, 2012. It measured PPM only, with a time-weighted average concentration of 380 µg/m3.

  Trial Exhibit 91 indicates that it was raining on August 1, 2012, which no doubt served to greatly

  reduce the airborne dust concentration. The measured airborne concentration was approximately

  thirty times higher than the likely ambient background PM2.5 concentration, indicating a substantial

  exposure to airborne fly ash.

         Ten samples were collected for the SEG Fuel Truck Operator, all in 2012. The analytical

  results for two samples were not included in the data base, and two samples were voided for

  sampling errors. Thus, only 6 valid sample results are included. The highest RPM concentration

  measured was 320 µg/m3, also approximately thirty times higher than the ambient background

  concentration. The highest measured silica concentration was 24 µg/m3, just slightly less than the

  ACGIH silica TLV® of 25 µg/m3. The limited measurements collected for fuel truck drivers thus

  indicate a substantially elevated exposure for this group to RPM and silica.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.




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                                  #: 24368
  Evidence of Ansol Clark’s Exposure:

         Mr. Clark has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that he “would be working in coal ash” for

  many hours each workday. As he explained, “[c]oal ash was everywhere” and was visible “like a

  blue haze hanging over the clean-up site.” He noted that he was “constantly covered in coal ash”

  and that the coal ash was “on [his] face and in [his hair], and [] would end up . . . in [his] mouth,

  nose, eyes, and ears.”

         Mr. Clark recalled that a Jacobs Engineering Group, Inc. employee had told workers at the

  Kingston site that the coal ash was safe. As Mr. Clark testified in an affidavit, Tom Bock, a Jacobs

  Engineering Group, Inc. employee, “said that you could eat a pound of fly ash a day and it would

  not hurt you.” Based upon this, Mr. Clark and other workers believed that the coal ash was safe to

  be around.

         Mr. Clark recalled that when he left the Kingston site after working each day he “would be

  absolutely covered in coal dust.” He explained that there was no way to “shower or get [the coal

  ash] off our bodies and work clothes” at the Kingston site. As he recalled, no running water or

  wipes were provided for him, or other workers, to clean coal ash off their bodies, clothing, or other

  belongings. As he noted, the “only thing” available to wash off coal ash was a “boot ‘wash,’”

  which he described as “just a plastic pan of water with brush,” which was simply “full of muddy

  coal ash.”

         Mr. Clark explained that when he returned home from the Kingston site after working, that

  his wife “could smell the coal ash on [him] and taste it whenever she kissed [him].” When he

  showered, he “could see the coal ash coming off” and that it left a “permanent black grime in our




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                                  #: 24369
  shower,” which left the shower stained. Further, he recalled that when he could blow his nose or

  cough, a “black mucus would come out.”

         Mr. Clark explained that he could “taste the coal ash” from his work at the Kingston site.

  He described it as a “strong metallic taste.” As he testified in his deposition, he inhaled coal ash to

  the point of being able to taste it “more [times] than [he] could count,” estimating that this occurred

  “about three times a week.” Mr. Clark explained that he wore what personal protective equipment

  “Jacobs said [he] could wear” but that it “didn’t help protect me from coal ash.” As he described

  it, “[a]ll [he] had was boots, gloves, vest, goggles, and a hard hat.” When Mr. Clark asked for a

  mask, he was told that “they were not allowed” to be worn. In fact, Mr. Clark recalled asking Tom

  Bock for a mask because he could taste coal ash in the air, to which Mr. Bock responded that he

  would “check into it.” However, after that conversation, Mr. Clark did not hear back from Mr.

  Bock and was not given permission to wear a mask while working on the Kingston site.

         On another occasion, Mr. Clark was present with Mike McCarthy, another worker on the

  Kingston site, for a conversation with Chris Eich, a Jacobs Engineering Group, Inc. employee at

  the Kingston site. Mr. Clark testified that Mike McCarthy asked if they could “have a water truck

  and some dust masks.” Mr. Clark recalled that Mr. Eich responded, “Do not even ask for a dust

  mask. You will be hanging yourself with your own you know what.” Mr. McCarthy recalled this

  conversation between Mr. Eich, Mr. Clark, and himself in his deposition, and confirmed that Mr.

  Eich threatened him for asking for a mask. In short, Mr. Clark was told on multiple occasions that

  he would not be permitted to wear a mask while working on the Kingston site.

         Mr. Clark’s spouse, Janie Clark testified in her deposition that she noticed coal ash on Mr.

  Clark’s clothes when he returned home from working at the Kingston site. She testified that she




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                                  #: 24370
  noticed a “silver gray metallic colored” substance that was “like mud” on his clothes that would

  dry out and became “this dirt . . . [that] was still thick and [] was all over” his clothes.

          Based on the foregoing, it is my scientific opinion that Ansol Clark, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24371
  ADDENDUM 11: Individualized Exposure Assessment of Dan Cody

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Dan Cody at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

         With regard to Mr. Cody, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Dan Cody’s Responses to Interrogatories;

                Personal Air Monitoring Data;

                November 15, 2020 Declaration of Dan Cody; and

                October 9, 2017 Deposition of Dan Cody.

  Dan Cody’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Cody estimates that he worked on the Kingston site from October 2009 to February

  2015. Mr. Cody worked as a truck driver, driving a water truck and an articulating dump truck on

  and around the Kingston site during that period. Mr. Cody estimates that he worked six to seven

  days a week for approximately ten to fourteen hours per day during this period from October 2009

  to February 2015.




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                                  #: 24372
  Sampling and Testing Relevant to Dan Cody’s Work:

          Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Cody: Articulated Dump Truck Operator, Water Truck Operator. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                       Total Dust (µg/m3)       Resp. PM (µg/m3)         Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                      390                      260                    13
    2010                                      350                      <42                    <8
    2011                                                               200                    17
    2012                                                               120                    13
    2013                                                                62
    2014                                      200
   Water Truck Operator
    2009                                      170
    2010                                      380                      109
    2011                                                               320                     24
    2012                                                               150                     10
    2013                                                               280
    2014                                                                58


          These sample results indicate a repeated, substantial exposure to workers in Mr. Cody’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly below the ACGIH TLV® of 25 µg/m3.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Dan Cody’s Exposure:

          Mr. Cody has described his exposure to coal ash while working at the Kingston site. For

  example, in a declaration, he stated that he “worked directly in the exclusion zone” at the Kingston

  site. He stated that he also “hauled dirt to cap the coal ash” in the “east part of the [Kingston] site.”

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                                  #: 24373
  Mr. Cody recalled that “the coal ash dust created a thick cloud over the site.” He stated that this

  cloud was often so thick that “other workers and drivers could not see [his] truck.” He recalled that

  “[t]he ash was so fine that it kicked up into the air very easily.” During his deposition, Mr. Cody

  testified that he was “in and around the ash every day.”

         As a water truck driver, Mr. Cody stated that his job included “spray[ing] water on the coal

  ash dust to keep it from blowing up into the air and all over the [Kingston] site.” However, he

  noted that “it was extremely difficult to do so and was practically impossible when there was wind

  on the site.” As he put it, “[i]t was a losing battle because there was so much fine dust on the site.”

  He recalled that, at one point, he was “order[ed] to stop driving [his] truck around in the dust cloud

  because [he] was creating more dust that [he] was knocking [] down with the water.” Mr. Cody

  was told “to stop spraying water [on the coal ash] and to just let it go because it was so out of

  control.” As a result, he recalled that the coal ash “dust cloud spread out over the site and even

  over the water.”

         As he drove his trucks on and around the Kingston site, Mr. Cody recalled that “[t]he coal

  ash dust got all over [his] trucks.” He stated that even though he kept his windows up, “the ash

  still poured into the cab through the air conditioner and any cracks or openings in the machines.”

  He recalled that the coal ash “piled up on the dashboard” and that it was “impossible” to keep the

  coal ash out of his truck.

         In addition to collecting on and in his trucks, Mr. Cody stated that “[t]he coal ash dust

  collected all over [him] at the [Kingston] site.” He recalled that the coal ash “got on [his] clothes

  and covered [his] exposed skin.” He stated that “[i]t got in [his] ears, nose, and mouth,” and that

  he “could taste it in [his] mouth.” He described the coal ash dust as “gritty like sand in [his] teeth.”

  Mr. Cody explained that coal ash would get into his nose so often that he “got nose bleeds after a



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                                  #: 24374
  while” and that “by end of day, [his] nostrils were raw.” He recalled having to constantly blow his

  nose while on the site and that when he blew his nose, “black mucus came out.”

         Mr. Cody explained that there was “no way of cleaning the coal ash off” his body

  effectively. During his deposition, he testified that workers could wash their hands, but the “water

  was out of the river,” which contained coal ash. He also discussed boot washing stations, which

  he described as “the size of a cat litter box” and “ineffective.” He recalled that even when he used

  the boot washes, “the ash still clung to the bottom of [his] boots.” As a result, “[a]t the end of the

  day, [he] tracked that coal ash on [his] boots into [his] personal car and in [his] home.”

         Mr. Cody stated that he was “not allowed to wear a mask or a respirator” at the Kingston

  site. He was “told daily that [he] could not wear a mask and that [he] would be sent home if [he]

  tried to wear a mask.” He recalled that Tom Bock, a Jacobs Engineering Group, Inc. employee,

  told him that he “could not wear a mask and anyone who work one would be sent home if they

  did.” He further recalled that Mr. Bock told him that Mr. Cody “could eat a pound of coal ash a

  day and it would not hurt [him]. . . . [and] that it was not possible for [Mr. Cody] to breathe in an

  amount of coal ash that would hurt [him].” On another occasion, Mr. Cody witnessed a worker

  wearing a face mask while working and was “told [] to remove it immediately or go home.”

         Based on the foregoing, it is my scientific opinion that Dan Cody, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24375
  ADDENDUM 12: Individualized Exposure Assessment of Philip Crick

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Philip Crick at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Crick, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Philip Crick’s Responses to Interrogatories;

                Employment Records for Philip Crick;

                Personal Air Monitoring Data; and

                August 11, 2020 Deposition of Philip Crick.

  Philip Crick’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Philip Crick was employed by GUBMK from March 2011

  through August 2014. Mr. Crick estimates he worked on the Kingston site from March 2011 to

  August 2014. Mr. Crick worked as a driver, driving an articulated dump truck, a fuel truck, and a

  bus on and around the Kingston site during that period. He also noted that he worked “directly in

  the ash spill cleanup,” hauling ash, sludge slurry, and dirt around the site. Mr. Crick estimates that

  he regularly worked six days a week for approximately forty to sixty hours per week, due to

  overtime, during this period from March 2011 to August 2014.


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                                  #: 24376
  Sampling and Testing Relevant to Philip Crick’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Crick: Articulated Dump Truck Operator, Fuel Truck Operator. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                   390                    260                 13
    2010                                   350                    <42                 <8
    2011                                                          200                 17
    2012                                                          120                 13
    2013                                                           62
    2014                                   200
   Fuel Truck Operator
    2011                                                          320                  24
    2012                                                          150                  10


         These sample results indicate a repeated, substantial exposure to workers in Mr. Crick’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Crick worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 4 of the 6 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

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                                  #: 24377
  Evidence of Philip Crick’s Exposure:

          Mr. Crick has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that he worked “directly on the ash spill

  cleanup.” He recalled that “[t]he whole time while [he] worked at Kingston, [he] was always

  covered in coal ash.” He described the coal ash as being “like talcum powder” because it was thin

  and would collect “all over [his] clothing, body, and personal belongings” and would get “in [his]

  hair, on [his] arms and hands, and in [his] ears.” He recalled the coal ash “collect[ing] even worse

  on the bridge of [his] nose where [his] safety goggles were,” and he noted that he later developed

  basal cell carcinoma in that location.

          Mr. Crick recalled the coal ash collecting on the windshield of trucks, which would make

  it difficult to see. He explained that his truck was “almost always covered inside and out with coal

  ash.” He stated, “Every evening, [he] wiped out the cab of the truck and the next morning when

  [he] got back to work, the ash already collected so much that [he] could write [his] name in it.” He

  testified that even though he washed his truck every day after his shift, the coal ash would quickly

  cover it again in a thick layer.

          Mr. Crick explained that when he left the Kingston site after working, “the ash from [his]

  clothes and boots would still get all in [his] car.” He recalled that when he got home each day, he

  would remove his clothes and shower immediately. He stated that he “could see the black water

  come off [his] body in the shower.”

          During his deposition, Mr. Crick testified that the coal ash “would get in [his] nose and it

  would irritate [his] sinuses.” Mr. Crick further testified that when he blew his nose “[he’d] have

  blood come out” and that his “throat would actually get sore sometimes and [he] could taste” the

  coal ash. Mr. Crick stated that he did not wear a mask while working at the Kingston site.



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                                  #: 24378
         Based on the foregoing, it is my scientific opinion that Philip Crick, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24379
  ADDENDUM 13: Individualized Exposure Assessment of Joe Cunningham

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Joe Cunningham at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Cunningham, I have reviewed the following documents, in addition to

  the documents listed in my attached report:

                Plaintiff Joe Cunningham’s Responses to Interrogatories;

                Employment Records for Joe Cunningham;

                Personal Air Monitoring Data; and

                August 14, 2020 Deposition of Joe Cunningham

  Joe Cunningham’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Cunningham was employed by Geo-Con from August 2,

  2011 to April 2014. Mr. Cunningham estimates that he worked on the Kingston site from August

  2011 to April 2014. Mr. Cunningham worked as a laborer, which required him to work on the

  Kingston site during that period. Mr. Cunningham estimates that he regularly worked up to seven

  days a week for approximately ten hours per day, or more due to overtime, during this period from

  August 2011 to April 2014.




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                                  #: 24380
  Sampling and Testing Relevant to Joe Cunningham’s Work:

         Based on his work history, Mr. Cunningham worked in the General Laborer SEG. No

  personal air monitoring for Mr. Cunningham were found in the data base in this SEG, but he was

  included under the BP_General Laborer SEG, also included below. The highest measured

  concentrations in each year in this SEG are shown in the following table.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   General Laborer
    2009                                   2000                    570                   49
    2010                                   2500                    440                   <9
    2011                                                           190                   21
    2012                                                            96
    2013                                                           120                   16
    2014                                    480
   BP_General Laborer
    2011                                                           2200                  32
    2012                                                            810                  67
    2013                                                            890


         These sample results indicate a repeated, substantial exposure to workers in Mr.

  Cunningham’s SEG. First consider the General Laborer SEG. The TPM measurements in 2009

  and 2010 are among the highest measurement in the entire data set and represent levels that are

  very difficult to create and maintain in an outdoor environment, since they are approximately 100

  times higher than the ambient background TPM levels. The highest measured RPM concentration,

  570 µg/m3, is approximately fifty times higher than the likely ambient background PM2.5

  concentration, indicating a substantial exposure to airborne fly ash. The highest measured exposure

  to silica, a human carcinogen, 49 µg/m3, is twice the ACGIH TLV® of 25 µg/m3.

         For the BP_General Laborer SEG, the RPM and silica measurements here represent

  consistent exposures over several years that are among the highest in the entire data set. Workers

  in this SEG were regularly exposed to the highest levels of airborne contaminants seen on site.


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                                  #: 24381
          The fact that Mr. Cunningham worked significant overtime makes his substantial

  exposures even more serious; if, for example, he worked 80 hours per week rather than 40 it would

  have doubled his total dose from inhalation and ingestion and reduces the silica TLV® from 25 to

  12.5 µg/m3, and then 5 of the 6 silica measurements in the above table would have exceeded the

  TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Joe Cunningham’s Exposure:

          Mr. Cunningham has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that he “worked outside the entire time,

  . . . walk[ing] around all day in the ash.” He explained that the coal ash would make “dust

  tornadoes.” He further stated that while working the coal ash “would be all over [him].” He recalled

  that whenever he took his safety glasses off, “everything was black everywhere except for around

  [his] eyes where the glasses were,” due to the coal ash.

          During his deposition, Mr. Cunningham testified that the coal ash was inescapable. He

  explained that the coal ash “would get in [his] mouth” and “would get all over [him]. He stated

  that “[u]nless you had ear plugs in, it would get down in your ears.” Mr. Cunningham further

  testified that even after leaving the Kingston site each day, he would blow his nose and “it would

  blow black.”

          Mr. Cunningham recalled one instance where he fell into a “soft spot,” sinking “all the way

  up to [his] waist in ash.” He explained that there was nowhere on the Kingston site for him to wash

  the coal ash off his body and his clothing. He noted that “[n]o one really washed [the coal ash] off

  because [the workers] were always so caked in ash anyway.” Mr. Cunningham explained that “ash



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                                  #: 24382
  would cover [his] clothing, including jeans, shirts, boots, . . . and company-issued gloves.”

  However, he recalled that the coal ash would regularly get inside his gloves, which sometimes

  required him to take them off, at which point his “bare hands would be exposed to everything.”

         When he returned home each day from working at the Kingston site, Mr. Cunningham

  explained that he would take his clothes off outside the house. He stated that his wife had to wash

  his clothes “at least two times in an attempt to remove the coal ash.” He explained that he would

  shower as soon as he returned home, but he noted, “It was difficult to scrub [the coal ash] off [his]

  body; especially on [his] elbows where [his] skin was showing through [his] clothes. It was also

  difficult to wash the ash off of [his] head and the back of [his] neck.” He recalled that “the ash

  would get into [his] car,” and he “had to vacuum it out quite often and at least twice per week” to

  ensure that his family was not exposed to the coal ash in their family vehicle.

         During his deposition, Mr. Cunningham discussed sampling and testing performed at the

  Kingston site. He explained that workers were required to sign paperwork showing that samples

  had been collected; however, he explained that when he was required to sign this paperwork, no

  data was included. As he stated, he was never given testing results relating to the coal ash testing

  performed at the Kingston site. He testified that the workers were not told results: “Only thing we

  knew about our amounts was if – if they wanted us to know, they’d tell us. We never seen it. We

  never got handed a copy.” As he explained, the workers were never given, shown, or told about

  testing results, but they were required to sign paperwork regarding the collection of samples and

  regarding testing.

         Based on the foregoing, it is my scientific opinion that Joe Cunningham, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose




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                                  #: 24383
  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24384
  ADDENDUM 14: Individualized Exposure Assessment of Enoch Roy Edmonds

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Enoch Roy Edmonds at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

         With regard to Mr. Edmonds, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Enoch Roy Edmonds’ Responses to Interrogatories;

                Personal Air Monitoring Data; and

                August 23, 2017 Deposition of Enoch Roy Edmonds.

  Enoch Edmonds’ Work at the Kingston Coal Ash Recovery Site:

         Mr. Edmonds estimates that he worked on the Kingston site from March 2009 to 2013. Mr.

  Edmonds worked as a truck driving, driving an articulated dump truck, a water truck, and a water

  van on and around the Kingston site during that period. Mr. Edmonds also hauled coal ash during

  that period. Mr. Edmonds estimates that he worked up to seven days a week for approximately

  twelve hours per day, or more due to overtime, during this period from March 2009 to 2013.




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                                  #: 24385
  Sampling and Testing Relevant to Enoch Edmonds’ Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Edmonds: Articulated Dump Truck Operator, Dump Truck Operator, Water Truck Operator. The

  highest measured concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
     2009                                  390                   260                  13
     2010                                  350                   <42                  <8
     2011                                                        200                  17
     2012                                                        120                  13
     2013                                                         62
     2014                                  200
   Dump Truck Operator
    2009                                   360                   260                   13
     2010                                                         95
     2011                                                         51
     2012                                                         36
   Water Truck Operator
     2009                                  170
     2010                                  380                   109
     2011                                                        320                   24
     2012                                                        150                   10
     2013                                                        280
     2014                                                         58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Edmond’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Edmonds worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and




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                                  #: 24386
  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Enoch Edmonds’ Exposure:

         Mr. Edmonds has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that he “worked all over the [Kingston]

  site and [he] was constantly covered in coal ash.” As he put it, “[i]t did not matter if [he] was in

  one of the trailers or break areas; the entire place was coated [with coal ash].” He recalled that he

  regularly “could smell coal ash” and “could taste it” on several occasions. He also stated that “[t]he

  coal ash made [him] cough all the time” and whenever he “blew [his] nose or coughed, black coal

  ash would come out.”

         Mr. Edmonds recalled “countless times where [he] would eat [his] lunch and it would get

  covered in coal ash.” Mr. Edmonds stated that coal ash regularly settled in the cab of his truck at

  the Kingston site, despite his best efforts to “keep coal ash out of [his] truck.” He recalled that

  “Jacobs never did maintenance on the trucks or changed out the cabin air filters.” He further

  recalled that there were boot washing stations on the Kingston site, but he stated that “they were

  completely useless” after only a few workers used them “because there was no way to change the

  water out. You would be washing your dirty boots in dirty water that was full of coal ash.”

         Mr. Edmonds explained that “everyone on site knew that you would get sent home for

  asking” for a mask to wear. Mr. Edmonds testified that John Cox, another worker on the Kingston

  site, “got run off because he asked for a respirator.” Although he was not permitted to wear a mask,

  Mr. Edmonds did wear a personal air monitoring device. As he testified, he heard that “they would



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                                  #: 24387
  knock the dirt out of” the personal air monitor before collecting samples for testing. Further, during

  his deposition, Mr. Edmonds questioned the reliability of the air monitoring data because “they

  took and wet everything down around where the monitors [were] to make sure they wouldn’t get

  nothing.”

         Mr. Edmonds recalled that when he returned home each evening from working at the

  Kingston site, he “would have coal ash in [his] nose, ears, and mustache.” He recalled that his wife

  would tell him that he was “completely covered in ash.” He explained that his wife washed his

  work clothes separately and that she “had to clean [their] washing machine every single time she

  did a load of [his] laundry because so much ash would be left behind.” Because of the coal ash on

  his clothes, he recalled that they had to get the washing machine “repaired several times.”

         Based on the foregoing, it is my scientific opinion that Enoch Edmonds, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24388
  ADDENDUM 15: Individualized Exposure Assessment of Paul Randy Farrow

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Paul Randy Farrow at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Farrow, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Paul Randy Farrow’s Responses to Interrogatories;

                Personal Air Monitoring Data; and

                August 3, 2020 Deposition of Paul Randy Farrow.

  Paul Randy Farrow’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Farrow estimates he worked on the Kingston site from January 2009 through mid-

  March 2009. Mr. Farrow worked as a truck driver, driving an articulated dump truck and a water

  truck on and around the Kingston site during that period. Mr. Farrow estimates that he regularly

  worked seven days a week for approximately thirteen hours per day, due to overtime, during this

  period from January 2009 through mid-March 2009.




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                                  #: 24389
  Sampling and Testing Relevant to Paul Randy Farrow’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Farrow: Articulated Dump Truck Operator, Water Truck Operator. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                   390                    260                 13
    2010                                   350                    <42                 <8
    2011                                                          200                 17
    2012                                                          120                 13
    2013                                                           62
    2014                                   200
   Water Truck Operator
    2009                                   170
    2010                                   380                    109
    2011                                                          320                  24
    2012                                                          150                  10
    2013                                                          280
    2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Farrow’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Farrow worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 4 of the 6 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

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                                  #: 24390
  Evidence of Paul Randy Farrow’s Exposure:

         Mr. Farrow has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that he was “always covered in coal ash”

  when he was working at the Kingston site. He explained that “[a]nyone who walked onto the

  Kingston site ended up covered in coal ash.”

         Mr. Farrow recalled that he was so covered in coal ash, it “got into [his] car” and he

  “tracked it all to [his] home.” He explained that when he showered after returning home each day

  after working at the Kingston site, he “could feel the fine and gritty ash on [him].” He noted that

  the coal ash “would get into [his] ears,” which caused his “ear canals [to get] all black” from his

  working at the site.

         Mr. Farrow testified during his deposition that he suffered from frequent nosebleeds during

  his time at the Kingston site, and “anytime [he] blew my nose, whether it was bleeding or not, [he]

  had black stuff in [his] nose.” Mr. Farrow further testified that a supervisor told him that the coal

  ash was so safe, he “could bathe in it.” Mr. Farrow stated that he did not wear a mask while working

  at the Kingston site.

         Based on the foregoing, it is my scientific opinion that Paul Randy Farrow, more likely

  than not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity

  dose of coal fly ash during his employment at the Kingston site sufficient to result in numerous

  negative health effects as supported by the scientific literature.




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                                  #: 24391
  ADDENDUM 16: Individualized Exposure Assessment of Billy Joe Gibson

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Billy Joe Gibson at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Carrie A Redlich, MD, MPH.

  Materials Reviewed:

         With regard to Mr. Gibson, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Billy Joe Gibson’s Responses to Interrogatories;

                Employment Records for Billy Joe Gibson;

                Personal Air Monitoring Data;

                April 11, 2017 Deposition of Jeffrey Brewer;

                August 14, 2017 Deposition of Brian Thacker; and

                April 10, 2017 Deposition of Billy Joe Gibson.

  Billy Gibson’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Gibson was employed by GUBMK from December 31,

  2008 to November 13, 2014. Mr. Gibson estimates he worked on the Kingston site from January

  2, 2009 to November 2014. Mr. Gibson worked as a heavy equipment operator, operating a front-

  end loader, and a track hoe on the Kingston site during that period. Mr. Gibson also operated a

  dredge and a water pump on the site. Mr. Gibson estimates he regularly worked up to seven days


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                                  #: 24392
  a week for approximately twelve per day, or more due to overtime, at the beginning of this period,

  and worked full time throughout his tenure from December 2008 to November 2014.

  Sampling and Testing Relevant to Billy Gibson’s Work:

         Based on his work history, air sampling done for the SEGs Excavator Operator, Dozer

  Operator and Dredge Boat Operator are relevant to Mr. Gibson’s work at the Kinston site. The

  highest measured concentrations in each SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                   210                    69
     2010                                  1400
     2011                                                          690                  18
     2012                                                          520
     2013                                                         1100                   7
     2014                                  240
   Dozer Operator
    2009                                   1300                    210                  18
     2010                                   930                     58
     2011                                                          200                  26
     2012                                                           77
     2013                                                           61
   Dredge Boat Operator
     2009                                                         100
     2010                                                         <41


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, approximately 50 – 100 times higher than the prevailing background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest measured

  concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of 25 µg/m3. The fact

  that Mr. Gibson worked significant overtime makes his substantial exposures even more serious;

  if, for example, he worked 80 hours per week rather than 40 it would have doubled his total dose



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                                  #: 24393
  from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3, and then 3 of

  the 4 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Billy Joe Gibson’s Exposure:

         Mr. Gibson has described his exposure to coal ash while working at the Kingston site, For

  example, in responding to interrogatories, he described coal ash as fly ash. He explained that “[t]he

  site was always covered in fly ash.” He stated, “The fly ash was so fine that it was difficult to

  control. Dry ash kicked up into the air so much that [he] could see it floating around in the air; the

  particles are small and shiny.” Despite attempts to keep the ash from spreading, Mr. Gibson stated

  that “the ash was everywhere and covered everything.”

         Mr. Gibson described how the “dry and wet ash got all over [him], [his] clothes, and [his]

  boots.” He explained that “[t]he ash also collected on any exposed skin including [his] face” and

  “was in [his] hair” and he “could also feel it in [his] nose, ears, eyes, and mouth.” Mr. Gibson

  stated that he could “taste” the coal ash, and he described it as “gritty.”

         Mr. Gibson explained that some areas on the Kingston site were “really soft” because of

  the coal ash and that “[s]ometimes [workers] would fall through and down into the coal ash,”

  sinking in coal ash past their waist. Mr. Gibson testified in his deposition that while operating a

  water pump, he was required to “wad[e] in ash almost knee deep.”

         Mr. Gibson explained that it was a struggle to keep coal ash out of the cab of his heavy

  equipment. He described how “[t]he ash would get into the closed cab through the window and

  vents because it was so thick in the air.” He noted that the coal ash would collect in the cab and

  would form a “film” that covered the “floor, seats, dashboard, and windshield.”



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                                  #: 24394
         Mr. Gibson stated that the worker’s lunches were eaten “right in the middle of where the

  coal ash was.” He further explained that the workers did not have access to running water to clean

  the coal ash off their bodies, clothes, or other belongings. As he stated, “the only thing [workers]

  could use to get clean was wipes, but they never got all the coal ash off [his] body.”

         Mr. Gibson explained that he “carried [the coal ash] with [him] on [his] clothes everywhere

  when [he] left the site.” He stated that “ash was all over [him] and it got in [his] personal car.” He

  explained that when he returned home each day from working at the Kingston site, he had to take

  off his clothes outside, due to the coal ash on them. He noted that he “had to replace [his] washing

  machine” from washing his clothes, which were covered in coal ash. He further recalled that “if

  [he] needed to cough or blow [his] nose, the muc[us] would come out dark gray from all of the

  coal ash.” Another worker, Jeffrey Brewer, testified during his deposition that Mr. Gibson had

  stopped “letting his wife wash his clothes because she was getting sick from [the coal ash] also.”

         Mr. Gibson recalled that the workers were not allowed to wear dust masks on the Kingston

  site. As he described it, the equipment the workers were provided did not “actually protect[ them]

  from the coal ash.” He recalled that he asked Chris Eich, a Jacobs Engineering Group, Inc.

  employee “about wearing dust masks” on the site, and Mr. Eich responded that the workers “could

  not wear them” because the “public would see [them] wearing [the masks].” He further recalled

  Mr. Eich stating that workers would “be run off the site for wearing a dust mask.” Mr. Gibson

  recalled seeing a worker wearing a mask “and someone made him take it off.”

          In his deposition, Mr. Gibson discussed going with another worker, Brian Thacker, for “an

  evaluation and test to see if they could wear a respirator . . . on the site.” Mr. Thacker likewise

  testified that he and Mr. Gibson went for such an evaluation. However, Mr. Thacker explained that

  even after this evaluation, Tom Bock, a Jacobs Engineering Group, Inc. employee, denied him the



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                                  #: 24395
  opportunity to wear a mask on the Kingston site. Mr. Gibson also testified that he heard Mr. Bock

  tell workers that they could “eat a pound of ash a day for the rest of [their] life before it would hurt

  [them].”

         Based on the foregoing, it is my scientific opinion that Billy Joe Gibson, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24396
  ADDENDUM 17: Individualized Exposure Assessment of Timothy D. Gibson

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Timothy D. Gibson at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Carrie A. Redlich, MD, MPH.

  Materials Reviewed:

         With regard to Mr. Gibson, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Timothy Gibson’s Responses to Interrogatories;

                Employment Records for Timothy Gibson;

                Personal Air Monitoring Data;

                October 8, 2020 deposition of Rebecca Gibson; and

                August 28, 2017 Deposition of Timothy Gibson.

  Timothy Gibson’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Timothy Gibson was employed by GUBMK from March 2011

  to December 2011 and from March 2012 to August 2014. Mr. Gibson estimates he worked on the

  Kingston site from March 2011 to August 2014. Mr. Gibson worked as a truck driver, driving

  trucks on and around the Kingston site during that period. Mr. Gibson estimates that he regularly

  worked up to seven days a week for approximately ten hours per day, or more due to overtime,

  during this period from March 2011 to August 2014.


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                                  #: 24397
  Sampling and Testing Relevant to Timothy Gibson’s Work:

         Mr. Gibson’s work history indicates that he worked in the Dump Truck Operator SEG. The

  highest measured concentration in each year for this SEG are shown in the following table.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Dump Truck Operator
    2009                                    360                    260                   13
     2010                                                           95
     2011                                                           51
     2012                                                           36


         The sample results show that dump truck drivers such as Mr. Gibson were consistently

  exposed to airborne RPM concentrations that were elevated, with the highest value approximately

  25 times higher than the prevailing background PM2.5 concentration, indicating a substantial

  exposure to airborne fly ash. The fact that Mr. Gibson worked significant overtime makes his

  substantial exposures even more serious; if, for example, he worked 80 hours per week rather than

  40 it would have doubled his total dose from inhalation and ingestion and reduced the silica TLV®

  from 25 to 12.5 µg/m3, and then the silica measurement in the above table would have exceeded

  the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Timothy Gibson’s Exposure:

         Mr. Gibson has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, Mr. Gibson stated that he was “all over” the Kingston

  site and was “always covered in coal ash dust.” He explained how he could “look out in the

  distance and [] could see the coal ash hanging in the air.” He stated that even though water trucks

  attempted to wet the coal ash, “it’d be dry and dusty again in no time” and the coal ash would


                                                  2

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                                  #: 24398
  spread around the site. He also recalled that the workers’ “break areas were coated in coal ash

  because [they] were covered from head to toe]” in ash. As he put it, “You’d end up eating and

  drinking the coal ash.” He described the coal ash as having a “weird taste . . . [that] just lingered

  in [his] mouth all day.”

         Mr. Gibson explained that he “was always breathing in dust when [he] was out at

  Kingston.” He recalled that whenever he would blow his nose, “it’d come out black hours after

  [he] left the job site.” He explained that he has never been a smoker but that he has “coughed like

  crazy when [he] started working there.” Mr. Gibson stated that he “wanted to use a mask” on the

  site, but that the workers “weren’t allowed to have them.” In fact, Mr. Gibson testified during his

  deposition that he asked “Where’s our dust masks” and he was told that if he “ask[ed] that question

  again [he] won’t have a job.” As he put it, all the workers “knew that [they] would be fired if [they]

  asked for a mask.”

         As Mr. Gibson put it, “[y]ou could never get clean from the ash” while at the Kingston site.

  He recalled that “[t]here wasn’t any running water and the boot washes they provided made your

  boots even dirtier with coal ash because the water was never changed out.” He recalled the coal

  ash getting in his hair and ears. He explained that he “would track the coal ash into [his] personal

  vehicle and home after every shift” at the Kingston site. Mr. Gibson noted that his washing

  machine had to be replaced three different times because, as his wife believed, “so much ashy mud

  built up in it after every load of laundry.” In her deposition, Mr. Gibson’s wife, Rebecca Gibson,

  confirmed her suspicion that the coal ash ruined their washing machine. She explained that Mr.

  Gibson regularly came home dirty, and his clothes were covered with coal ash, following his work

  at the Kingston site.




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                                  #: 24399
          Based on the foregoing, it is my scientific opinion that Timothy Gibson, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24400
  ADDENDUM 18: Individualized Exposure Assessment of William Hedgecoth

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by William Hedgecoth at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Hedgecoth, I have reviewed the following documents, in addition to

  the documents listed in my attached report:

                Plaintiff William Hedgecoth’s Responses to Interrogatories;

                Employment Records for William Hedgecoth;

                Personal Air Monitoring Data; and

                August 4, 2020 Deposition of William Hedgecoth.

  William Hedgecoth’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Hedgecoth was employed by GUBMK from December 22,

  2008 to November 16, 2011. Mr. Hedgecoth estimates he worked on the Kingston site from

  December 2008 to November 2011. Mr. Hedgecoth worked as a “flagger,” directing trucks and

  heavy equipment throughout the Kingston site. Mr. Hedgecoth also cleaned heavy equipment,

  which required him to work on the Kingston site during that period. Mr. Hedgecoth estimates that

  he regularly worked up to seven days a week for approximately twelve hours per day for the first




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                                  #: 24401
  five months of that period. Mr. Hedgecoth worked full time throughout his tenure at the Kingston

  site.

  Sampling and Testing Relevant to William Hedgecoth’s Work:

          Mr. Hedgecoth’s work history indicates that he worked in the Flagger SEG. The highest

  measured concentration in each year for this SEG are shown in the following table.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Flagger
     2009                                  490                    140                  19
     2010                                  530                    110
     2011                                                         300                  23
     2012                                                          56                   9


          These sample results indicate a repeated, substantial exposure to workers in Mr.

  Hedgecoth’s SEG. The highest measured RPM concentration, 300 µg/m3, is approximately thirty

  times higher than the likely ambient background PM2.5 concentration, indicating a substantial

  exposure to airborne fly ash. The highest measured exposure to silica, a human carcinogen, 23

  µg/m3, is just slightly lower than the ACGIH TLV® of 25 µg/m3, and another silica measurement

  approached the TLV®. The fact that Mr. Hedgecoth worked significant overtime makes his

  substantial exposures even more serious; if, for example, he worked 80 hours per week rather than

  40 it would have doubled his total dose from inhalation and ingestion and reduces the silica TLV®

  from 25 to 12.5 µg/m3, and then 2 of the 3 silica measurements in the above table would have

  exceeded the TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.




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                                  #: 24402
  Evidence of William Hedgecoth’s Exposure:

           Mr. Hedgecoth has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that he “stood and walked around in

  the [coal] ash for all of [his] jobs.” He stated that he “walked around on the wet ash all day and it

  covered [his] boots” and that “[t]he dry ash that was always floating in the air got all over [his]

  body.” Mr. Hedgecoth recalled that if he “just barely brushed [his] arm, ash dust would fly off

  [him].” He explained that the coal ash “got in [his] hair, nose, ears, and [] all over [his] exposed

  skin.”

           Mr. Hedgecoth recalled one occasion where he “fell in a soft spot [of coal ash] up to [his]

  hips” and was stuck there for approximately twenty minutes. He explained that it was raining, and

  “the suction immobilized [him]” in the wet coal ash, which was “like mud, but worse.”

           Mr. Hedgecoth explained that when he worked as a flagger, “even more ash would get on

  [him] from all the dust that the trucks would kick up as they drove by [him].” He stated that he

  “blew [his] nose all the time and the dust would come out,” noting that he wore a bandana “just so

  [he] could wipe the ash from [his] nose more easily.” He further explained that he “constantly had

  to wipe [coal ash] out of [his] eyes and ears,” even though he was wearing safety glasses and ear

  plugs. He recalled the coal ash getting in his mouth “so bad that it was even in [his] spit.” Mr.

  Hedgecoth explained that he regularly drank water, but that “[a]sh dust was always inside the cup.”

  He stated that he “drank it anyway because [he] was so thirsty and have no reason to think it would

  hurt [him].”

           Mr. Hedgecoth testified in his deposition that the coal ash was “so horrible” because “it

  was everywhere.” He recalled that he was “blowing [coal ash] out of [his] nose . . . [and] was

  spitting it out of [his] mouth” on a daily basis. Mr. Hedgecoth testified that he requested to wear a



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                                  #: 24403
  mask while working at the Kingston site, but his supervisor, Mike Robinette, denied his request.

  Regarding his request, he explained that Mr. Robinette “said no, they won’t let him. [Jacobs]

  wouldn’t allow it.” Mr. Hedgecoth testified that no workers at the Kingston site were permitted to

  wear masks while working, except for certain workers who were “deconning.” Mr. Hedgecoth also

  testified that Tom Bock, a Jacobs Engineering Group, Inc. employee, told the workers at the site

  that coal ash was safe, saying “[A]ll it is is dust. You’d don’t have to worry about it. It’s like mud.”

  Mr. Hedgecoth stated that the workers believed Mr. Bock and assumed the coal ash was safe.

          Based on the foregoing, it is my scientific opinion that William Hedgecoth, more likely

  than not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity

  dose of coal fly ash during his employment at the Kingston site sufficient to result in numerous

  negative health effects as supported by the scientific literature.




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                                  #: 24404
  ADDENDUM 19: Individualized Exposure Assessment of Stanley Hill

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Stanley Hill at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Carrie A Redlich, MD, MPH.

  Materials Reviewed:

         With regard to Mr. Hill, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Stanley Hill’s Responses to Interrogatories;

                Employment Records for Stanley Hill;

                Personal Air Monitoring Data;

                April 7, 2017 Deposition of Stanley Hill; and

                November 5, 2020 Deposition of Stanley Hill.

  Stanley Hill’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Stan Hill was employed by GUBMK in December 2008 to

  January 2012 and from April 2012 to October 2012. Mr. Hill estimates he worked on the Kingston

  site from December 2008 to December 2011, in January 2012, and from April 2012 to October

  2012. Mr. Hill worked as the head general foreman, which required him to work on the Kingston

  site during that period. Mr. Hill estimates that he regularly worked up to six days a week for




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                                  #: 24405
  approximately eleven hours per day, or more due to overtime, during this period from December

  2008 to October 2012.

  Sampling and Testing Relevant to Stanley Hill’s Work:

           Mr. Hill’s SEG was Management/Administration. Unfortunately, only six workers in this

  SEG were monitored over the entire monitoring period. However, due to evidence described

  below, i.e., Mr. Hill spent considerable time walking throughout the exclusion zone, the other site-

  wide support staff SEGs, i.e., Field Staff and Sample Technician, likely are relevant to her

  exposures. The highest measured concentrations in each of these SEGs are summarized in the table

  below.

   SEG and year                       Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Field Staff
     2010                                                            <44
     2011                                                            220                   14
     2012                                                             27
     2013                                                             77
     2014                                    180                      47
   Management/Admin
     2009                                    290                      67
   Sample Technician
     2010                                    <190                   <134
     2011                                                            560                   19
     2012                                                            920                   23


           These sample results, in particular those for sample technicians, whose job it was to travel

  around the entire site monitoring workers and collect samples, confirm the likelihood that Mr. Hill

  was exposed to substantially elevated levels of airborne fly ash and its toxic constituents when he

  was required to leave his office. The sample technician RPM concentration of 920 µg/m3 is almost

  100 times higher than the prevailing background PM2.5 concentration, indicating a substantial

  exposure to airborne fly ash. The highest measured concentration for silica, a human carcinogen,

  is just lower than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Hill worked significant overtime

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                                  #: 24406
  makes his substantial exposures even more serious; if, for example, he worked 80 hours per week

  rather than 40 it would have doubled his total dose from inhalation and ingestion and reduces the

  silica TLV® from 25 to 12.5 µg/m3, and then all 3 of the silica measurements in the above table

  would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Stanley Hill’s Exposure:

         Mr. Hill has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that his job as head general foreman

  required him to walk around the Kingston site and “the ash was always all over [him]” as a result.

  According to Mr. Hill, the coal ash “got in [his] hair, nose, ears, mouth, eyes, and underneath [his]

  fingernails.” He recalled that the coal ash so regularly settled in his hair that his scalp turned dark.

  He explained that he could see the coal ash in the air constantly, and he could smell and taste it.

  He further stated that he “would get nose bleeds 2 or 3 times a week” because of the coal ash.

         Mr. Hill parked his personal vehicle outside the work zone, but that vehicle still had a grey

  film of coal ash which destroyed the windshield wipers to the point that they had to be replaced

  “at least 12 times in a couple of years.” He explained that the coal ash also got inside his personal

  vehicle and covered the floor mats, dashboard, steering wheel and windows. He stated that the coal

  ash inside his vehicle “was so bad it made it hard to see the gauges.”

         Mr. Hill had an office in the Berkshire house, which was located on the Kingston site. He

  recalled that the “office was always covered in ash.” He further recalled “see[ing] ash in [his]

  coffee cup” and stated that “ash even got under the lids of the water bottles [workers] drank from.”

  He explained that when he drank from the bottle, “[he] could taste [the coal ash]” which was



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                                  #: 24407
  “gritty” in his teeth. According to Mr. Hill, the coal ash on the floor of the workers’ break room

  was “at least 2 to 3 inches deep.”

           When Mr. Hill returned home each day from working at the Kingston site, he would “pull[

  his] clothes off on [the] porch and went straight to shower.” He recalled that the water in the shower

  turned black from all the coal ash on his skin. He stated that, “[e]ven though [he] tried to wipe all

  the ash out of [his] eyes, [he] would wake up in the middle of the night and still feel it in [his]

  eyes.”

           During his deposition, Mr. Hill testified that he often had to go into the coal ash with waders

  on and “there was such dust that you couldn’t see up the valley to the east or the north.” Regardless

  of his being surrounded by coal ash on the Kingston site, he testified that the workers “were never

  allowed to have dust masks.” In fact, Mr. Hill testified that, because he was a foreman on the site,

  other workers would ask him for a respirator or dust mask. He explained that he would then “ask

  management and management would tell [him] that [masks are] not to be worn on the [Kingston]

  site.”

           Based on the foregoing, it is my scientific opinion that Stanley Hill, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24408
  ADDENDUM 20: Individualized Exposure Assessment of David Johnson

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by David Johnson at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Documents Reviewed:

         With regard to Mr. Johnson, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff David Johnson’s Responses to Interrogatories;

                Employment Records for David Johnson;

                Personal Air Monitoring Data; and

                August 4, 2020 Deposition of David Johnson.

  David Johnson’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that David Johnson was employed by GUBMK from April 2011 to

  December 2013. Mr. Johnson estimates that he worked on the Kingston site from April 2011 to

  December 2013. Mr. Johnson worked as a truck driver, driving an articulated dump truck on and

  around the Kingston site during that period. Mr. Johnson estimates that he regularly worked fix

  or six days a week for approximately ten hours per day, or more due to overtime, during this period

  from April 2011 to December 2013.




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                                  #: 24409
  Sampling and Testing Relevant to David Johnson’s Work:

           His work history indicates that Mr. Johnson worked in the Articulated Dump Truck

  Operator SEG. The highest measured concentrations in this SEG are summarized in the table

  below.

   SEG and year                      Total Dust (µg/m3)     Resp. PM (µg/m3)        Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                     390                    260                  13
    2010                                     350                    <42                  <8
    2011                                                            200                  17
    2012                                                            120                  13
    2013                                                             62
    2014                                     200


           These sample results indicate a repeated, substantial exposure to workers in Mr. Johnson’s

  SEG. The highest measured RPM concentration, 260 µg/m3, is approximately 25 times higher than

  the likely ambient background PM2.5 concentration, indicating a substantial exposure to airborne

  fly ash. The highest measured exposure to silica, a human carcinogen, 17 µg/m3, is slightly less

  than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Johnson worked significant overtime makes

  his substantial exposures even more serious; if,for example, he worked 80 hours per week rather

  than 40 it would have doubled his total dose from inhalation and ingestion and reduces the silica

  TLV® from 25 to 12.5 µg/m3, and then 3 of the 64silica measurements in the above table would

  have exceeded the TLV®.

           In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of David Johnson’s Exposure:

           Mr. Johnson has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that “[w]hile working at the Kingston site,


                                                   2

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                                  #: 24410
  [he] was always covered in coal ash.” He noted that the coal ash regularly got in his truck’s air

  filter, which “would be covered with coal ash” so thick that he “could beat the dust off of it.” He

  recalled that his “bright yellow truck” became so covered in coal ash that it “look[ed] grey.” He

  also recalled the coal ash “get[ting] on [his] food” while easting at the Kingston site.

         Mr. Johnson explained that his clothes regularly were covered in coal ash, so much so that

  he “had to wash the clothes that [he] wore to work at the site every day.” He recalled that there

  was a “small pan of water to wash [his] boots off when leaving the site.” He also testified during

  his deposition that he had to use “bottled water” and “paper towels” to wash coal ash off himself.

         Mr. Johnson discussed how he regularly tried to clean the coal ash out of his truck while

  working on the Kingston site. He recalled coal ash also getting in his personal car, which he had

  to clean out roughly every couple of days. When he returned home each day after working at the

  site, he would take his clothes off before entering the house. He recalled that he “couldn’t get [the

  coal ash] off of [himself]” or his clothes. His girlfriend would wash his work clothes in the washing

  machine, and Mr. Johnson recalled that “she had to wipe the washer out to get the black [from the

  coal ash] out of it.” He further explained that when he would shower “the water would turn black”

  due to the coal ash.

         In his deposition, Mr. Johnson recalled receiving “training” when he first arrived at the

  Kingston site to work. He “remember[ed] very clearly” that during this training, Tom Bock, a

  Jacobs Engineering Group, Inc. employee, “told [the workers they] could eat a pound of [coal ash]

  a day” and that the coal ash “wouldn’t hurt” them. Although he did not “eat a pound” of coal ash,

  Mr. Johnson believed that, over the course of his working at the Kingston site, he “might have

  ingested a pound of it.”




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                                  #: 24411
         Mr. Johnson testified that he did not wear a mask or respirator while working at the

  Kingston site. He explained that “[t]hey didn’t want [the workers] to wear them.” He recalled

  another worker, Kevin Thompson, asking to wear a mask, but “they finally got rid of him because

  he was told to wear a mask.” Mr. Johnson stated that Mr. Thompson “left Kingston . . . because

  they wouldn’t let him work . . . and wear a mask.” Prior to this, Mr. Johnson never felt the need to

  wear a mask because Mr. Bock had told him and the other workers that “there wasn’t nothing to

  hurt you” in the coal ash.

         Based on the foregoing, it is my scientific opinion that David Johnson, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24412
  ADDENDUM 21: Individualized Exposure Assessment of Fred C. Jones

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Fred C. Jones at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Jones, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Fred C. Jones’ Responses to Interrogatories;

                Employment Records for Fred C. Jones;

                Personal Air Monitoring Data; and

                August 31, 2020 Deposition of Fred C. Jones.

  Fred C. Jones’ Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Jones was employed by GUBMK from November 2009 to

  May 2011; and by Johnson Contractors Inc. from August 2011 to February 2012. Mr. Jones

  estimates that he worked on the Kingston site from October 2009 to February 2012. Mr. Jones

  worked in the exclusion zone on the Kingston site as a truck driver, driving a “guzzler truck” on

  and around the Kingston site. Mr. Jones estimates that he worked up to seven days a week for

  approximately ten hours per day, or more due to overtime, during this period from October 2009

  to February 2012.


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                                  #: 24413
  Sampling and Testing Relevant to Fred C. Jones’ Work:

         Mr. Jones’ work history indicates that he worked in the Dump Truck Operator SEG. The

  highest measured concentration in each year for this SEG are shown in the following table.

   SEG and year                       Total Dust (µg/m3)      Resp. PM (µg/m3)      Silica (µg/m3)
   Dump Truck Operator
    2009                                      360                   260                   13
     2010                                                            95
     2011                                                            51
     2012                                                            36


         The sample results show that dump truck drivers such as Mr. Jones were consistently

  exposed to airborne RPM concentrations that were elevated, with the highest value about 25 times

  higher than the prevailing background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The fact that Mr. Jones worked significant overtime makes his substantial

  exposures even more serious; if, for example, he worked 80 hours per week rather than 40 it would

  have doubled his total dose from inhalation and ingestion and reduced the silica TLV® from 25 to

  12.5 µg/m3, and then the silica measurement in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Fred C. Jones’ Exposure:

         Mr. Jones has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that coal ash “was always flying around in

  the air on the [Kingston site].” He explained that “[t]he coal ash stuck to [him]” and was “all over

  [him] including [his] hair, nose, mouth, ears, and all on [his] skin.” He recalled the ash covering

  his hands and arms regularly and getting in his hair “even though [he] worse a hardhat.” He stated

  that he “could see the ash particles all over [his] clothes.”


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                                  #: 24414
         Despite being covered in ash, there was not a place on the Kingston site for Mr. Jones to

  clean the ash off his body or clothes. He stated that he “had to pour water from a water bottle on

  [his] arms to try to rinse off the ash.” When he washed his face, his skin felt “gritty.” He also

  explained that he was “constantly wip[ing] down [his safety glasses with a handkerchief” in order

  to see through the coal ash. He stated that he “had to blow and wipe [his] nose constantly with a

  handkerchief . . . so much that it turned black” from the ash in his mucus.

         Mr. Jones recalled the coal ash “cover[ing] the outside of [his] truck,” and he explained

  that the coal ash “got all in [his] cab.” He explained that coal ash was present in the trailer where

  workers would eat their lunch. As he stated, although the trailer was “swept out several times a

  day,” the coal ash returned and “just [got] on everything . . . [and] just constantly [was] getting on

  the floors and on the tables.” He recalled that as trucks drove on and around the Kingston site, “the

  ash [would] kick up and cover [him].”

         Mr. Jones explained that he “had to wipe [him]self down before [he] got into [his] personal

  truck at the end of the day” following work at the Kingston site. He “always tried to knock as much

  of the coal ash off of [himself] before [he] went home, but [he] could not get all of the ash off of

  [himself] or [his] clothes.” When he got home each day from working at the site, he took his clothes

  off in the basement to avoid tracking more coal ash into his home.

         During his deposition, Mr. Jones described the dust at the Kingston site as “constant” and

  “overwhelming” because there was “so much of it.” Mr. Jones did not wear a mask or respirator

  during the time he worked at the Kingston site. He testified that Jacobs employees told him that

  dust masks and respirators were not required at the site because the coal ash was “safe” and “[t]hey

  said you could eat it.” Mr. Jones explained that it was common knowledge to not request or discuss

  the need for a mask or “you may be getting your layoff.” As he explained, he “had no reason at



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                                  #: 24415
  the time to suspect that all that ash on [his] body and personal belonging[s] would hurt [him],”

  because the workers had been told the coal ash was safe.

         Based on the foregoing, it is my scientific opinion that Fred C. Jones, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24416
  ADDENDUM 22: Individualized Exposure Assessment of David Jones

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by David Jones at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Jones, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff David Jones’ Responses to Interrogatories;

                Personal Air Monitoring Data;

                October 23, 2020 Deposition of David Jones; and

                November 2, 2020 Deposition of David Jones.

  David Jones’ Work at the Kingston Coal Ash Recovery Site:

         Mr. Jones estimates that he worked on the Kingston site from August 21, 2009 to June 28,

  2012, and from August 1, 2012 to August 9, 2013. Mr. Jones worked as a “flagger,” directing

  trucks and heavy equipment on and throughout the Kingston site. Mr. Jones also worked “in the

  ball field delivering [coal] ash from the slew trench to rail cars.” Mr. Jones also sometimes operated

  a vacuum truck on the Kingston site. These jobs required him to work on the Kingston site during

  those periods. Mr. Jones estimates that he initially worked up to seven days per week for




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                                  #: 24417
  approximately twelve hours per day, but then estimates that after a few months he regularly worked

  six to seven days per week for approximately ten hours per day during those periods.

  Sampling and Testing Relevant to David Jones’ Work:

         Mr. Jones’ work history indicates that he worked in the following SEGs: Flagger and

  Vacuum Truck Operator. The highest measured concentration in each year for this SEG are shown

  in the following table.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Vacuum Truck Operator
     2009                                                          110                   30
     2012                                                           52
   Flagger
     2009                                  490                     140                   19
     2010                                  530                     110
     2011                                                          300                   23
     2012                                                           56                    9


         These sample results indicate a repeated, substantial exposure to workers in Mr. Jones’

  SEGs. The highest measured RPM concentration, 300 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 30 µg/m3, exceeds

  the ACGIH TLV® of 25 µg/m3, and two other silica measurements approach the TLV®. The fact

  that Mr. Jones worked significant overtime makes his substantial exposures even more serious; if,

  for example, he worked 80 hours per week rather than 40 it would have doubled his total dose

  from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3, and then 3 of

  the 4 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.



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                                  #: 24418
  Evidence of David Jones’ Exposure:

            Mr. Jones has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that he “worked directly in the coal ash

  and regularly walked throughout the site.” In his depositions, he testified that he was in the

  exclusion zone, or the “ash zone” as he called it, on the Kingston site nearly all the time.

            Mr. Jones explained that his job duties on the Kingston site required to be in close

  proximity to the ash. He explained that as a flagger, he was required to stand outdoors on the

  Kingston site, directing trucks and heavy equipment throughout the site. He stated that the trucks

  and heavy equipment regularly kicked up coal ash as they drove by, which regularly settled on and

  covered him. He recalled that the coal ash “got all over [him] and [his] personal belongings,”

  including “in [his] hair and on [his] skin.” He further explained that he “worked in the ball field

  delivering ash from the slew trench to rail cars.” He recalled that the coal ash “got all over [his]

  truck.”

            During his depositions, Mr. Jones stated that he worked in the “exclusion zone” for nearly

  all the time he worked at the site. He testified that when he would eat lunch, even if in a designated

  area, the designated areas were regularly covered with coal ash, and he recalled tasting coal ash on

  his food. He further explained that his truck on the Kingston site was regularly covered with coal

  ash.

            Mr. Jones further testified that Tom Bock, a Jacobs Engineering Group, Inc. employee,

  told the workers that masks or respirators were not allowed to be worn while working on the

  Kingston site. He also recalled Mr. Bock saying that “you could take a spoon and eat the fly ash

  and you’d be okay.” Mr. Jones also testified that he complained to Chris Eich, another Jacobs

  Engineering Group, Inc. employee, that the workers should be allowed to wear respirators and



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                                  #: 24419
  Tyvek suits while working on the site. He recalled that Mr. Eich responded that “This is the

  government . . . The government will knowingly put [the workers] in harm’s way.” Mr. Jones

  believed that he was laid off because he complained to Tom Bock that he was having problems

  breathing. As he recalled, he was laid off approximately two or three weeks after having such a

  discussion with Tom Bock.

          Based on the foregoing, it is my scientific opinion that David Jones, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24420
  ADDENDUM 23: Individualized Exposure Assessment of Jimmy Kilby

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Jimmy Kilby at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

         With regard to Mr. Kilby, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Jim Kilby’s Responses to Interrogatories;

                Personal Air Monitoring Data; and

                October 12, 2017 Deposition of Jimmy Kilby.

  Jimmy Kilby’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Kilby estimated that he worked on the Kingston site from December 2008 to August

  2015. Mr. Kilby was among the first workers on the Kingston site following the coal ash spill. Mr.

  Kilby worked as a heavy equipment operator, operating a variety of machines, including a track

  hoe and a bulldozer, on and around the Kingston site. Mr. Kilby estimates that he worked up to

  seven days a week for approximately twelve per day, or more due to overtime, during this period

  from December 2008 to August 2015. During a seven month period, Mr. Kilby recalled working

  “without a day off.”




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                                  #: 24421
  Sampling and Testing Relevant to Jimmy Kilby’s Work:

         Based on his work history, air sampling done for the SEGs Excavator Operator and Dozer

  Operator are relevant to Mr. Kilby’s work at the Kinston site. The highest measured concentrations

  in each SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                   210                    69
     2010                                  1400
     2011                                                          690                  18
     2012                                                          520
     2013                                                         1100                   7
     2014                                  240
   Dozer Operator
    2009                                   1300                   210                   18
     2010                                   930                    58
     2011                                                         200                   26
     2012                                                          77
     2013                                                          61


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, 50 – 100 times higher than the prevailing background PM2.5

  concentration, indicating a substantial exposure to airborne fly ash. The highest measured

  concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of 25 µg/m3. The fact

  that Mr. Kilby worked significant overtime makes his substantial exposures even more serious; if,

  for example, he worked 80 hours per week rather than 40 it would have doubled his total dose

  from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3, and then 3 of

  the 4 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.


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                                  #: 24422
  Evidence of Jimmy Kilby’s Exposure:

         Mr. Kilby has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he recalled being “the third or fourth worker on the

  [Kingston] site.” He recalled that “[t]he Kingston site and everything on it was always covered in

  coal ash.” He explained that the coal ash “got onto all the machines, buildings, and people,” and

  “[t]here was so much ash in the air that it looked like a dust cloud. He stated that the ash on the

  ground “was so dry that it was easily kicked up into the air,” and he “could see the ash floating

  around in the air” at the site. As he noted, “[e]ven though the water trucks tried to keep the ash on

  the ground wet, they could not keep it down effectively. It dried out very quickly.”

         Mr. Kilby explained that coal ash regularly covered him “head to toe.” He stated that “[t]he

  ash was so fine that it stuck to me easily” and “got on [his] face, clothes, and boots.” He recalled

  that it was “difficult to wash [the coal ash] out because it was so fine and [he] was constantly

  exposed to it. Mr. Kilby stated that the coal ash got “all over [his] skin” and “into [his] ears, eyes,

  nose, and mouth.” He recalled that he “could taste the ash in [his] mouth” and described it being

  “gritty like sand.”

         Mr. Kilby stated that his equipment “was always covered in a film of coal ash.” He noted

  that “[t]he ash got inside the cab through the windows, open doors, and the air vents.” He explained

  that whenever he exited his equipment to walk around the site, “coal ash fell off my boots and

  clothes onto everything” when he returned to his equipment. He recalled that coal ash covered the

  floorboards and “[i]t was all over the seats, dashboard, and windshield.” As he put it, there was

  “no escaping” the coal ash.

         Mr. Kilby explained that he was never given a mask while working at the Kingston site.

  He stated that he “could not even bring [his] own mask if [he] wanted to because they were not



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                                  #: 24423
  allowed to be worn on the site.” He testified during his deposition that “[a] guy brought [a mask]

  and . . . wore it and he was told to take it home.” He further recalled another worker, John Cox,

  “wearing a dust mask and then . . . he wasn’t allowed to wear it.” He stated that none of his personal

  protective equipment “actually protected [him] from the coal ash.”

         When returning home each day after working at the Kingston site, Mr. Kilby recalled that

  he was “still covered in coal ash.” He explained that although boot washing stations were on the

  Kingston site, “they were not effective.” He explained that “[a]fter just a couple workers walked

  through the tubs of water, they were not good for cleaning anything.” As a result, he regularly

  “tracked the coal ash from [his] boots and clothes into [his] personal car and in [his] home.”

         Based on the foregoing, it is my scientific opinion that Jimmy Kilby, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24424
  ADDENDUM 24: Individualized Exposure Assessment of Glenn Knight

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Glenn Archie Knight at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Knight, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Knight’s Responses to Interrogatories;

                Employment Record for Glenn Knight;

                Personal Air Monitoring Data; and

                August 1, 2017 Deposition of Knight.

  Glenn Knight’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Knight was employed by GUBMK from February 2009 to

  March 2009 and from March 2011 to December 2013. Mr. Knight estimates that he worked on the

  Kingston site “for a few months” beginning in January 2009, and from March 2011 to December

  2013. Mr. Knight worked as a truck driver, driving an articulated dump truck on and around the

  Kingston site during those periods. Mr. Knight estimates that “at first” he regularly worked up to

  seven days a week for approximately twelve hours per day, but then estimates that he regularly

  worked approximately fifty hours per week.


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                                  #: 24425
  Sampling and Testing Relevant to Glenn Knight’s Work:

         His work history indicates that Mr. Knight worked in the Articulated Dump Truck Operator

  SEG. The highest measured concentrations in this SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                    390                    260                   13
    2010                                    350                    <42                   <8
    2011                                                           200                   17
    2012                                                           120                   13
    2013                                                            62
    2014                                    200


         These sample results indicate a repeated, substantial exposure to workers in Mr. Knight’s

  SEG. The highest measured RPM concentration, 260 µg/m3, is approximately twenty-five times

  higher than the likely ambient background PM2.5 concentration, indicating a substantial exposure

  to airborne fly ash. The highest measured exposure to silica, a human carcinogen, 17 µg/m3, is

  slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Knight worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 3 of the 64silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Glenn Knight’s Exposure:

         Mr. Knight has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he recalled that his “truck was always covered with coal




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                                  #: 24426
  ash.” He stated that he was “breathing it in all the time.” He explained that “[t]he coal ash would

  get on [his] clothes, on [his] face, and even in [his] nose and mouth.”

            Mr. Knight explained that “you could see all the [coal] ash in the air like dust storms.” He

  explained that the coal ash was such a problem that he regularly had to call for a water truck to

  come pour water on the coal ash near where he was working, so as to reduce the dust in the air and

  so that the dry coal ash would not blow into the air and cover him. He testified during his deposition

  that the coal ash was present everywhere on the Kingston site, including designated areas where

  workers could eat their lunches.

            Mr. Knight recalled that “[t]he coal ash would be on [his] face because [he] didn’t have a

  mask” while working at the Kingston site. He testified during his deposition that he was “sure” he

  breathed in coal ash when he was working on the site. He further explained that he “knew [coal

  ash] wasn’t good” for the workers to breathe in. However, he never asked to wear a mask because

  he “knew other[ workers] had asked and were told they would be laid off if they wore one on site.”

  As he explained during his deposition, “[t]hey didn’t want the general public to see [the workers]

  wearing masks” on the Kingston site. He testified that masks were not even discussed during “pre-

  job meetings” because wearing masks on the Kingston site was “something that just wasn’t talked

  about.”

            At some point, Mr. Knight recalled developing breathing problems. As he recalled, after

  working on the Kingston site, he began to “hav[e] trouble breathing and sleeping.” He brought this

  to the attention of management, including Tom Bock, a Jacobs Engineering Group, Inc. employee.

  Mr. Knight recalled that Mr. Bock told him on at least one occasion that coal ash safe. He recalled

  that Mr. Bock stated that “nothing out there [on the site] could harm [the workers]” and that a

  person “could eat [coal ash] or drink it if [he] wanted to.”



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                                  #: 24427
          Based on the foregoing, it is my scientific opinion that Glenn Knight, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24428
  ADDENDUM 25: Individualized Exposure Assessment of Clint Mannis

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Clint Mannis at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Norman Latov, MD.

  Materials Reviewed:

         With regard to Mr. Mannis, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Clint Mannis’ Responses to Interrogatories;

                Employment Records for Clint Mannis;

                Personal Air Monitoring Data; and

                August 11, 2017 Deposition of Clint Mannis.

  Clint Mannis’ Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Mannis was employed by GUBMK from February 25,

  2010 to December 1, 2011. Mr. Mannis estimates he worked on the Kingston site from February

  2010 to December 2011. Mr. Mannis worked a variety of jobs on the Kingston site. He worked as

  a heavy equipment operator, operating an amphibious track hoe, a bulldozer, and other heavy

  machinery on and around the Kingston site. He also worked on dredging. Mr. Mannis estimates

  that he worked for up to approximately fourteen hours per day, due to overtime, during this period

  from February 2010 to December 2011.


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                                  #: 24429
  Sampling and Testing Relevant to Clint Mannis’ Work:

         Based on his work history, air sampling done for the SEGs Amphibious Excavator

  Operator and Dozer Operator are relevant to Mr. Mannis’ work at the Kinston site. The highest

  measured concentrations in each SEG are summarized in the table below.

   SEG and year                      Total Dust (µg/m3)      Resp. PM (µg/m3)        Silica (µg/m3)
   Amphibious Excavator Op
     2009                                   1200                     550                   41
     2010                                    270                     110                   16
     2011                                                            240                    7
     2012                                                             44
     2013                                                             62
   Dozer Operator
    2009                                    1300                     210                   18
     2010                                    930                      58
     2011                                                            200                   26
     2012                                                             77
     2013                                                             61


         These measurements indicate very high exposures to these SEGs. The TPM and RPM

  measurements in 2009 and 2010 represent exposures that were approximately 5 – 50 times higher

  than the prevailing background PM2.5 concentration, indicating a substantial exposure to airborne

  fly ash. The two highest measured concentrations for silica, a human carcinogen, both exceed the

  ACGIH TLV® of 25 µg/m3.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Clint Mannis’ Exposure:

         Mr. Mannis has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that the Kingston site was “like nothing

  you’ve ever seen in your life. It looked like a different planet.” He recalled that “[e]verything was



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                                  #: 24430
  completely coated in coal ash almost all the time; our food, our bathrooms, our cabs, our personal

  vehicles. There was no way to escape [the coal ash].”

         Mr. Mannis recalled that the cab of his heavy equipment was “always coated in coal ash.”

  He noted that this was “especially bad” in the winter “because it was muddier and we’d track [coal

  ash] into the cab.” He recalled that once the mud dried, it turned into “dry dust” and would “just

  be floating inside” the cab, which he then breathed in. He further recalled that when he would eat

  his meals at a break area situated “in the middle” of the Kingston site, his food would regularly be

  covered in coal ash. “The wind would gust or a truck would drive by and suddenly your whole

  meal would be covered in ash.” He testified that the coal ash was so prevalent that “[y]ou could

  wipe the tables down and within ten or 15 minutes you could come back and wipe that table down

  again and still have ash.”

         Mr. Mannis explained that he was regularly “coated in coal ash from head to toe when [he]

  was at work and when [he] left work.” He explained, “There was no way to get clean after your

  shift. There were no showers, no place to change clothes, and no place to even wash your hands.”

  As a result, he recalled “tracking the coal ash mud into [his] personal truck and into [his] house.”

  When he returned home following his shift at the Kingston site, he was “coated in coal ash mud.”

         Mr. Mannis recalled that his “wife said that the coal ash mud was always caked onto the

  bottom part of [his] pants, and sometimes it would be an inch thick. She said that she could see it

  all over [his] face and in [his] hair when [he] came home.” He testified in his depositions that she

  told him on “quite a few” occasions, “You’re not coming in my home. Looks like you’ve rolled in

  this [coal ash] stuff.” Mr. Mannis recalled that his wife washed his clothes and that she regularly

  “reach[ed] in and pull[ed] out a wad of gray muck” following each laundry load of his work

  clothes. He noted that “[t]he coal ash destroyed my washing machine and [they] had to buy a new



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                                  #: 24431
  one.” He explained that “[w]ashing the coal ash off of me in [his home’s] shower turned the base

  of [his] shower completely black and permanently stained it,” which required replacement. Mr.

  Mannis explained that “[t]he coal ash particles [weren’t] the same as regular every-day dust;

  they’re really fine and shiny instead of dull.” He noted that he “had to rip the carpet out because

  there was no way to keep it clean” of coal ash. He explained that his grandchildren crawled over

  the carpet and he was concerned about their exposure to the coal ash dust.

         Mr. Mannis testified that he asked Tom Bock, a Jacobs Engineering Group, Inc. employee,

  “why aren’t we suited up or . . . why don’t we have dust masks.” Mr. Mannis recalled that Mr.

  Bock simply replied, “Well, you don’t need [masks] out here [on the Kingston site]. We don’t

  provide them. You don’t need them. Don’t ask for them.” Mr. Mannis spoke with other workers

  who relayed that they had also requested dust masks and were likewise denied. As he testified, Mr.

  Mannis believed that due to the prevalence of coal ash on the Kingston site, “they should have had

  us set up with full face masks with clean oxygen for us to breathe.” However, as he explained, no

  masks or respirators were provided to the workers on the Kingston site.

         Based on the foregoing, it is my scientific opinion that Clint Mannis, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24432
  ADDENDUM 26: Individualized Exposure Assessment of Michael J. McCarthy

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Michael J. McCarthy at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

         With regard to Mr. McCarthy, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Michael McCarthy’s Responses to Interrogatories;

                Personal Air Monitoring Data;

                April 11, 2017 Deposition of Jeffrey Brewer;

                February 10, 2017 Deposition of Michael McCarthy;

                October 14, 2020 Deposition of Michael McCarthy; and

                Trial Testimony of Ernestine Sargent.

  Michael McCarthy’s Work at the Kingston Coal Ash Recovery Site:

         Mr. McCarthy estimates that he worked on the Kingston site from December 26, 2008 to

  December 2013. Mr. McCarthy worked as a heavy equipment operator, operating a bulldozer and

  other heavy machinery on and around the Kingston site during that period. Mr. McCarthy also held

  the position of peer safety champion on the Kingston site, which involved interfacing with workers

  on the site regarding their safety. Mr. McCarthy estimates that he worked up to approximately


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                                  #: 24433
  sixteen hours per day, due to overtime, in the weeks and months immediately following the coal

  ash spill. Following that, he continued to work regularly at the Kingston site.

  Sampling and Testing Relevant to Michael McCarthy’s Work:

         Based on his work history, air sampling done for the SEGs Excavator Operator and Dozer

  Operator are relevant to Mr. McCarthy’s work at the Kinston site. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                      Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                    210                     69
     2010                                   1400
     2011                                                           690                  18
     2012                                                           520
     2013                                                          1100                   7
     2014                                   240
   Dozer Operator
    2009                                    1300                    210                  18
     2010                                    930                     58
     2011                                                           200                  26
     2012                                                            77
     2013                                                            61


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, approximately 50 – 100 times higher than the prevailing background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest measured

  concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of 25 µg/m3. The fact

  that Mr. McCarthy worked significant overtime makes his substantial exposures even more

  serious; if, for example, he worked 80 hours per week rather than 40 it would have doubled his

  total dose from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3, and

  then 3 of the 4 silica measurements in the above table would have exceeded the TLV®.


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                                  #: 24434
         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Michael McCarthy’s Exposure:

         Mr. McCarthy has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, Mr. McCarthy described the Kingston site as “like

  being on [M]ars.” He explained that he “had been to that area previously” and, following the coal

  ash spill, “it was unrecognizable.” He explained that shortly after the coal ash spill, he would see

  “[t]he ash was still moving down the river” and “[i]t kept spreading out further with time.” He

  noted that “[d]ust was everywhere and coated everything.”

         Mr. McCarthy explained that he “worked in all areas of the [Kingston] site.” He noted that

  he “would go into some of the worst working conditions” on the Kingston site. Despite this, he

  explained that “[t]here was nothing blocking me from the coal ash because they wouldn’t let us

  wear masks.” Mr. McCarthy testified that he believed that some masks had been removed from

  the “supply trailer” on the Kingston site by Ernestine Sargent, an employee of G-UB-MK

  Constructors. Ms. Sargent confirmed this to Mr. McCarthy, and she testified at trial that she

  removed these masks from the Kingston site at the urging of Tom Bock, a Jacobs Engineering

  Group, Inc. employee. When Mr. McCarthy asked whether he could wear a mask on the site, Chris

  Eich, a Jacobs Engineering Group, Inc. employee, told Mr. McCarthy “[t]hat [he] would be

  hanging [him]self . . . by [his] own genitals.” Other workers, including Ansol Clark and Jeffrey

  Brewer, witnessed this conversation between Mr. McCarthy and Mr. Eich and have confirmed that

  Mr. McCarthy was denied the opportunity to wear a mask. In short, Mr. McCarthy and other

  workers were threatened with retaliation if they were caught wearing masks on the Kingston site.




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                                  #: 24435
         Mr. McCarthy explained that coal ash mud would “cake” his boots. Although there were

  boot washing stations on the Kingston site, he noted that “[i]n the winters, the boot washes would

  be completely frozen” and thus were unusable. Inside the cab of his heavy machinery, he would

  see “the ash [] flake off our boots.” He also explained that “[t]he ash/dust would go airborne

  anytime you hit a bump, and you could see it floating in the cab.” Mr. McCarthy explained that

  there was “never [] any real way to get the coal ash off of our bodies, hands, or clothes. There was

  no running water or wipes.” He states that the workers often ate their meals in open areas, and

  “[a]nytime a truck rolled by or the wind gusted, [his] lunch would be coated in ash.” He explained

  that he “constantly had this awful taste in [his] mouth,” which he described as tasting metallic, like

  aluminum foil.

         Mr. McCarthy recalled that he would leave the Kingston site each workday “coated from

  head to toe” with “ash in [his] hair, nose, and ears.” “[His] body and face would be covered in the

  [coal ash].” He explained that he would blow “black stuff out of [his] nose from the time that I got

  off of my shift until the time I started the next shift.” In short, even when not on the Kingston site,

  he was still affected constantly by the coal ash. He recalled that his house was “coated in coal ash”

  with “no real way to prevent it.” He worried that he was exposing his two infant children and his

  wife to the coal ash because he was “coated” in it.

         Based on the foregoing, it is my scientific opinion that Michael McCarthy, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24436
  ADDENDUM 27: Individualized Exposure Assessment of Jean Nance

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Jean Nance at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; C. Ola Landgren, MD, PhD; and Raajit Rampal, MD, PhD.

  Materials Reviewed:

         With regard to Ms. Nance, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Judy Ivens’ Responses to Interrogatories;

                Personal Air Monitoring Data;

                August 17, 2020 Deposition of Judy Ivens;

                October 26, 2020 Deposition of Mike Bledsoe;

                November 5, 2020 Deposition of Stanley Hill;

                October 9, 2020 Declaration of Mike Bledsoe;

                October 9, 2020 Declaration of Stanley Hill; and

                Trial Testimony of Thomas Bock.

  Jean Nance’s Work at the Kingston Coal Ash Recovery Site:

         It is estimated that Ms. Nance worked on the Kingston site from December 2008 to March

  2012. Ms. Nance held an administrative/logistics position, which required her to work on the

  Kingston site during that period. Ms. Nance began working in this position in the days following


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                                  #: 24437
  the December 22, 2008 coal ash spill, and she was among the first workers to begin work on the

  Kingston site. Her job duties required her to frequently meet with employees, contractors, and

  other workers on the Kingston site. Ms. Nance worked in one of the trailers, which were utilized

  as make-shift offices at the Kingston site, located in the area known as “trailer city” near the

  exclusion zone. It is estimated that Ms. Nance worked four days a week for approximately ten

  hours per day, or more due to overtime, during this period.

  Sampling and Testing Relevant to Jean Nance’s Work:

           Ms. Nance’s SEG was Management/Administration. Unfortunately, only 6 workers in this

  SEG were monitored over the entire monitoring period. However, due to evidence, described

  below, that Ms. Nance spend considerable time walking throughout the exclusion zone, the other

  site-wide support staff SEGs, i.e., Field Staff and Sample Technician, likely are relevant to her

  exposures. The highest measured concentrations in each of these SEGs are summarized in the table

  below.

   SEG and year                       Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Field Staff
     2010                                                            <44
     2011                                                            220                   14
     2012                                                             27
     2013                                                             77
     2014                                    180                      47
   Management/Admin
     2009                                    290                      67
   Sample Technician
     2010                                    <190                   <134
     2011                                                            560                   19
     2012                                                            920                   23


           These sample results, in particular those for sample technicians, whose job it was to travel

  around the entire site monitoring workers and collect samples, confirm the likelihood that Ms.

  Nance was exposed to substantially elevated levels of airborne fly ash and its toxic constituents

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                                  #: 24438
  when she was required to leave her work trailer. While in her trailer, the absence of relevant air

  sampling requires us to rely on other evidence for her likely exposures, as discussed below.

  Evidence of Jean Nance’s Exposure:

         Ms. Nance died on September 25, 2015 and cannot describe her own exposure to the coal

  ash. However, other workers, such as Michael Bledsoe and Stanley Hill, have explained that they

  met Ms. Nance through their work at the Kingston site. Mr. Bledsoe and Mr. Hill submitted

  declarations regarding their knowledge of Ms. Nance’s exposure to coal ash, which they each

  confirmed in their depositions. They explained that Ms. Nance worked in a trailer located in “trailer

  city,” which was located outside the exclusion zone but still on the Kingston site, and that she

  performed various administrative tasks, including creating badges for the workers on the Kingston

  site. Mr. Bledsoe explained that Ms. Nance wore regular “street clothes” and “non-work boots.”

  Mr. Bledsoe and Mr. Hill testified during their depositions that Ms. Nance’s desk was immediately

  to the right when you walk into the trailer.

         In their declarations, Mr. Bledsoe and Mr. Hill estimated that numerous workers would

  visit with Ms. Nance every day and that these “workers tracked the coal ash from their boots and

  clothes inside and all around Jean Nance’s trailer.” Mr. Hill testified that he regularly took workers

  to meet with Ms. Nance to obtain badges for working on the Kingston site. Mr. Bledsoe testified

  that he would visit with Ms. Nance on a regular basis, “probably a couple times a week.” Mr.

  Bledsoe witnessed the coal ash “settle all over the floor of her trailer,” even after workers had

  attempted to wash their boots before entering the trailer. Mr. Bledsoe explained that the coal ash

  would “spread everywhere in Jean Nance’s trailer,” and he “could see it floating in the air.” On

  one occasion, Mr. Bledsoe noticed coal ash settling on Ms. Nance’s belongings, including some

  documents she was holding. Mr. Hill testified that he saw coal ash dust on Ms. Nance’s table. Mr.



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                                  #: 24439
  Bledsoe described Ms. Nance’s trailer as being the one of the “dirtiest place on the Kingston site”

  despite being designated as a “clean zone.”

         In his declaration, Mr. Hill stated that “[t]he constant traffic of dirty work boots and the

  dry ash floating in the air made Jean Nance’s trailer filthy” and her trailer was “covered in fly ash.”

  Mr. Hill saw the coal ash accumulating on the trailer’s floor and noticed that it “got on everything,

  including on Jean Nance’s clothing and face.” Mr. Hill observed that Ms. Nance likely was

  “exposed to airborne fly ash as much as, if not more than, many workers who spent their entire

  shifts in the exclusion zone.” As Mr. Hill explained, sometimes the ash inside Ms. Nance’s trailer

  “was so dry and thick in the air” that he sometimes had to cover his nose in order to breathe inside.

  Mr. Hill explained that the air in and around Ms. Nance’s trailer had the same “glittery look” as

  that seen in the air in the exclusion zone on the Kingston site. However, Mr. Hill explained that

  “inside Jean Nance’s trailer . . . it was often dustier there than in the exclusion zone.” Mr. Hill

  described Ms. Nance’s trailer, and particularly the area around her desk, as “one of the most

  constantly dusty places on the entire site.”

         During her August 17, 2020 deposition, Ms. Nance’s twin sister, Judith Ivens, stated that

  Ms. Nance’s job duties required that she “walk around the coal ash spill site on a regular basis to

  provide ID badges” and that she was “out a lot just delivering badges” to workers on the Kingston

  site. Ms. Nance’s job duties also required that she notify workers of the results of background

  checks, which would require that Ms. Nance go out onto the Kingston site to inform affected

  workers. Further, Ms. Nance’s job duties required that she sometimes order supplies and deliver

  them to those on the Kingston site. Ms. Ivens stated that Ms. Nance was “out in the field walking

  around quite a bit.” Despite Ms. Nance’s duties requiring her to be on the Kingston site, Ms. Ivens

  stated that her knowledge Ms. Nance did not wear personal protective equipment.



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                                  #: 24440
         Ms. Ivens stated that when Ms. Nance returned home from work at the Kingston site, “[h]er

  car had a dust film on it.” Ms. Ivens explained that the coal ash was visible as a “grayish” dust,

  both inside and on the outside of Ms. Nance’s vehicle. Ms. Ivens described that the vehicle Ms.

  Nance drove began to smell “different” over the course of her work on the Kingston site. Ms. Ivens

  further described that she noticed a “sort of film on her clothes” after Ms. Nance returned from

  work at the Kingston site. Moreover, Ms. Ivens could see coal ash dust in Ms. Nance’s hair when

  she returned from work at the Kingston site.

          Ms. Ivens also testified that Ms. Nance would go to work at the Kingston site and would

  have to “brush off” coal ash from her desk before she could work, and that Ms. Nance kept a lid

  over her coffee to prevent coal ash from settling in it, and that Ms. Nance often cleaned the coffee

  pot because of the coal ash dust. Moreover, Plaintiff Ivens explained that Ms. Nance described

  how she could “taste” the coal ash when she was working at the Kingston site. Just days before

  she died, Ms. Nance stated that she knew she “wouldn’t be in this condition if [she] hadn’t gone

  to work at Kingston.”

         During trial, Tom Bock, an employee of Jacobs Engineering Group, Inc. who worked on

  the Kingston site, testified about a complaint regarding one of the trailers in trailer city. This

  complaint stated that “Large quantities of dust [were seen] in Jacobs’ trailer. Need to look into

  ventilation filters, if any exist, and possibly station air monitors in the office. Dust is fine

  particulate and could be ash particles which are unsafe to breathe.” This complaint specifically

  mentioned that “large quantities” of dust—and potentially coal ash particles—were visible in one

  of the Jacobs trailers. One can assume that this trailer was either Ms. Nance’s specific trailer, or

  that it was in close proximity to Ms. Nance’s trailer, that they would have been in substantially

  similar conditions. This complaint is similar to what Mr. Bledsoe and Mr. Hill describe regarding



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                                  #: 24441
  Ms. Nance’s trailer: that coal ash dust was visible, either on the floor, on other surfaces, or in the

  air. However, just as the complaint notes, no ventilation filters or air monitoring equipment was in

  use in or around these trailers. In short, it appears that no measures were taken to address the

  widespread, endemic existence of coal ash in and around the trailers in trailer city, including Ms.

  Nance’s trailer.

         Based on the foregoing, it is my scientific opinion that Jean Nance, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24442
  ADDENDUM 28: Individualized Exposure Assessment of Frankie Norris

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Frankie Norris at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Norris, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Frankie Norris’ Responses to Interrogatories;

                Employment Records for Frankie Norris;

                Personal Air Monitoring Data; and

                August 16, 2017 Deposition of Frankie Norris.

  Frankie Norris’ Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Norris was employed by GUBMK from February 17, 2009

  to December 1, 2011 and from August 21, 2012 to October 2, 2012; and by Phillips & Jordan, Inc.

  from April 15, 2014 to March 11, 2015. Mr. Norris estimates that he worked on the Kingston site

  from February 2009 to March 2015. Mr. Norris worked as an operator, operating a bulldozer on

  and around the Kingston site during that period. Mr. Norris also worked “fueling the trucks,”

  required him to work at the Kingston site during that period. Mr. Norris estimates that he regularly




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                                  #: 24443
  worked up to seven days a week for approximately ten hours per day, during this period from

  February 2009 to March 2015.

  Sampling and Testing Relevant to Frankie Norris’ Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Norris: Dozer Operator, Fuel Truck Operator. The Water Truck Operator SEG is also relevant to

  Mr. Norris. The highest measured concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Dozer Operator
    2009                                  1300                    210                  18
     2010                                  930                     58
     2011                                                         200                  26
     2012                                                          77
     2013                                                          61
   Fuel Truck Operator
     2011                                                         320                  24
   Water Truck Operator
     2009                                  170
     2010                                  380                    109
     2011                                                         320                  24
     2012                                                         150                  10
     2013                                                         280
     2014                                                          58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Norris’

  SEGs. The TPM measurements for Dozer Operator indicate very high levels of exposure in this

  SEG. The highest measured RPM concentration, 320 µg/m3, found in two different SEGs, is

  approximately thirty times higher than the likely ambient background PM2.5 concentration,

  indicating a substantial exposure to airborne fly ash. The highest measured exposure to silica, a

  human carcinogen, 26 µg/m3, exceeds than the ACGIH TLV® of 25 µg/m3, and two other silica

  measurements were just below the TLV®. The fact that Mr. Norris worked significant overtime

  makes his substantial exposures even more serious; if for example he worked 80 hours per week


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                                  #: 24444
  rather than 40 it would have doubled his total dose from inhalation and ingestion and reduces the

  silica TLV® from 25 to 12.5 µg/m3, and then 4 of the 5 silica measurements in the above table

  would have exceeded the TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Frankie Norris’ Exposure:

          Mr. Norris has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he stated “[t]he whole time [he] worked at Kingston,

  coal ash was all over [him].” He explained that “[t]he ash got onto everything on the site including

  the equipment, trailers, conex boxes, and especially, the workers.” He recalled that the coal ash

  “settled on [his] skin and even got in [his] mouth . . . [and] was also in [his] nose and ears.” Mr.

  Norris stated that he could taste the coal ash and that his wife “could even taste it on [him] at the

  end of the day when [he] came home.” As he put it, “The whole site was covered constantly [in

  coal ash] . . . [and i]t got in every nook and cranny because it was always floating around in the air

  on the site.”

          Mr. Norris stated that he “could see the ash in the air” at the Kingston site. He described

  the coal ash as being “so fine that it would kick up very easy and get into everything.” He explained

  that “even though [he] wore safety glasses, the ash still got behind the glasses and in [his] eyes.”

  He stated that the coal ash “burned [his] eyes” caused them to become “watery,” which still

  remains a problem to this day.

          Mr. Norris recalled regularly eating his lunch “in a conex box with other workers.” He

  explained that “[t]he conex was filthy and ash was all over the floor.” Although there were boot

  washing stations at the Kingston site, they were ineffective as they were just “little pans with



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                                  #: 24445
  water,” which “put more ash on you than they took off.” As he described it, “After a few workers

  used them, the pans looked like a slurry of water and coal ash.”

         Mr. Norris explained that he regularly “walked around the site . . . and worked in the cab

  of [his] trucks.” He stated, “The ash covered the outside and inside of [his] vehicles. The cabs of

  [his] work truck and [his] personal truck were also covered in the coal ash.” He recalled that “[a]t

  the end of the day, there was still so much ash on [him] that it got all in [his] personal car [and]

  was always on the floor and dash and everywhere.”

         Mr. Norris recalled trying to get coal ash off his clothes at the Kingston site. “[A]fter [the

  workers] got there, they had this little pan of water and after the first one went in it was – you got

  more on you than you got off. And your clothes . . . your clothes [were] saturated with [coal ash].”

  He further stated that the inside of the Kingston site trailers were “excessively dusty.” As he

  described it, coal ash was visible in the air and “you could rub your finger through it and you could

  see where your finger went.”

         During his deposition, Mr. Norris testified that he did not wear a dust mask or respirator

  while working at the Kingston site because he had heard from several people that “they would fire

  you” for wearing a mask while working at the site. Mr. Norris stated that management did not want

  people wearing dust masks on the Kingston site because they “[d]idn’t want the public seeing

  [them] for some reason or another.” He recalled that, on different occasions, Tom Bock and Chris

  Eich, both Jacobs Engineering Group, Inc. employees, told him that “you would be fired if [you]

  asked for a dust mask.” He also recalled Mr. Bock and Mr. Eich saying that coal ash was “safe”

  and that “there was nothing in it that would hurt you.” On another occasion, Mr. Norris was told

  that the workers “could eat eight pounds of [coal ash] a day, [and it] wouldn’t hurt [them].”




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                                  #: 24446
         Based on the foregoing, it is my scientific opinion that Frankie Norris, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24447
  ADDENDUM 29: Individualized Exposure Assessment of Nicholas Perry

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Nicholas Perry at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Perry, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Nick Perry’s Responses to Interrogatories;

                Employment Records for Nicholas Perry;

                Personal Air Monitoring Data; and

                October 19, 2020 Deposition of Nicholas Perry.

  Nicholas Perry’s Work at the Kingston Coal Ash Recovery Site:

         Employment records indicate that Mr. Perry worked at the Kingston site from January 2012

  to August 2014. Mr. Perry estimates he worked on the Kingston site from January 28, 2012 to

  August 2014. Mr. Perry worked inside the exclusion zone on the Kingston site as a laborer,

  cleaning and vacuuming vehicles and equipment daily. These duties required him to work on the

  Kingston site during that period. Mr. Perry estimates that he regularly worked up to seven days a

  week for approximately ten hours per day, or more due to overtime, during this period from

  January 28, 2012 to August 2014.


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                                  #: 24448
  Sampling and Testing Relevant to Nicholas Perry’s Work:

         Based on his work history, Mr. Perry worked in the General Laborer SEG. The highest

  measured concentrations in each year in this SEG are shown in the following table.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)        Silica (µg/m3)
   General Laborer
    2009                                   2000                   570                   49
    2010                                   2500                   440                   <9
    2011                                                          190                   21
    2012                                                           96
    2013                                                          120                   16
    2014                                   480


         These sample results indicate a repeated, substantial exposure to workers in Mr. Perry’s

  SEG. The TPM measurements in 2009 and 2010 are among the highest measurement in the entire

  data set and represent levels that are very difficult to create and maintain in an outdoor

  environment, since they are approximately 100 times higher than the ambient background TPM

  levels. The highest measured RPM concentration, 570 µg/m3, is approximately fifty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 49 µg/m3, is twice

  the ACGIH TLV® of 25 µg/m3.

         The fact that Mr. Perry worked significant overtime makes his substantial exposures even

  more serious; if, for example, he worked 80 hours per week rather than 40 it would have doubled

  his total dose from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3,

  and then 3 of the 4 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.




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                                  #: 24449
  Evidence of Nicholas Perry’s Exposure:

           Mr. Perry has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that he “was constantly standing and

  walking in coal ash.” He stated that his “face would be covered in ash all day and when [he] came

  home.”

           Mr. Perry recalled that there were “soft spots” on the Kingston site that he could sink down

  into. During his deposition, he testified that on at least one occasion“[he] fell in some [coal ash]

  and they had to scoop [him] out with an excavator.” He explained that the coal ash “ate the leather

  on [his] boots.” He testified that at the end of his shift “[m]ost of the time the front of [his clothes]

  was pretty dusty.” He recalled that when he came home each day after working at the Kingston

  site, he would take his clothes off in the garage and “ash would just fall off of them and [his body]

  all over the floor.”

           Mr. Perry explained that “the ash got up inside” his gloves regularly, causing his hands to

  become “dirty from the ash.” He stated that regularly there was “[a]sh in [his] facial area, in [his]

  ears, the stuff from where it blew during the day.” Despite this, he explained that he did not wear

  a mask while working on the Kingston site “aside from a plastic face mask when weed eating” or

  when vacuuming equipment on the site. He testified, “A coupled [workers] had been let go for

  asking for a respirator.” In particular, Mr. Perry testified that Kevin Thompson, a worker on the

  Kingston site, was rumored to have been fired for wearing a dust mask at the site.

           Based on the foregoing, it is my scientific opinion that Nicholas Perry, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.



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                                  #: 24450
  ADDENDUM 30: Individualized Exposure Assessment of James Phillips

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by James Phillips at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Phillips, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff James Phillips’ Responses to Interrogatories;

                Personal Air Monitoring Data; and

                October 16, 2020 Deposition of James Phillips.

  James Phillips’ Work at the Kingston Coal Ash Recovery Site:

         Mr. Phillips estimates that he worked on the Kingston site from 2009 to 2013. Mr. Phillips

  worked various jobs on the Kingston site, including: as a laborer with a dredging crew, cleaning

  equipment, and working at the “car wash” on the site. These jobs required him to work in the

  exclusion zone at the Kingston site during that period. Mr. Phillips estimates that he regularly

  worked up to seven days a week for approximately ten hours per day, or more due to overtime,

  during this period from 2009 to 2013.




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                                  #: 24451
  Sampling and Testing Relevant to James Phillips’ Work:

         Based on his work history, Mr. Phillips worked in the General Laborer SEG. The highest

  measured concentrations in each year in this SEG are shown in the following table.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   General Laborer
    2009                                  2000                    570                   49
    2010                                  2500                    440                   <9
    2011                                                          190                   21
    2012                                                           96
    2013                                                          120                   16
    2014                                   480


         These sample results indicate a repeated, substantial exposure to workers in Mr. Phillip’s

  SEG. The TPM measurements in 2009 and 2010 are among the highest measurement in the entire

  data set and represent levels that are very difficult to create and maintain in an outdoor

  environment, since they are approximately 100 times higher than the ambient background TPM

  levels. The highest measured RPM concentration, 570 µg/m3, is approximately fifty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 49 µg/m3, is twice

  the ACGIH TLV® of 25 µg/m3.

         The fact that Mr. Phillips worked significant overtime makes his substantial exposures even

  more serious; if, for example, he worked 80 hours per week rather than 40 it would have doubled

  his total dose from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3,

  and then 3 of the 4 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.




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                                  #: 24452
  Evidence of James Phillips’ Exposure:

         Mr. Phillips has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that “[he] was covered in ash all the time”

  and “[he] was always in it.” He recalled that the coal ash “coated [his] skin and dried it out to.” He

  further recalled that “could taste the ash in the air all the time” and that the coal ash “would get in

  [his] mouth and eyes every day.” Mr. Phillips stated that the Kingston site was “so dusty that you

  couldn’t even see the machinery working at times.” He recalled that he sunk “knee deep” in the

  coal ash on several occasion and that he “had a hard time getting out of it.”

         Mr. Phillips recalled that his car “also got covered in ash.” When he returned home each

  day after working at the Kingston site, he “tried to take [his] clothes off outside . . . because they

  would be so dirty.” He recalled that he had to replace his washing machine because he had used it

  to regularly wash his work clothes. He further stated, “When [he] took a shower, the water would

  be grey from all the ash.”

         In his deposition, Mr. Phillips reiterated that the Kingston site was “very dusty” and noted

  that the ash “dried your skin out real bad.” He testified that he never wore a mask while working

  at the Kingston site and that “they didn’t even have them.” He further explained, “They didn’t

  even want [the workers] to ask for [masks]” to wear while working on the site. As he put it, “they

  said if you were asking for masks and stuff, that’s probably the best way to get out of a job.”

         After developing some shortness of breath while working at the Kingston site., Mr. Phillips

  spoke with Tom Bock, a Jacobs Engineering Group, Inc. employee, who told Mr. Phillips that “the

  ash was not . . . what was making [him] sick and it was safe and it wouldn’t hurt [him].” Mr.

  Phillips recalled Mr. Bock stating that “you could eat [coal ash] and be fine.” In fact, Mr. Phillips

  he witnessed Mr. Bock making these statements “several” workers that coal ash was safe.



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                                  #: 24453
         Based on the foregoing, it is my scientific opinion that James Phillips, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24454
  ADDENDUM 31: Individualized Exposure Assessment of Joseph Pursiful

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Joseph Pursiful at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Pursiful, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Joseph Pursiful’s Responses to Interrogatories;

                Employment Records for Joseph Pursiful;

                Personal Air Monitoring Data;

                October 8, 2020 Deposition of Brenda Pursiful; and

                August 18, 2017 Deposition of Joseph Pursiful.

  Joseph Pursiful’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Pursiful was employed by GUBMK from December 2008

  to August 2013. Mr. Pursiful estimates that he worked on the Kingston site from December 27,

  2008 to August 9, 2013. Mr. Pursiful worked inside the exclusion zone on the Kingston as a truck

  driver, driving a dump truck and a water truck on and around the Kingston site. Mr. Pursiful

  estimates that he regularly worked up to seven days a week for approximately twelve hours per




                                                   1

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                                  #: 24455
  day, which was later reduced to approximately ten hours per day, during this period from

  December 27, 2008 to August 9, 2013.

  Sampling and Testing Relevant to Joseph Pursiful’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Pursiful: Dump Truck Operator, Water Truck Operator. The highest measured concentrations in

  each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Dump Truck Operator
    2009                                   360                    260                   13
     2010                                                          95
     2011                                                          51
     2012                                                          36
   Water Truck Operator
     2009                                  170
     2010                                  380                    109
     2011                                                         320                   24
     2012                                                         150                   10
     2013                                                         280
     2014                                                          58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Pursiful’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Pursiful worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 7 silica measurements in the

  above table would have exceeded the TLV®.



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                                  #: 24456
         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Joseph Pursiful’s Exposure:

         Mr. Pursiful described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he stated that “[t]here was always coal ash everywhere

  you went at the [Kingston] site; you could never get away from it.” He recalled regularly being

  “covered from head to toe in the ash” and that “[he] could taste it.” As he described it, “It did not

  matter where you went, or where you took your break, there was always ash coating every surface.”

  He stated that “[h]e would have it on [his] hands, face, nose, eyes, ears, and hair.” He recalled

  “cough[ing] or sneez[ing] and brownish dark muc[us] would come out.”

         Mr. Pursiful described the Kingston site as “like a big dust bowl.” He explained that

  workers “would wet the ash down, but it would get dusty as soon as the sun hit the ash.” He recalled

  being told to “wet down stationary monitors because it helped make it seem like it wasn’t too dusty

  to work.” However, Mr. Pursiful explained that “[i]t was always dusty.”

         Mr. Pursiful noted that it was difficult to keep his truck clean because of the dust. He stated,

  “With time, my white truck turned yellow from constantly being coated in the ash.” He testified

  during his deposition that “no matter how tight you kept your windows and kept your filters blew

  out, [coal ash] would still build up [and] would get in the cab.” He recalled that when he returned

  home each day after working at the Kingston site, “the coal ash ended up staining” his house.

         Mr. Pursiful’s wife, Brenda Pursiful, testified in her deposition that she visited Mr. Pursiful

  near the Kingston site and noticed that his shoes and pants covered in “white dust.” She further

  testified that when Mr. Pursiful came home after working at the Kingston site “[h]e still had the

  white dust on his clothes, particularly around his shoes, the bottom of his pants area.”



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                                  #: 24457
         During his deposition, Mr. Pursiful testified that he voiced some “concerns” about his

  health to Tom Bock, a Jacobs Engineer Group, Inc. employee, but he “was denied.” He recalled

  Mr. Bock stating, “[Y]ou could eat a pound of [coal ash] a day. Don’t breathe it.” Mr. Pursiful

  understood that to mean that coal ash was not hazardous to be around at the Kingston site. Mr.

  Pursiful explained that he stopped wearing a mask after approximately three weeks on the job

  because he was advised that coal ash was safe.

         Based on the foregoing, it is my scientific opinion that Joseph Pursiful, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24458
  ADDENDUM 32: Individualized Exposure Assessment of Ralph Ramey

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Ralph Ramey at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Ramey, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Ralph Ramey’s Responses to Interrogatories;

                Personal Air Monitoring Data;

                September 29, 2020 Deposition of James Patterson; and

                August 13, 2020 Deposition of Ralph Ramey.

  Ralph Ramey’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Ramey estimates that he worked on the Kingston site from early 2009, shortly after

  the coal ash spill occurred, to 2012. Mr. Ramey worked inside the exclusion zone on the Kingston

  site as a truck driver, hauling rock and other materials on and around the Kingston site during that

  period. Mr. Ramey estimates that he worked six days a week for approximately ten hours per day,

  or more due to overtime, during this period from early 2009 to 2012. Mr. Ramey’s brother, James

  Patterson, who was the co-owner of Big Springs Farms Excavating & Trucking, stated that Mr.




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                                  #: 24459
  Ramey worked seven days a week for approximately fourteen hours per day while working at the

  Kingston site from early 2009 to 2012.

  Sampling and Testing Relevant to Ralph Ramey’s Work:

         Mr. Ramey’s work history indicates that he worked in the Dump Truck Operator SEG. The

  highest measured concentration in each year for this SEG are shown in the following table.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)        Silica (µg/m3)
   Dump Truck Operator
    2009                                    360                     260                   13
     2010                                                            95
     2011                                                            51
     2012                                                            36


         The sample results show that dump truck drivers such as Mr. Ramey were consistently

  exposed to airborne RPM concentrations that were elevated, with the highest value about 25 times

  higher than the prevailing background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The fact that Mr. Ramey worked significant overtime makes his substantial

  exposures even more serious; if, for example, he worked 80 hours per week rather than 40 it would

  have doubled his total dose from inhalation and ingestion and reduced the silica TLV® from 25 to

  12.5 µg/m3, and then the silica measurement in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Ralph Ramey’s Exposure:

         Mr. Ramey has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he stated that the “coal ash was everywhere and always

  covered [him] when [he] worked at the site.” He recalled, “When [he] got out of [his] truck, [his]

  boots got covered in wet ash . . . [w]hen [he] got back into [his] cab, the ash from [his] boots got


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                                  #: 24460
  all over the floorboard. [He] had to sweep out the cab of [his] truck often because so much ash

  from [his] boots and from the ash in the air got inside.” He explained that the “dry ash made the

  air on the site very dusty” and “was so thick with fly ash that it was hazy all the time.” He further

  added that “[w]hen [he] showered after work, so much ash would come off [his] body that the

  water in the tub was black.”

         During Mr. Ramey’s deposition, he testified that at the end of the day he would have coal

  ash on his clothes, arms, hands, and face to the point where “[he]’d be black” with dust. Despite

  this, he did not have “access to the washing stations with the water bottles and the boot washes.”

  He explained that he had both inhaled and ingested coal ash on a regular basis while at the Kingston

  site. Mr. Ramey stated that he did not wear a mask while working on the Kingston site, and he did

  not recall other workers wearing masks while working on the site.

         Ralph Ramey’s brother and business co-owner, James Patterson, testified that he and Mr.

  Ramey started working at the Kingston site soon after the ash spill occurred: “[I]t was a disaster.

  All of Swan Pond Road was covered with ash . . . We were all over the site. We weren’t in no

  particular place. We worked for a long time on site, the trucks did. We drove right out into the ash

  for days.” Mr. Patterson further described the roads that he and Mr. Ramey drove on as having

  “ash all over it. That whole valley was full of ash material, and [they] were travelling through it.”

         Mr. Patterson recalled that truck washes on the Kingston site were essentially “just like

  spraying ash mud on the windows of them . . . [they]’d have to stop and wipe the windows because

  [they] couldn’t see to travel once the washers even washed [the truck] because the water was

  contaminated filthy.” Mr. Patterson stated that the truck washes never improved during their time

  at the Kingston site and that “[i]t was a filmy nasty wash every time [they] went through it” due to

  the coal ash.



                                                   3

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                                  #: 24461
         Mr. Patterson testified that he would see Mr. Ramey at the end of most work days at the

  Kingston site and described his clothes as “filthy.” He noted that “[e]verybody was filthy, dusty,

  filthy.” Mr. Patterson stated that “masks wasn’t required. They said it was not a hazardous site . .

  . [and] they didn’t like you to wear the masks because it put off a bad vibe.” He also “asked the

  guy at Jacobs if mask . . . were required to wear them and did we need to wear them, and he said

  it wasn’t a hazardous site.”

         Based on the foregoing, it is my scientific opinion that Ralph Ramey, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24462
  ADDENDUM 33: Individualized Exposure Assessment of Jimmy Roberts

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Jimmy Roberts at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Roberts, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Jimmy Roberts’ Responses to Interrogatories;

                Employment Records for Jimmy Roberts;

                Personal Air Monitoring Data; and

                August 13, 2020 Deposition of Jimmy Roberts.

  Jimmy Roberts’ Work at the Kingston Coal Ash Recovery Site:

         Employment records indicate that Mr. Roberts was employed by TransAsh Inc. from June

  2009 to August 2009; by Sevenson Environmental from March 2010 to May 2010; and by

  GUBMK from February 2011 to December 2013. Mr. Roberts estimates that he worked on the

  Kingston site from June 2009 to December 2013. Mr. Roberts worked in the exclusion zone on the

  site as a truck driver, driving an off-road truck, a water truck, a fuel truck, and a “low boy” on and

  around the Kingston site during those periods. Mr. Roberts estimates that he regularly worked six

  days a week for approximately ten hours per day, or more due to overtime, during those periods.


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                                  #: 24463
  Sampling and Testing Relevant to Jimmy Roberts’ Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Roberts: Articulated Dump Truck Operator, Dump Truck Operator, Fuel Truck Operator, Water

  Truck Operator. Fuel truck operators were only monitored in 2011 and 2012. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
     2009                                  390                    260                   13
     2010                                  350                    <42                   <8
     2011                                                         200                   17
     2012                                                         120                   13
     2013                                                          62
     2014                                  200
   Dump Truck Operator
    2009                                   360                     260                  13
     2010                                                           95
     2011                                                           51
     2012                                                           36
   Fuel Truck Operator
     2011                                                          320                  24
     2012                                                           38
   Water Truck Operator
     2009                                  170
     2010                                  380                     109
     2011                                                          320                  24
     2012                                                          150                  10
     2013                                                          280
     2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Roberts’

  SEGs. The highest measured RPM concentration, 320 µg/m3, measured for both his work as fuel

  truck and water truck driver, is approximately thirty times higher than the likely ambient

  background PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest
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                                  #: 24464
  measured exposure to silica, a human carcinogen, 24 µg/m3, again measured for two of his jobs,

  is just slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Roberts worked significant

  overtime makes his substantial exposures even more serious; if for example he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 6 of the 8 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Jimmy Roberts’ Exposure:

         Mr. Roberts has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that “[a]t the Kingston site, [his] body was

  always covered in coal ash.” He explained that the coal ash “got all on [his] clothes and all over

  [his] skin” and “got down in [his] ear and nose.” As he recalled, “When [he] blew [his] nose, black

  mucus would come out on a regular basis.” He further explained that coal ash regularly got in his

  eyes, even though he wore safety glasses.

         Mr. Roberts also explained that “[he] had to walk around [the Kingston site]” and the coal

  ash would “stick to [his] boots and the bottom of [his] pants.” He recalled “[t]here were a lot of

  dust storms kicking up the ash into the air” because “[t]he water trucks were always going but they

  could not keep [the coal ash] down.” As he stated, “the ash from outside was so thick in the air

  that it flew into [his] truck when [he] opened the doors.” Mr. Roberts further explained that Jacobs

  would do sampling on rainy days when the ash [in] the air was not as bad.”

         During his deposition, Mr. Roberts testified that Tom Bock, a Jacobs Engineering Group,

  Inc. employee, told the workers at the Kingston site “every chance he could” that they “could eat



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Case 3:13-cv-00505-TAV-SKL Document 771-1 Filed 05/17/21 Page 263 of 323 PageID
                                  #: 24465
  a pound of coal ash a day and . . . be okay.” Mr. Roberts also testified that he did not wear a mask

  while working at the Kingston site because it was not allowed. He recalled other workers asking

  to wear a mask on the site, and “[t]hey got laid off.” Specifically, Mr. Roberts recalled that another

  worker, Kevin Thompson, “asked for a dust mask, and then . . . wasn’t there very much longer”

  before he was laid off.

         After returning home each day from working at the Kingston site, Mr. Roberts “took off

  [his] dirty work clothes and showered right away.” He recalled that when he showered, “the water

  was black from all the ash on [his] skin.”

         Based on the foregoing, it is my scientific opinion that Jimmy Roberts, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24466
  ADDENDUM 34: Individualized Exposure Assessment of James William “Bill” Rose

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by James William “Bill” Rose at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; C. Ola Landgren, MD, PhD; and Raajit Rampal, MD,

  PhD.

  Materials Reviewed:

         With regard to Mr. Rose, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Kaleb William Rose’s Responses to Interrogatories;

                Personal Air Monitoring Data;

                August 10, 2020 Deposition of Kaleb William Rose; and

                August 4, 2020 Deposition of Donald Vangilder.

  Bill Rose’s Work at the Kingston Coal Ash Recovery Site:

         It is estimated that Bill Rose worked on the site from June 2011 to September 2011. Bill

  Rose worked as a truck driver, which required him to work on and around the site during that

  period. In particular, Bill Rose drove a truck hauling coal ash, dirt, and other materials on and

  around the site.




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                                  #: 24467
  Sampling and Testing Relevant to Bill Rose’s Work:

         Mr. Rose’s work history indicates that he worked in the Dump Truck Operator SEG. The

  highest measured concentration in each year for this SEG are shown in the following table.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Dump Truck Operator
    2009                                   360                     260                   13
     2010                                                           95
     2011                                                           51
     2012                                                           36


         The sample results show that dump truck drivers such as Mr. Rose were consistently

  exposed to airborne RPM concentrations that were elevated, with the highest value about 25 times

  higher than the prevailing background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Bill Rose’s Exposure:

         Bill Rose died on August 22, 2015 and cannot describe his own exposure to the coal ash.

  However, another worker, Donald Vangilder, has explained that he regularly worked with Bill

  Rose on and around the site. Mr. Vangilder testified that both he and Bill Rose were both truck

  drivers who worked at the site during the same period.

         Mr. Vangilder explained that, despite remaining in the cab of the truck, Bill Rose was still

  regularly exposed to coal ash on the site. Mr. Vangilder explained that dust from the coal ash was

  “everywhere” on the site, including in the exclusion zone and elsewhere on the site. Mr. Vangilder

  noted that Bill Rose “went everywhere” driving on the site. Mr. Vangilder explained that Bill Rose

  was “just driving [on the site] and just stirring up dust.” When he saw Bill Rose, Mr. Vangilder


                                                  2

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                                  #: 24468
  regularly noticed coal ash “on his face,” “in his eyes,” “in his nose,” and “just all over his body.”

  Mr. Vangilder recalled that coal ash “would even get on your sandwiches when you were eating

  your lunch on the site” and would be ingested.

         Mr. Vangilder regularly observed coal ash on Bill Rose’s body and in the cab of his truck.

  Mr. Vangilder explained that Bill Rose had to “always wip[e] the dust off the dash [of his truck]”

  so he could see the truck’s gauges. Mr. Vangilder also explained that he and Bill Rose were

  “always carrying little rages” to “wip[e] our windshields off.” Mr. Vangilder recalled Bill Rose

  asking for paper towels regularly to clean coal ash from within the truck’s cab. Mr. Vangilder

  noted that the coal ash could accumulate in the truck’s cab in “thick” layers. Mr. Vangilder further

  recalled that the coal ash would settle on the seats and, when patted, it would produce a “little

  cloud” of coal ash within the truck’s cab. As he noted, Mr. Vangilder “personally observed this

  for Bill Rose.”

         Mr. Vangilder explained that Bill Rose was never able to “be away from the coal ash dust”

  while working. As he noted, the coal ash was “on all the trucks, so you’re driving, it’s just stirring

  up inside the cab and it’s spinning around. There’s just so much [of the coal ash]. It ain’t going to

  go out [of the truck’s cab].” Mr. Vangilder further explained that he could smell and taste the coal

  ash within the truck, would commonly “blow in [his] eyes” and he would be “constantly rubbing

  [his] eyes” because of the coal ash in the truck’s cab. As Mr. Vangilder noted, he “personally

  observed” this type of environment in Bill Rose’s truck.

         When Bill Rose ended his work shift for the day, as Mr. Vangilder stated, Bill Rose would

  “tak[e] his shirts off, dusting everything off” so as not to get his personal vehicle dusty before

  going home for the day. However, as Mr. Vangilder testified, this did not work because the coal

  ash was too “fine” and was “just really dusty.”



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                                  #: 24469
         Based on the foregoing, it is my scientific opinion that Bill Rose, more likely than not, was

  exposed by inhalation and ingestion to a dose of coal fly ash during his employment at the Kingston

  site that was of sufficient intensity and duration so as to result in numerous negative health effects

  as supported by the scientific literature.




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                                  #: 24470
  ADDENDUM 35: Individualized Exposure Assessment of Mike Shelton

          This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

          The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Mike Shelton at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; Frances Arena, MD; and Sanjay Rajagopalan, MD.

  Materials Reviewed:

          With regard to Mr. Shelton, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Angela Shelton’s Responses to Interrogatories;

                Personal Air Monitoring Data;

                August 7, 2020 Deposition of Angela Shelton; and

                August 11, 2020 Deposition of Phillip Crick.

  Mike Shelton’s Work at the Kingston Coal Ash Recovery Site:

          It is estimated that Mr. Shelton worked on the Kingston site from December 2008 to 2015.

  Mr. Shelton worked as a truck driver, driving an articulating dump truck, a fuel truck, or a water

  truck on and around the Kingston site during that period. Mr. Shelton also worked dredging

  materials. Mr. Shelton estimates that he regularly worked six to seven days a week for

  approximately twelve hours per day, or more due to overtime, during this period from 2009 to

  2015.




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                                  #: 24471
  Sampling and Testing Relevant to Mike Shelton’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Shelton: Articulated Dump Truck Operator, Fuel Truck Operator, Water Truck Operator. Fuel

  truck operators were only monitored in 2011 and 2012. The highest measured concentrations in

  each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                   390                    260                  13
    2010                                   350                    <42                  <8
    2011                                                          200                  17
    2012                                                          120                  13
    2013                                                           62
    2014                                   200
   Fuel Truck Operator
    2011                                                          320                  24
    2012                                                           38
   Water Truck Operator
    2009                                   170
    2010                                   380                    109
    2011                                                          320                  24
    2012                                                          150                  10
    2013                                                          280
    2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Shelton’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, measured for both his work as fuel

  truck and water truck driver, is approximately 30 times higher than the likely ambient background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest measured

  exposure to silica, a human carcinogen, 24 µg/m3, again measured for two of his jobs, is just

  slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Shelton worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and


                                                 2

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                                  #: 24472
  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 6 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Mike Shelton’s Exposure:

         Mr. Shelton died on August 2, 2015 and cannot describe his own exposure to coal ash.

  However, other workers, such as Phillip Crick, has explained that he worked with Mr. Shelton at

  the Kingston site. Mr. Crick testified about Mr. Shelton during his deposition. Mr. Crick stated

  that he worked with Mr. Shelton in the exclusion zone of the Kingston site. Mr. Crick testified that

  Mr. Shelton “was exposed to [coal ash] even more than [he] was . . . because he was there longer.

  Because he worked on the dredges and stuff like that when they were dredging that stuff out of the

  Emory River and all that. So . . . Mike [Shelton] had it a little bit worser than me.”

         Mr. Crick explained that he worked with Mr. Shelton “[a]bout every day,” and that Mr.

  Shelton began working at the Kingston site before Mr. Crick. As Mr. Crick learned by speaking

  with Mr. Shelton that Mr. Shelton started working at the site “as soon as the coal spill happened”

  in December 2008 and that he was among “the first crews that went in there.”

         Mr. Crick stated that, in addition to driving various trucks on and around the Kingston site,

  Mr. Shelton worked on the dredging, doing “the most hazardous stuff” at the site. Mr. Shelton

  “worked in the slurry and the slime.” Mr. Crick explained that Mr. Shelton also drove trucks on

  the site, including an articulating dump truck and a water truck. Mr. Crick noted that driving an

  articulating dump truck “was [Mr. Shelton’s] primary job when Mr. Crick worked alongside him.

         As an articulating dump truck driver, Mr. Shelton’s work involved “getting out of the truck

  to perform inspections and various other tasks outside the vehicle.” Mr. Crick explained that



                                                    3

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                                  #: 24473
  sometimes Mr. Shelton would need to get out of the truck to repair it. Mr. Crick explained that he

  regularly saw coal ash on Mr. Shelton, stating that he would “[b]e just like the rest of us.” Mr.

  Crick explained that the coal ash would get on Mr. Shelton and other workers, including on his

  face, mouth, nose, and arms. He stated that the coal ash “got everywhere,” including on Mr.

  Shelton. Based upon his regular observations of Mr. Shelton, Mr. Crick estimated that Mr. Shelton

  got coal ash “everywhere [he] did,” including in his “hair and everywhere else” because Mr.

  Shelton “was in the same environment.”

          Mr. Crick recalled seeing coal ash “caked” on the steps leading up to Mr. Shelton’s

  articulating dump truck, and he estimated that “had to be getting in [Mr. Shelton’s] truck” in the

  same way it was regularly getting into his truck. Mr. Crick explained that Mr. Shelton was in “the

  same condition, same atmosphere, same everything” as him, including being surround constantly

  by coal ash. In fact, Mr. Crick stated that “there was never a time” Mr. Shelton would have been

  in the exclusion zone and would “not [have been] covered in coal ash.

          Mr. Crick stated that Mr. Shelton “absolutely” had “coal ash still on him” when he left the

  Kingston site at the end of the workday. Mr. Crick recalled his own experience that his boots

  “would get that [coal ash] all over it. And at the end of the day, it would just be like a slurry in that

  water [of the boot washing station].” Mr. Crick even stated that “[y]ou could clearly see [coal ash]

  on [Mr. Shelton’s] boots and legs.”

          In responding to interrogatories, Mr. Shelton’s wife, Angie Shelton, recalled that Mr.

  Shelton “had to wipe and blow his nose constantly.” She stated that “[w]hen he blew his nose, a

  black mucus would come out.” She further stated that “[h]e also coughed all the time” and would

  “spit up” a similar black mucus.




                                                     4

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                                  #: 24474
          Ms. Shelton explained that Mr. Shelton would return home from working at the Kingston

  site with a “dust all over his face, arms, on his clothes, and . . . inside his boots.” As she testified,

  when he came home from work, “he was dirty. He had . . . like a grayish-looking powder stuff on

  his clothes, on his face, in his hair, on the boots.” She recalled that Mr. Shelton “would take his

  work clothes off right away” and put them in the washer. She explained that “[a]t first, he did not

  wash them right away. However, when he started to get sick, he washed his work clothes as soon

  as he could.” She explained that “[h]is clothes were so covered in coal ash that they had to be

  washed constantly.” In fact, she stated that his clothes were regularly so covered in coal ash, that

  it damaged the washing machine, requiring multiple repairs and eventual replacement. She further

  recalled that “[w]hen he came home and took off his coal ash covered boots, dust would fly out.

  Coal ash was all inside his boots.” Ms. Shelton also described how Mr. Shelton’s personal car was

  regularly covered in coal ash. As she stated, every time she washed his car, “the floorboard had

  gray-white-looking stuff in it, the gray-white stuff on the dash. And it – it was dirty.”

          Based on the foregoing, it is my scientific opinion that Mike Shelton, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24475
  ADDENDUM 36: Individualized Exposure Assessment of Kenneth Shepherd

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Kenneth Shepherd at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Carrie A Redlich, MD, MPH.

  Materials Reviewed:

         With regard to Mr. Shepherd, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Kenneth Shepherd’s Responses to Interrogatories;

                Personal Air Monitoring Data; and

                September 27, 2017 Deposition of Kenneth Shepherd.

  Kenneth Shepherd’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Shepherd estimates that worked on the Kingston site beginning December 23, 2008

  for approximately 3 years. Mr. Shepherd worked as an equipment operator, driving various heavy

  equipment on and around the Kingston site, including a track hoe, a bulldozer, a grease truck, and

  a crane. He also worked on the water at the site, operating a dredge boat and the track hoe situated

  on the dredge boat. Mr. Shepherd explained that he “would do whatever they needed [him] to do”

  at the Kingston site. Mr. Shepherd stated that “[t]here wasn’t an inch of the [Kingston] site that

  [he] wasn’t on.” Mr. Shepherd estimates that he worked five to six days a week for approximately

  ten hours per day, or more due to overtime, during this period from December 23, 2008 to 2011.


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                                  #: 24476
  Sampling and Testing Relevant to Kenneth Shepherd’s Work:

         Mr. Shepherd worked at many different jobs on the site, so that all of the following SEGs

  are relevant to his potential exposures: Excavator Operator, Dozer Operator, Crane Operator,

  Dredge Boat Operator. Only two crane operators and three dredge boat operators were monitored

  throughout the entire site monitoring period. The highest measured concentrations in each SEG

  are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                   210                    69
     2010                                  1400
     2011                                                          690                  18
     2012                                                          520
     2013                                                         1100                   7
     2014                                  240
   Dozer Operator
    2009                                   1300                    210                  18
     2010                                   930                     58
     2011                                                          200                  26
     2012                                                           77
     2013                                                           61
   Crane Operator
     2011                                                          45
   Dredge Boat Operator
     2009                                                         100
     2010                                                         <41


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, approximately 50 – 100 times higher than the prevailing background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. Given the very limited

  sampling that was performed, the measured RPM exposures for Crane Operator and Dredge Boat

  Operator likely are far below the maximum exposures ever experienced by workers in those SEGs.

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                                  #: 24477
  The highest measured concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of

  25 µg/m3. The measurements indicate that Mr. Shepherd received substantial exposures across all

  of his SEGs.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Kenneth Shepherd’s Exposure:

          Mr. Shepherd has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that he worked all over the Kingston

  site and that he “was in the ash all the time and it would cover me.” He further stated that he “could

  taste the ash in the air.” He recalled that “[t]hey put lime in [the coal ash] to dry it out.” As a result,

  he recalled that the ash would regularly cover his body, his clothes, and his car.

          Mr. Shepherd testified during his deposition that he regularly handled fly ash, particularly

  when working on the dredge boat. As he explained, “when the equipment would jam you’d have

  to touch the water and the fly ash that was in the water.” He further explained that he would attempt

  to wash the coal ash off his hands in the river, but he noted that “[i]f you got [coal ash] on your

  clothes . . . it would dry on your clothes” and remain there. Mr. Shepherd stated that even if a

  worker cleaned himself, he would then have to go “right back through the wash and stuff and

  walked right back through that [coal ash] and carried it right back into [his] equipment.”

          Mr. Shepherd explained that he became concerned that the coal ash was unsafe, but he

  recalled that the workers were told that “there was nothing in it that would hurt us.” In particular,

  Mr. Shepherd recalled that a Jacobs Engineering Group, Inc. employee told them that they “could

  eat” the coal ash without it negatively affecting them.




                                                      3

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                                  #: 24478
         Mr. Shepherd stated that when he returned home from working at the Kingston site, he

  would “take [his] clothes off outside when [he] got home” and would immediately get in the

  shower. He recalled that when he showered “the water would look grey.” He recalled that his

  washing machine had to be replaced twice, because his clothes were regularly covered in coal ash

  when washed.

         Based on the foregoing, it is my scientific opinion that Kenneth Shepherd, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24479
  ADDENDUM 37: Individualized Exposure Assessment of Shaun Smith

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Shaun Travis Smith at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Smith, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Shaun Smith’s Responses to Interrogatories;

                Personal Air Monitoring Data; and

                September 15, 2017 Deposition of Shaun Travis Smith.

  Shaun Smith’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Smith estimates he worked on the Kingston site from December 2008, shortly after the

  coal ash spill occurred, to May 2013. Mr. Smith worked as a truck driver, driving a water truck

  and hauling heavy equipment on and around the Kingston site during that period. Mr. Smith

  estimates that he regularly worked up to seven days a week for approximately ten hours per day,

  or more due to overtime, during this period from December 2008 to May 2013.




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                                  #: 24480
  Sampling and Testing Relevant to Shaun Travis Smith’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Smith: Articulated Dump Truck Operator, Dump Truck Operator, Water Truck Operator. The

  highest measured concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
     2009                                  390                   260                  13
     2010                                  350                   <42                  <8
     2011                                                        200                  17
     2012                                                        120                  13
     2013                                                         62
     2014                                  200
   Dump Truck Operator
    2009                                   360                   260                   13
     2010                                                         95
     2011                                                         51
     2012                                                         36
   Water Truck Operator
     2009                                  170
     2010                                  380                   109
     2011                                                        320                   24
     2012                                                        150                   10
     2013                                                        280
     2014                                                         58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Smith’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately thirty times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Billingsley worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and




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                                  #: 24481
  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Shaun Travis Smith’s Exposure:

          Mr. Smith has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that “[w]hen [he] would first arrive on the

  site, [he] could see the dust in the air.” He noted that he would get to the site earlier than other

  workers to “wet down” the coal ash. He explained that he would do what he could to wet down

  the coal ash, “but there would still be ash in the air even after wetting it down.” As he testified,

  “everything was gray[]” on the Kingston site because there “was ash everywhere.” Mr. Smith

  recalled that “[t]he ash would be all over [his] clothes.” He further explained that he “could taste

  the ash in [his] mouth and feel the grit in [his] teeth.”

          During his deposition, Mr. Smith testified that several people, including Tom Bock and

  Chris Eich, both Jacobs Engineering Group, Inc. employees, told him that coal ash was safe to be

  around. Mr. Smith explained that he did not wear a mask while working on the Kingston site.

          Mr. Smith testified that coal ash regularly got into the cab of his truck. He explained that

  the truck’s air filters “never got cleaned,” despite his requests. He further recalled an occasion

  where he was told to leave the cab open “because the systems in them were so nasty if you turned

  the air on just crap would start blowing everywhere[]” and “ash and everything would start blowing

  out of them everywhere because the filters [] were so nasty in them. They actually had [the

  workers] run them with the cabs open.”




                                                     3

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                                  #: 24482
         Mr. Smith noted that he would try to clean the coal ash off his body and clothing before

  leaving the Kingston site after working, but that he “could not get it all off.” He recalled getting in

  his car and taking the coal ash home with him, because it was covering his body, clothes, and

  belongings. He explained that when he would shower after returning home, “the water would be

  black sometimes.” Further, he recalled that his washing machine broke from washing his clothes

  that were covered in coal ash.

         Based on the foregoing, it is my scientific opinion that Shaun Smith, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24483
  ADDENDUM 38: Individualized Exposure Assessment of Brian Summers

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Brian Summers at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Brian Summers, I have reviewed the following documents, in addition to

  the documents listed in my attached report:

                Plaintiff Brian Summers’ Responses to Interrogatories;

                Employment Records for Brian Summers;

                Personal Air Monitoring Data; and

                August 7, 2017 Deposition of Brian Summers.

  Brian Summers’ Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Summers was employed by Mactec Development Corp. in

  May 2009 to August 2009; and by GUBMK from November 2009 to December 2013. Mr.

  Summers estimates he worked on the Kingston site from May 2009 to December 2013. Mr.

  Summers worked inside the exclusion zone on the Kingston site as a truck driver, driving a water

  truck, pickup trucks, and a “low boy” on and around the Kingston site during that period. Mr.

  Summers estimates that he regularly worked up to seven days a week for approximately ten hours

  per day, or more due to overtime, during this period from May 2009 to December 2013.


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                                  #: 24484
  Sampling and Testing Relevant to Brian Summers’ Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Summers: Dump Truck Operator, Water Truck Operator. The highest measured concentrations in

  each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Dump Truck Operator
    2009                                   360                   260                   13
     2010                                                         95
     2011                                                         51
     2012                                                         36
   Water Truck Operator
     2009                                  170
     2010                                  380                   109
     2011                                                        320                   24
     2012                                                        150                   10
     2013                                                        280
     2014                                                         58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Summer’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately 30 times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Summers worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.



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                                  #: 24485
  Evidence of Brian Summers’ Exposure:

         Brian Summers has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that “everything was always covered

  in coal ash” at the Kingston site. He stated, “[The coal ash] got all over everyone and the

  equipment. It covered the buildings too. The ash floated around in the air and was so thick that I

  could see it.” He explained that “[w]hen the wind blew, the ash flew up into the air even more.”

  He described the ash as being “like sand at the beach but thinner” and as being “very fine” and

  “dr[ying] out rapidly.”

         Mr. Summers recalled that the coal ash was “hard to control and keep wet.” He explained

  that, as a water truck driver, he was tasked with preventing the coal ash “from drying out and

  getting into the air.” However, he explained that “it was impossible” to prevent the coal ash from

  getting into the air. He stated that even with “20 something water trucks running [around the

  Kingston site] at once[, they] could still not keep the ash from drying out.”

         Mr. Summers explained that the coal ash “got all over [him] at Kingston.” He stated, “It

  covered [his] clothes, shoes, and even got on [his] skin and in [his] hair” and “got in [his] nose,

  ears, eyes, and mouth . . . [and] all over [his] skin too.” He recalled trying to clean his boots in the

  boot washing stations, “but they were not effective” because “[a]fter just a couple of workers used

  them, the water was nasty and was not good for cleaning anything.”

         Mr. Summers stated, “The outside and inside of the trucks that [he] drove were filled with

  ash. The ash got all on the floorboards from [his] boots but also all over everything else in the cab

  because it floated in and settled all over. It was on the steering wheel, seats, dashboard, and

  windshield. [He] had to wipe [the coal ash] off constantly. However, it got dirty again quickly.”




                                                     3

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                                  #: 24486
         At the end of his shift, Mr. Summers “still had coal ash all over [his] clothes and boots. He

  recalled that he would track the coal ash into his car and his home. He described how the coal ash

  had gotten all over his personal car because “it fell off of [him] every day.”

         In his deposition, Mr. Summers testified that Tom Bock, a Jacobs Engineering Group, Inc.

  employee, said that fly ash “wouldn’t hurt you” and “you could eat a pound of it.” Mr. Summers

  recalled that, in 2012 and 2013, he requested a mask to wear while working on the Kingston site,

  but Mr. Bock “told [the workers] that [the coal ash] would not hurt [them]” and “[t]hat [the

  workers] didn’t need a mask.” Eventually, Mr. Summers wore a mask on the site “probably around

  August [2013],” but it was not provided to him or the other workers. He recalled that he was forced

  to purchase the mask himself.

         Based on the foregoing, it is my scientific opinion that Brian Summers, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24487
  ADDENDUM 39: Individualized Exposure Assessment of Robert Tedder

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Robert Tedder at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Robert Tedder, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Tedder’s Responses to Interrogatories;

                Employment Records for Robert Tedder;

                Personal Air Monitoring Data; and

                September 29, 2017 Deposition of Robert Tedder.

  Robert Tedder’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Robert Tedder was employed by Mactec, Inc. from November

  5, 2009 to February 3, 2010; by Sevenson Environmental Services, Inc. from February 3, 2010 to

  July 1, 2010; and by GUBMK from August 4, 2010 to August 9, 2013. Mr. Tedder estimates he

  worked on the Kingston site from November 2009 to August 2013. Mr. Tedder worked as a heavy

  equipment operator, operating a bulldozer, a track hoe, and a compactor on the Kingston site during

  that period. He explained that he regularly worked inside the exclusion zone on the site. Mr.




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                                  #: 24488
  Tedder estimates that he regularly worked up to seven days a week for approximately ten hours

  per day, or more due to overtime, during this period from November 2009 to August 2013.

  Sampling and Testing Relevant to Robert Tedder’s Work:

         Based on his work history, air sampling done for the SEGs Excavator Operator and Dozer

  Operator are relevant to Mr. Tedder’s work at the Kingston site. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                  210                     69
     2010                                 1400
     2011                                                          690                 18
     2012                                                          520
     2013                                                         1100                  7
   Dozer Operator
    2009                                  1300                    210                  18
     2010                                  930                     58
     2011                                                         200                  26
     2012                                                          77
     2013                                                          61


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, approximately 50 – 100 times higher than the prevailing background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest measured

  concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of 25 µg/m3. The fact

  that Mr. Tedder worked significant overtime makes his substantial exposures even more serious;

  if, for example, he worked 80 hours per week rather than 40 it would have doubled his total dose

  from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3, and then 3 of

  the 4 silica measurements in the above table would have exceeded the TLV®.



                                                 2

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                                  #: 24489
         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Robert Tedder’s Exposure:

         Mr. Tedder has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he stated that “the site was always covered in fly ash,”

  which is also called coal ash. He explained that the coal ash “was impossible to escape” and “was

  in the air and settled all over the equipment and workers.” He recalled, “Even though the water

  trucks ran all the time trying to keep the ash wet, it was always kicking up everywhere.”

         Mr. Tedder stated that “[t]he ash got all over [him] and [his] belongings. It got on [his]

  exposed skin on [his] face, arms, and neck.” He noted that the coal ash “was also in [his] hair and

  even in [his] mouth, ears, and nose. He described being able to “taste the gritty ash in [his] mouth.”

  He recalled that “[his] clothes and boots also always had ash all over them.” When he would blow

  his nose, he stated that a “dark grey mucus came out.” Mr. Tedder recalled eating lunch in areas

  that “had coal ash all over the floor” and “[t]he ash from [his] hands got on [his] food and drinks.”

         Mr. Tedder explained that in his heavy machinery “[t]he seat, wheel, dashboard, and

  windshield were covered in the dry ash from the air.” He noted that “[t]he dusty ash came in

  through the open doors and windows but also through the air vents.” He further stated that “[a]t

  the end of the day, the ash was still all over [him] and [his] clothes. [He] tracked it into [his]

  personal car and in [his] home.”

         Despite coal ash “always cover[ing]” the Kingston site, Mr. Tedder stated that masks were

  not allowed to be worn on the site. As he stated, “Jacobs told [the workers they] could not wear

  masks and if [they] wanted one, [they] should go home.” Specifically, he recalled that Tom Bock,




                                                    3

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                                  #: 24490
  a Jacobs Engineering Group, Inc. employee, told workers that they were “not going to have

  respirators.” As a result, Mr. Tedder did not wear a mask while working at the Kingston site.

         Based on the foregoing, it is my scientific opinion that Robert Tedder, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




                                                     4

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                                  #: 24491
  ADDENDUM 40: Individualized Exposure Assessment of App Brian Thacker

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by App Brian Thacker at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Carrie A Redlich, MD, MPH.

  Materials Reviewed:

         With regard to Mr. Thacker, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Brian Thacker’s Responses to Interrogatories;

                Employment Records for Brian Thacker;

                Personal Air Monitoring Data;

                April 10, 2017 Deposition of Billy Gibson;

                October 6, 2020 Deposition of Angela Thacker; and

                August 14, 2017 Deposition of Brian Thacker.

  Brian Thacker’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Thacker was employed by Trans-Ash from April 7, 2009

  to August 7, 2009, by Sevenson Environmental Services, Inc. from August 10, 2009 to July 12,

  2010, by GUBMK from July 23, 2010 to September 27, 2013. Mr. Thacker worked as a heavy

  equipment operator, operating a bulldozer, amphibious excavator and track hoe inside the

  exclusion zone on the Kingston site during this period. Mr. Thacker also operated a dredge on the


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                                  #: 24492
  Kingston site. Mr. Thacker estimates he worked up to seven days a week for approximately twelve

  hours per day, or more due to overtime, during this period from April 2009 to September 2013.

  Sampling and Testing Relevant to Brian Thacker’s Work:

         Based on his work history, air sampling done for the SEGs Amphibious Excavator

  Operator, Excavator Operator, Dozer Operator and Dredge Boat Operator are relevant to Mr.

  Thacker’s work at the Kinston site. The highest measured concentrations in each SEG are

  summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Amphibious Excavator Oper
      2009                                1200                    550                  41
     2010                                  270                    110                  21
     2011                                                         240                  11
     2012                                                          44
   Excavator Operator
     2009                                  210                    69
     2010                                 1400
     2011                                                         690                  18
     2012                                                         520
     2013                                                        1100                   7
     2014                                  240
   Dozer Operator
    2009                                  1300                    210                  18
     2010                                  930                     58
     2011                                                         200                  26
     2012                                                          77
     2013                                                          61
   Dredge Boat Operator
     2009                                                         100
     2010                                                         <41


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, approximately 50 – 100 times higher than the prevailing background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The two highest


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                                  #: 24493
  measured concentration for silica, a human carcinogen, exceed the ACGIH TLV® of 25 µg/m3.

  The fact that Mr. Thacker worked significant overtime makes his substantial exposures even more

  serious; if, for example, he worked 80 hours per week rather than 40 it would have doubled his

  total dose from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5 µg/m3, and

  then 5 of the 7 silica measurements in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Brian Thacker’s Exposure:

         Mr. Thacker has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he stated that “[t]he ash got all over [him] while [he]

  worked at Kingston. He recalled that “[t]he dusty ash covered [his] clothes, boots, and skin [and]

  stuck to [him] really bad when [he] was sweating.” He explained that the coal ash “collected on

  any exposed skin including [his] face,” and that he “could feel it in [his] nose, ears, eyes, and

  mouth” and “could taste it.” Mr. Thacker explained that following work at the Kingston site each

  day, “the ash was all over [him].” He explained that he tracked coal ash into his car, such that “the

  inside of [his] car always had ash in it.” He further explained that he “carried [the coal ash] with

  [him] on [his] clothes everywhere when [he] left the site.”

         Mr. Thacker explained that “[t]he ash covered [his] equipment,” covering the outside and

  the inside of the cab. He stated, “The ash got into the cab through the window and vents because

  it was so thick in the air, but so much ash fell off my boots and clothes that there was a film of ash

  in the cab. It was on the floor, seats, dashboard, and windshield.” Mr. Thacker testified that Tom

  Bock, a Jacobs Engineering Group, Inc. employee, told him on several occasions that coal ash

  “wouldn’t hurt [the workers]” and that “[y]ou could eat it.”



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                                  #: 24494
         Mr. Thacker stated that the workers on the Kingston site were not given any equipment to

  “actually protect[] [them] from the coal ash.” He testified that he asked Mr. Bock for a mask, to

  which Mr. Bock responded that “[y]ou’re not allowed to wear a mask out here [on the Kingston

  site]. Period.” Eventually, Mr. Thacker underwent testing along with another worker, Billy Gibson,

  which determined that they “could have a mask” while working at the Kingston site. In his

  deposition, Mr. Gibson likewise testified that he went with Mr. Thacker for “an evaluation and test

  to see if they could wear a respirator [and be] given the clearance to do so and wear it on the site.”

  Mr. Thacker testified that when he provided these results to Tom Bock, Mr. Bock “[s]till refused”

  to allow him to wear a mask. Nevertheless, for his health and for his protection, Mr. Thacker

  started to wear his own mask from home and “was let go within the week.”

         Mr. Thacker’s wife, Angela Thacker, testified in her deposition that when he returned home

  from working at the Kingston site she would regularly notice that his “truck [was] like completely

  covered.” She estimated that the truck was covered in a “three, sometimes four inches” thick film

  of coal ash, which could fall off with the vibrations of the truck. She recalled that Mr. Thacker

  would be “completely covered” in “inches” of coal ash when he exited his truck. As she described

  it, the coal ash was “literally hanging like you threw mud at him.” She explained that she would

  normally “dust [the coal ash] all off” from his clothes onto the floor, “shake [his clothes] out,”

  “brush them off” and then place them in the laundry. She stated that she had to sweep up coal ash

  from in and around their home on a weekly basis. She recalled her own exposure to the coal ash:

  “I was in contact with all this [coal ash], not only my skin, but breathing it in, me and [Mr. Thacker]

  both would blow our nose afterward to get all the stuff out of our nose, and you’re blowing black.”

         Based on the foregoing, it is my scientific opinion that Brian Thacker, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of



                                                    4

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                                  #: 24495
  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24496
  ADDENDUM 41: Individualized Exposure Assessment of Kevin Thompson

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Kevin Thompson at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Carrie A Redlich, MD, MPH.

  Materials Reviewed:

         With regard to Mr. Thompson, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Kevin Thompson’s Responses to Interrogatories;

                Employment Records for Kevin Thompson;

                Personal Air Monitoring Data;

                January 25, 2017 Deposition of Dustin Berry;

                August 11, 2017 Deposition of Gabriel Billingsley;

                August 4, 2020 Deposition of David Johnson;

                August 13, 2020 Deposition of Jimmy Roberts;

                October 19, 2020 Deposition of Nicholas Perry; and

                September 6, 2017 Deposition of Kevin Thompson.

  Kevin Thompson’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Thompson was employed by Astrid Contract Tech Serv

  Inc. throughout 2009, and by GUBMK from February 2010 to June 2013. Mr. Thompson estimates


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                                  #: 24497
  he worked on the Kingston site from February 2009 to June 2013. Mr. Thompson worked as a

  truck driver, driving a water truck, fuel truck, and articulated dump on and around the Kingston

  site during that period. Mr. Thompson estimates he worked six to seven days a week for

  approximately ten hours per day, or more due to overtime, during this period from February 2009

  to June 2013.

  Sampling and Testing Relevant to Kevin Thompson’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Thompson: Articulated Dump Truck Operator, Fuel Truck Operator, Water Truck Operator. Fuel

  truck operators were only monitored in 2011 and 2012. The highest measured concentrations in

  each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                   390                   260                  13
    2010                                   350                   <42                  <8
    2011                                                         200                  17
    2012                                                         120                  13
    2013                                                          62
    2014                                   200
   Fuel Truck Operator
    2011                                                         320                   24
    2012                                                          38
   Water Truck Operator
    2009                                   170
    2010                                   380                   109
    2011                                                         320                   24
    2012                                                         150                   10
    2013                                                         280
    2014                                                          58


         These sample results indicate a repeated, substantial exposure to workers in Mr.

  Thompson’s SEGs. The highest measured RPM concentration, 320 µg/m3, measured for both his

  work as fuel truck and water truck driver, is approximately thirty times higher than the likely


                                                 2

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                                  #: 24498
  ambient background PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The

  highest measured exposure to silica, a human carcinogen, 24 µg/m3, again measured for two of his

  jobs, is just slightly below the ACGIH TLV® of 25 µg/m3. The fact that Mr. Thompson worked

  significant overtime makes his substantial exposures even more serious; if, for example, he worked

  80 hours per week rather than 40 it would have doubled his total dose from inhalation and ingestion

  and reduces the silica TLV® from 25 to 12.5 µg/m3, and then 6 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

          In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Kevin Thompson’s Exposure:

          Mr. Thompson has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he described the coal ash being “in the air” and

  being “like a powder.” He stated, “I could see [coal ash] particles in the air floating around . . . [i]t

  was so thick that when I was driving the water truck, I could not see in front of me. I had to stop

  and wait and spray as much water as I could to be able to see where I was going.” He explained

  that the coal ash “got all over [his] boots and [his] truck” and that “[so] much ash got in the cab

  that the floors were covered in ash 4 to 5 inches deep.” As he explained, Mr. Thompson sat in the

  cab of his truck “all day,” surrounded by the coal ash.

          Mr. Thompson recalled that boot washing stations were provided, but they were “not

  effective because they got dirty so quickly.” He explained that the boot washes “filled up with

  dirty water as each worker tried to clean their boots off,” such that “[b]y the time most of [the

  workers] got to [the] pan, the water was too dirty to use to wash our boots.” As he described it, the

  water in the boot wash was like “pudding” because it was filled with coal ash.



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                                  #: 24499
         Mr. Thompson explained that the coal ash “got all over [his] clothes and body.” He recalled

  that he “could feel [the coal ash] on [his] exposed skin and in [his] hair [and] all on [his] hands

  and arms so bad that they were black.” He complained of coal ash “even in [his] nose and mouth,”

  explaining that he was “constantly breathing it in and even eating it when it got on [his] food and

  in [his] mouth throughout the day.” He further recalled that the coal ash “got in [his] eyes too and

  made them red and itchy.” He stated, “No matter where [he] ate, the ash got on [his] food. The ash

  was even inside the coolers where [the workers] got [their] water bottles from . . . [He] could taste

  the ash in [his] water bottle.” Mr. Thompson further explained that the coal ash “got in [his]

  personal car and on [his] work clothes, which [he] wore into [his] home.” When he returned home

  after working at the Kingston site each day, Mr. Thompson recalled that “[he] did not have any

  reason to separate [his clothes] because they told us that the ash was safe.” Thus, his clothes, which

  were covered in coal ash, were mixed in with his family’s clothes.

         During his deposition, Mr. Thompson testified that workers at the Kingston site could be

  fired for wearing masks or respirators. Mr. Thompson explained that “they didn’t want dust masks

  in the public eye.” He testified that he was present when Tom Bock, a Jacobs Engineering Group,

  Inc. employee, instructed other Jacobs employees to “come to [the] tool room, t[ake] every brand

  new dust mask that the government – the taxpayers had bought and got them and thr[ew] them in

  the trash. Wouldn’t let [the workers] have [the masks]. . . . And if you didn’t like it, they’d find

  somebody else to do the job.” On another occasion, Mr. Thompson recalled hearing Chris Eich,

  another Jacobs Engineering Group, Inc. employee, state “you’d be hung – you’d hang yourself if

  you – if you wore a dust mask.” In short, Mr. Thompson described how the workers on the

  Kingston were denied the opportunity to wear a mask while working in and around the coal ash.




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                                  #: 24500
         Mr. Thompson recalled that Tom Bock told him several times that “[he] could eat a pound

  of [coal ash] and it wouldn’t harm [him].” He further recalled that Mr. Bock said on one occasion

  that “it has been proven that [coal ash] can’t hurt you” and “that they never got a[n] abnormal

  reading on an air monitor test.”

         Multiple other workers at the Kingston site testified during depositions that Mr. Thompson

  was fired for requesting to wear a mask at the site, including Dustin Berry, David Johnson, Gabriel

  Billingsley, Jimmy Roberts, and Nicholas Perry. Mr. Berry testified in his deposition that Mr.

  Thompson was fired for requesting a mask. Mr. Berry explained that Mr. Thompson was “laid . .

  . off over [asking for a dust mask]” to wear on the site. Mr. Johnson likewise testified that “they

  finally got rid of [Mr. Thompson] because he was told to wear a mask” on the site. He explained

  that “they wouldn’t let [Mr. Thompson] work . . . and wear a mask.” Mr. Billingsley recalled that

  Mr. Thompson was fired for bringing awareness to safety and health issue relating to the coal ash.

  Mr. Billingsley testified during his deposition that Mr. Thompson was fired because he was

  “speaking up about his health issues.” Mr. Roberts testified that Mr. Thompson requested a mask

  and “wasn’t there very much longer” before he was laid off. And Mr. Perry testified that he

  believed Mr. Thompson had been fired for wearing a mask at the site.

         Based on the foregoing, it is my scientific opinion that Kevin Thompson, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24501
  ADDENDUM 42: Individualized Exposure Assessment of Jeff Townsley

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Jeff Townsley at the Kingston Coal Ash Remediation Site (the “Kingston site”)

  and the likelihood that said exposures could result in negative health effects as supported by the

  scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano, PhD;

  Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Townsley, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Jeff Townsley’s Responses to Interrogatories;

                Employment Records for Jeff Townsley;

                Personal Air Monitoring Data; and

                August 5, 2020 Deposition of Jeff Townsley.

  Jeff Townsley’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Jeff Townsley was employed by GUBMK from June 2010 to

  December 2011. Mr. Townsley estimates that he worked on the Kingston site from June 2010 to

  December 1, 2011. Mr. Townsley worked as a truck driver, hauling coal ash on and around the

  Kingston site during that period. Mr. Townsley also drove a water truck on and around the

  Kingston site during that period. Mr. Townsley estimates that he regularly worked up to seven

  days a week for approximately sixty hours per week, or more due to overtime, during this period

  from June 2010 to December 2011.


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                                  #: 24502
  Sampling and Testing Relevant to Jeff Townsley’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Townsley: Dump Truck Operator, Water Truck Operator. The highest measured concentrations in

  each SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Dump Truck Operator
    2009                                    360                    260                   13
     2010                                                           95
     2011                                                           51
     2012                                                           36
   Water Truck Operator
     2009                                   170
     2010                                   380                    109
     2011                                                          320                   24
     2012                                                          150                   10
     2013                                                          280
     2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr.

  Townsley’s SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately 30

  times higher than the likely ambient background PM2.5 concentration, indicating a substantial

  exposure to airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24

  µg/m3, is just slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Townsley worked

  significant overtime makes his substantial exposures even more serious; if, for example, he worked

  80 hours per week rather than 40 it would have doubled his total dose from inhalation and ingestion

  and reduces the silica TLV® from 25 to 12.5 µg/m3, and then 5 of the 7 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.



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                                  #: 24503
  Evidence of Jeff Townsley’s Exposure:

             Mr. Townsley has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that he “could feel the coal ash on [his]

  skin.” He recalled “them telling [the workers] at a safety meeting that the coal ash was safe enough

  to eat.”

             Mr. Townsley recalled, as a water truck driver, he “worked in a lot of dust because that is

  where [he] had to go to wet it down. We had to work hard to try to get [the coal ash] all watered

  down fast so it did not look dirty for the public. If it was hot and there was wind, [he] would run

  [him]self to death trying to wet it all down.”

             Mr. Townsley explained that he “was exposed to the coal ash during [his] lunch breaks as

  well because [he] would often eat on site.” He recalled having to spray out the floorboard inside

  his truck regularly “because of all the coal ash that got into the truck.” He also explained that the

  coal ash go on his body and his clothes. He stated that he “tried to wash it out of [his] clothes and

  kept his work clothes separate from [his] other clothes,” but that he “had to throw [his work

  clothes] away eventually.” He testified during his deposition that there were no effective places to

  clean his clothes off at the Kingston site. He recalled that there were boot washing stations “for

  100 men to wash their boot[s] off in.” He explained that at the end of the day “[they] had ash all

  over [them]. It was in your nose, your ears, your eyes, your hair, all over your clothes. . . . you had

  it everywhere. There wasn’t no where to clean up at. You’d just wash your boots.” He further

  explained, “You get [the coal ash] on you even in the truck. It’s coming through the vents. Then

  when you get out and use the restroom, it’s – the ash was everywhere. It’s blowing everywhere.

  The only time the ash wasn’t blowing is when it was pouring down rain.”




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                                  #: 24504
         Mr. Townsley explained that he did not wear a mask while working on the Kingston site.

  He testified during his deposition that the workers knew not to request to wear a mask, or else they

  would be fired. He explained, “I didn’t request nothing because I wanted to work. . . . Just you

  don’t stir nothing up because you ain’t going to stay there long. They’ll fire you.” He further

  recalled “that Jacobs told [workers] they didn’t need a dust – or any kind of mask.”

         Based on the foregoing, it is my scientific opinion that Jeff Townsley, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24505
  ADDENDUM 43: Individualized Exposure Assessment of Timothy Turner

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Timothy Turner at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Turner, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Timothy Turner’s Responses to Interrogatories;

                Employment Records for Timothy Turner;

                Personal Air Monitoring Data;

                August 13, 2020 Deposition of Fred C. Jones; and

                August 10, 2020 Deposition of Timothy Turner.

  Timothy Turner’s Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Mr. Turner was employed by GUBMK from February 2010 to

  August 2014. Mr. Turner estimates that he worked on the Kingston site from February 26, 2010 to

  August 2014. Mr. Turner worked as a truck driver, driving an articulated dump truck and a water

  truck on and around the Kingston site during that period. Mr. Turner estimates that he regularly

  worked up to seven days a week for approximately ten per day, or more due to overtime, but he

  estimates that he may have worked less after working on the site for some time.


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                                  #: 24506
  Sampling and Testing Relevant to Timothy Turner’s Work:

         Based on his work history, sampling collected in the following SEGs is relevant to Mr.

  Turner: Articulated Dump Truck Operator, Water Truck Operator. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Artic Dump Truck Operator
    2009                                   390                    260                 13
    2010                                   350                    <42                 <8
    2011                                                          200                 17
    2012                                                          120                 13
    2013                                                           62
    2014                                   200
   Water Truck Operator
    2009                                   170
    2010                                   380                    109
    2011                                                          320                  24
    2012                                                          150                  10
    2013                                                          280
    2014                                                           58


         These sample results indicate a repeated, substantial exposure to workers in Mr. Turner’s

  SEGs. The highest measured RPM concentration, 320 µg/m3, is approximately 30 times higher

  than the likely ambient background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The highest measured exposure to silica, a human carcinogen, 24 µg/m3, is just

  slightly less than the ACGIH TLV® of 25 µg/m3. The fact that Mr. Turner worked significant

  overtime makes his substantial exposures even more serious; if, for example, he worked 80 hours

  per week rather than 40 it would have doubled his total dose from inhalation and ingestion and

  reduces the silica TLV® from 25 to 12.5 µg/m3, and then 4 of the 6 silica measurements in the

  above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

                                                 2

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                                  #: 24507
  Evidence of Timothy Turner’s Exposure:

         Mr. Turner has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that “[t]he coal ash got all over [him]” and

  “got all over [his] boots, clothes, hands, arms, and [his] exposed skin” and “even get in [his] hair,

  ears, nose, and mouth.” He recalled that the coal ash would get in his nose “so badly that when

  [he] blew [his] nose, black mucus would come out.” He further recalled that the coal ash was “so

  bad” that when he would remove his safety glasses from his pocket, “they were all covered in ash.”

         Mr. Turner stated that “[c]oal ash got all over [his] work clothes and personal items.” While

  working on the site, “the ash got all over the outside of [his] truck because the ash was all in the

  air and stirring up everywhere on the site.” The ash would even get inside the cab of his truck. He

  explained that the inside of his cab “was always really dusty. [He] could even see the ash floating

  around in the cab with [him].” He recalled removing the filter from his truck and noticed that it

  “was all caked up with ash.” During his deposition, Mr. Turner testified that the coal ash would

  even get into his personal truck and he would have to clean it out every week. He also recalled the

  coal ash covering his clothes, which required him to wash them every day.

         During his deposition, Mr. Turner testified that he did not wear a mask or respirator while

  working at the Kingston site. However, he explained that he had been told that “if [he] asked for

  a respirator, [he] would be laid off.” He recalled that he wore a personal air monitor while working

  at the site on at least one occasion, but as he stated, “[i]t was usually more rain when they” collected

  personal air monitor samples from the workers.

         Based on the foregoing, it is my scientific opinion that Timothy Turner, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose




                                                     3

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                                  #: 24508
  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




                                                     4

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                                  #: 24509
  ADDENDUM 44: Individualized Exposure Assessment of Donald Vangilder, Jr.

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Donald Vangilder, Jr. at the Kingston Coal Ash Remediation Site (the

  “Kingston site”) and the likelihood that said exposures could result in negative health effects as

  supported by the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph

  Graziano, PhD; Norman Kleiman, PhD; C. Ola Landgren, MD, PhD; and Raajit Rampal, MD,

  PhD.

  Materials Reviewed:

         With regard to Mr. Vangilder, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Donald Vangilder’s Responses to Interrogatories;

                Personal Air Monitoring Data;

                November 10, 2020 Declaration of Farie Becker;

                November 10, 2020 Declaration of Donald Vangilder;

                August 4, 2020 Deposition of Donald Vangilder.

  Donald Vangilder’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Vangilder, as well as Farie Becker, estimate he worked on the Kingston site from June

  2011 to September 2011. Mr. Vangilder worked as a truck driver, driving a triple axel dump truck

  on or around the Kingston site during that period. Mr. Vangilder also explained that he was “kind

  of a truck boss,” which required him to walk around the site interfacing with other workers. In

  particular, Mr. Vangilder drove a truck hauling coal ash, dirt, and other materials on and around


                                                   1

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                                  #: 24510
  the site. Mr. Vangilder and Farie Becker estimate that he regularly worked up to seven days a week

  for approximately twelve hours per day during this period from June 2011 to September 2011.

  Sampling and Testing Relevant to Donald Vangilder’s Work:

         Mr. Vangilder’s work history indicates that he worked in the Dump Truck Operator SEG.

  The highest measured concentration in each year for this SEG are shown in the following table.

   SEG and year                     Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Dump Truck Operator
    2009                                    360                    260                   13
     2010                                                           95
     2011                                                           51
     2012                                                           36


         The sample results show that dump truck drivers such as Mr. Vangilder were consistently

  exposed to airborne RPM concentrations that were elevated, with the highest value about 25 times

  higher than the prevailing background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The fact that Mr. Vangilder worked significant overtime makes his substantial

  exposures even more serious; if, for example, he worked 80 hours per week rather than 40 it would

  have doubled his total dose from inhalation and ingestion and reduced the silica TLV® from 25 to

  12.5 µg/m3, and then the silica measurement in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Donald Vangilder’s Exposure:

         Mr. Vangilder has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that there was a “constant cloud of

  [coal] ash at the Kingston site. He noted that “like that all the time” and became “really bad when

  all the trucks were driving around at once kicking more ash up into the air.” He recalled that coal


                                                  2

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                                  #: 24511
  ash “covered everything on that site, including the people, trailers, trucks, and equipment.” He

  stated that “[w]hen the ash settled on things, they turned grey.”

          Mr. Vangilder explained, “The coal ash got all over [his] body, [his] personal belongings,

  and [his] truck. It would cover [him] from head to toe. The ash got all down in [his] ears, in [his]

  fingernails, in [his] hair on [his] head, and all over any of [his] exposed skin including all down

  [his] arms.” He noted that his “work clothes got dirty really quickly each day” while at the

  Kingston site. He stated that his “girlfriend had to wash [his work clothes] frequently to get as

  much ash off as she could.” He recalled that their washing machine broke from washing his ash-

  covered work clothes.

          Mr. Vangilder stated that the coal ash “would get all over the outside and inside of my

  truck.” He explained that coal ash “came in through [the truck’s] windows and got all in the cab.”

  Mr. Vangilder recalled “constantly wiping the seats, the dash, the floor, and the windshield off,

  but it stayed dusty the whole time.” He recalled that the coal ash would collect in a thick layer and

  that he “could not see the gauges on the dashboard,” which he regularly had to wipe clean. He

  further stated that he regularly washed his truck on the Kingston site, but that doing so did not

  clean the coal ash off his truck. As he put it, “[w]hen water dried on my truck, it dried grey.”

          Mr. Vangilder’s girlfriend, Farie Becker, recalled that “dust got all over [Mr. Vangilder]

  and his clothes” from working at the Kingston site. She explained that when Mr. Vangilder

  returned home each day from working at the Kingston site, she could see “dust on his face and in

  his ears, fingernails, and hair[; d]ust was all over his exposed skin[; d]ust got all over his clothes.”

          Based on the foregoing, it is my scientific opinion that Donald Vangilder, more likely than

  not, was exposed by inhalation and ingestion to a dose of coal fly ash during his employment at




                                                     3

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                                  #: 24512
  the Kingston site that was of sufficient intensity and duration so as to result in numerous negative

  health effects as supported by the scientific literature.




                                                     4

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                                  #: 24513
  ADDENDUM 45: Individualized Exposure Assessment of Michael Watkins

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Michael Watkins at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Watkins, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Michael Watkins’ Responses to Interrogatories;

                Personal Air Monitoring Data;

                Employment Records for Michael Watkins; and

                October 16, 2020 Deposition of Michael Watkins.

  Michael Watkins’ Work at the Kingston Coal Ash Recovery Site:

         Union records indicate that Michael Watkins was employed by GUBMK from September

  27, 2011 to August 9, 2013, in October 2013, and in May 2014. Union records also indicate that

  Mr. Watkins was employed by Ash Management Services from October 30, 2013 to December

  20, 2013. Mr. Watkins estimates that he worked on the Kingston site from June 2011 to May 2014.

  Mr. Watkins worked as an operator, operating heavy equipment on and around the Kingston site

  during that period. Mr. Watkins estimates that he regularly worked four days a week for

  approximately ten hours per day, or more due to overtime, during his first year at the site, he


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                                  #: 24514
  estimates that he regularly worked five to six days a week for approximately ten hours per day, or

  more due to overtime, following that.

  Sampling and Testing Relevant to Michael Watkins’ Work:

         Based on his work history, air sampling done for the SEGs Excavator Operator and Dozer

  Operator are relevant to Mr. Watkins’ work at the Kinston site. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                     Total Dust (µg/m3)     Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                   210                    69
     2010                                  1400
     2011                                                          690                  18
     2012                                                          520
     2013                                                         1100                   7
   Dozer Operator
    2009                                   1300                    210                  18
     2010                                   930                     58
     2011                                                          200                  26
     2012                                                           77
     2013                                                           61


         These measurements indicate very high exposures to Mr. Watkins’ SEGs. The TPM

  measurements represent very high exposures to total particle mass, and the RPM measurements

  for the Excavators in 2011-2013 are very high, approximately 50 – 100 times higher than the

  prevailing background PM2.5 concentration, indicating a substantial exposure to airborne fly ash.

  The highest measured concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of

  25 µg/m3. The fact that Mr. Watkins worked significant overtime makes his substantial exposures

  even more serious; if, for example, he worked 80 hours per week rather than 40 it would have

  doubled his total dose from inhalation and ingestion and reduces the silica TLV® from 25 to 12.5

  µg/m3, and then 3 of the 4 silica measurements in the above table would have exceeded the TLV®.



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                                  #: 24515
         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Michael Watkins’ Exposure:

         Mr. Watkins has described his exposure to coal ash while working at the Kingston site. For

  example, in responding to interrogatories, he explained that “[c]oal ash was constantly

  everywhere” on the Kingston site, and that the workers “were always coated in it.” As he put it,

  “[y]ou could not get away from the coal ash.” He stated that “[a]nything that sat out would be

  covered in coal ash within minutes.” He recalled being able to feel the coal ash on his.

         Despite the coal ash being “everywhere,” Mr. Watkins explained that there were no

  effective ways for the workers to clean themselves off. He recalled that there were boot washing

  stations on the Kingston site, but they were “pointless” because “[b]y the time 3 people used the

  boot wash, you would just be slopping your boots in pure coal ash because there was no way to

  change the water.” He explained that the area where the workers ate their lunches was “completely

  coated in coal ash . . . [and t]here was always coal ash in [his] food and on [his] water bottles no

  matter where [he] tried to eat.”

         Mr. Watkins further explained that “[a]t the end of the shifts, [the workers] did not have

  anywhere to get cleaned off” before going home. He testified during his deposition that he would

  be “covered in ash” at the end of the workday, and that his personal truck became “coated in coal

  ash, and [he] had no way to clean it out.” When he returned home each day after working at the

  Kingston site, he would take his clothes off and “keep everything separate” to prevent coal ash

  from his work clothes getting all over his home. However, he recalled that there were still “coal

  ash stains all over [his] house.” He explained that he would blow his nose and “it would come out

  completely black.”



                                                   3

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                                  #: 24516
         Mr. Watkins stated that he did not wear a mask while working on the Kingston site. He

  explained that all the workers “knew that if you asked for a mask, you would be denied or fired.”

  He personally “never asked for a mask because [he] knew it was discouraged.” He testified during

  his deposition that Tom Bock, a Jacobs Engineering Group, Inc. employee, “said you could eat a

  pound of [coal ash] a day, [and] there wasn’t nothing in it that would hurt [the workers].” He

  further recalled that Mr. Bock “joked about it all the time like it was[] nothing, said nothing out

  there [on the Kingston site] would hurt” the workers. Mr. Watkins also testified that he was “laid

  off shortly after” “report[ing] medical issues to Mr. Bock.”

         Based on the foregoing, it is my scientific opinion that Michael Watkins, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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                                  #: 24517
  ADDENDUM 46: Individualized Exposure Assessment of Craig Wilkinson

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Craig Wilkinson at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Eugene Shostack, MD.

  Materials Reviewed:

         With regard to Mr. Wilkinson, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Craig Wilkinson’s Responses to Interrogatories;

                Personal Air Monitoring Data; and

                October 11, 2018 Deposition of Craig Wilkinson.

  Craig Wilkinson’s Work at the Kingston Coal Ash Recovery Site:

         Mr. Wilkinson estimates that he worked on the Kingston site from April 2009 to May 2010.

  Mr. Wilkinson worked several jobs on the Kingston site, including as a heavy equipment operator,

  driving track hoe, an excavator, and a bulldozer in and around the exclusion zone at the Kingston

  site during that period. Mr. Wilkinson estimates that he worked up to seven days a week for

  approximately twelve hours per day, or more due to overtime, during this period from April 2009

  to May 2010.




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                                  #: 24518
  Sampling and Testing Relevant to Craig Wilkinson’s Work:

         Based on his work history, air sampling done for the SEGs Excavator Operator and Dozer

  Operator are relevant to Mr. Wilkinson’s work at the Kinston site. The highest measured

  concentrations in each SEG are summarized in the table below.

   SEG and year                    Total Dust (µg/m3)      Resp. PM (µg/m3)       Silica (µg/m3)
   Excavator Operator
     2009                                  210                     69
     2010                                 1400
     2011                                                          690                 18
     2012                                                          520
     2013                                                         1100                  7
   Dozer Operator
    2009                                  1300                    210                  18
     2010                                  930                     58
     2011                                                         200                  26
     2012                                                          77
     2013                                                          61


         These measurements indicate very high exposures to these SEGs. The TPM measurements

  represent very high exposures to total particle mass, and the RPM measurements for the Excavators

  in 2011-2013 are very high, approximately 50 – 100 times higher than the prevailing background

  PM2.5 concentration, indicating a substantial exposure to airborne fly ash. The highest measured

  concentration for silica, a human carcinogen, exceeds the ACGIH TLV® of 25 µg/m3.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Craig Wilkinson’s Exposure:

         Mr. Wilkinson has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he recalled that the coal ash—or fly ash, as Mr.

  Wilkinson called it—was “everywhere” and that he “could see the fly ash in the air.” Mr.

  Wilkinson noted that he worked night shift and stated that “[a]t night, [he] could see the ash

                                                 2

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                                  #: 24519
  floating in the air in the beams from our lights on the [Kingston] site. The ash particles were like

  little pieces of glitter.” He explained, “Trying to keep the site clean was an endless battle. The

  water trucks were running a lot trying to keep the dust down, but the ash dried out so quickly.”

         Mr. Wilkinson noted that he drove various equipment on and around the Kingston site,

  completing various jobs throughout the site during his time there. He explained that he “processed

  and flipped fly ash to dry it out, . . . pat[ting] and dip[ping] . . . the water out of the ash they had

  dredged up,” and that he also “worked at the receiving end of the pipe that pumped the ash from

  the river.” In short, Mr. Wilkinson worked directly with, or otherwise in very close proximity to,

  the coal ash as it was being removed from the water and was being processed.

         Mr. Wilkinson also explained that he “walked around the site often” as part of his job. He

  recalled that “[t]he fly ash was everywhere.” He recalled that the coal ash “got all over [him] and

  all of [his] belongings” and regularly “got all over [his] clothes and boots.” He explained that the

  coal ash was “all over [his] body” and “got in [his] mouth and all over [his] face.” He recalled that

  he “could taste [the coal ash] in [his] mouth” and the ash “collected in [his] ears and nose.”

         Mr. Wilkinson explained that he did not wear a mask on the Kingston site, explaining that

  they were not available. In his deposition, he testified that he would have worn one if provided.

  However, he explained that provided the dust mask was a “red flag,” and indicated that he believed

  masks were not provided so the workers would “not really [] worr[y] about it.” As he put it, “they

  sure weren’t handing [masks] out” to the workers on the Kingston site.

         Mr. Wilkinson explained that although he worked mostly in the cab of his heavy

  machinery, “fly ash still got all in the machine and on [him].” He recalled that ash “got all over

  the floor of the cab from falling off [his] boots.” He testified during his deposition that he had a

  “brand-new machine” but that it quickly became covered with coal ash in the cab. He explained



                                                     3

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                                  #: 24520
  that he would attempt to sweep up the ash, it would “cover [his] face.” He recalled that the coal

  ash would regularly “kick up in the air and float around the cab,” becoming airborne. Mr.

  Wilkinson explained that the coal ash “covered the inside and the outside” of his machinery. He

  noted that he had to “clean out the machines at the end of our shifts” due to the coal ash, and that

  he had to “clean the filters for the cab because they were always plugged up with coal ash.”

         Mr. Wilkinson explained that he ate his lunch in a trailer, but noted that the trailer “was

  also covered in fly ash.” He recalled that there were boot washing stations on the site. “However,

  they did not work very well at all. After a few workers use them, the trays were filled with dirty

  water.” He testified that the boot washing station was so ineffective that, if anything, if simply

  “spread [coal ash] around your boot.” He noted that he “tracked [coal ash] into [his] car and home,”

  regardless of how much he attempted to clean it off at the site. He recalled that his work clothes

  were regularly “caked up” with coal ash, and that the ash would even get on the inner layer of his

  clothing. He recalled that his work clothes were “so dirty that [he] had to take off [his] clothes in

  a special place by the door when [he] got home after working at Kingston.” He recalled that his

  brother, who also worked at the Kingston site, likewise removed his dirty clothes near the door.

  Mr. Wilkinson explained that “[t]he floor and area where we took off our clothes had spots from

  the ash collecting there every day.”

         Based on the foregoing, it is my scientific opinion that Craig Wilkinson, more likely than

  not, was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose

  of coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




                                                     4

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                                  #: 24521
  ADDENDUM 47: Individualized Exposure Assessment of Jason Williams

         This Addendum and the opinions expressed herein are intended to supplement my

  comprehensive report of December 7, 2020.

         The following shall serve as my individualized assessment as to the exposures to coal fly

  ash experienced by Jason Williams at the Kingston Coal Ash Remediation Site (the “Kingston

  site”) and the likelihood that said exposures could result in negative health effects as supported by

  the scientific literature, as well as the expert reports of Elizabeth Ward, PhD; Joseph Graziano,

  PhD; Norman Kleiman, PhD; and Theron Blickenstaff, MD.

  Materials Reviewed:

         With regard to Mr. Williams, I have reviewed the following documents, in addition to the

  documents listed in my attached report:

                Plaintiff Jason Williams’ Responses to Interrogatories;

                Personal Air Monitoring Data; and

                August 11, 2020 Deposition of Jason Williams.

  Jason Williams’ Work at the Kingston Coal Ash Recovery Site:

         Mr. Williams estimates that he worked on the Kingston site from May 2011 to January

  2015. Mr. Williams worked as a truck driver, driving on and around the Kingston site during that

  period. Mr. Williams estimates that he worked up to seven days a week for approximately sixty

  hours per week, or more due to overtime, during this period from May 2011 to January 2015.

  Sampling and Testing Relevant to Jason Williams’ Work:

         Mr. Williams’ work history indicates that he worked in the Dump Truck Operator SEG.

  The highest measured concentration in each year for this SEG are shown in the following table.




                                                   1

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                                  #: 24522
   SEG and year                      Total Dust (µg/m3)       Resp. PM (µg/m3)         Silica (µg/m3)
   Dump Truck Operator
    2009                                      360                     260                    13
     2010                                                              95
     2011                                                              51
     2012                                                              36


         The sample results show that dump truck drivers such as Mr. Williams were consistently

  exposed to airborne RPM concentrations that were elevated, with the highest value about 25 times

  higher than the prevailing background PM2.5 concentration, indicating a substantial exposure to

  airborne fly ash. The fact that Mr. Williams worked significant overtime makes his substantial

  exposures even more serious; if, for example, he worked 80 hours per week rather than 40 it would

  have doubled his total dose from inhalation and ingestion and reduced the silica TLV® from 25 to

  12.5 µg/m3, and then the silica measurement in the above table would have exceeded the TLV®.

         In addition to the air sampling described above, we can look to indirect evidence for his

  exposures.

  Evidence of Jason Williams’ Exposure:

         Mr. Williams has described his exposure to coal ash while working at the Kingston site.

  For example, in responding to interrogatories, he explained that the coal ash “was always floating

  in the air” at the Kingston site, and that “the coal ash got all over [him].” He stated that the coal

  ash “would cover anything on the site including [his] body, [his] truck, and all [his] personal stuff.”

  He stated that “[t]he ash got on [his] head, arms, neck, hands, and any other exposed skin,” which

  would cause him to “break out” and develop “rashes all over from where [his] skin was exposed

  to the coal ash.” He recalled the coal ash getting “in [his] fingernails, ears, and nose,” and when

  he blew his nose, “black stuff went everywhere.”




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         Mr. Williams explained that the coal ash regularly covered his truck on the Kingston site,

  causing his yellow truck to “look[] grey.” He also explained that coal ash got inside his truck and

  “covered everything including the dash, windshield, seats, and steering wheel.” He recalled having

  “to constantly wipe the cab down because it got so dusty,” and it would become “difficult to see

  inside the cab because there was always a film on the window and the dashboard no matter how

  much [he] cleaned it.” As he stated, “[t]he floorboards were covered in ash from [his] boots.” He

  explained, “It was even worse when [he] had to leave the truck, walk around the site, and get back

  in with [his] boots covered in more ash.”

         Mr. Williams recalled that he “sometimes had to eat lunch in [his] truck and the ash would

  get on [his] food.” He testified that when he left the Kingston site at the end of the day, there would

  “be ash in [his] . . . personal vehicle.” When he returned home each day after working at the

  Kingston site, he removed his clothes immediately “because they were covered in ash.” He recalled

  that his wife washed his work clothes frequently, and that they had to replace their washing

  machine due to the coal ash. He further explained that when he showered, the coal ash “stained

  the bottom of [his] shower curtain.”

         During this deposition, Mr. Williams testified that on at least one occasion Tom Bock, a

  Jacobs Engineering Group, Inc. employee, told the workers that they “could eat a pound of [coal

  ash] a day and you’d be okay.” Mr. Williams explained that he simply trusted that coal ash was

  safe. He testified that he did not wear a mask while working at the Kingston site. He further

  testified that “when someone did ask to wear a dust mask [on the site],” Tom Bock, a Jacobs

  Engineering Group, Inc. employee, told the workers that they were not “allowed to wear them.”

  Further, he stated that Mr. Bock said, “If we got caught wearing [a mask], we could get fired” and




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  that wearing a mask would “look bad for the community.” Mr. Williams explained that, “[a]s far

  as [he] kn[e]w, you couldn’t wear [as mask]” on the Kingston site.

         Based on the foregoing, it is my scientific opinion that Mr. Williams, more likely than not,

  was exposed by inhalation and ingestion to a long-term, continuous, and high intensity dose of

  coal fly ash during his employment at the Kingston site sufficient to result in numerous negative

  health effects as supported by the scientific literature.




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